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                                           UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF LOUISIANA
                                               SHREVEPORT DIVISION


BRUCE CHARLES, on behalf of himself                                  *          CIVIL ACTION NO.:
and all other similarly situated prisoners                           *          5:18-CV-00541-EEF-MLH
at David Wade Correctional Center,                                   *
                                                                     *
                                                                     *
              and                                                    *
                                                                     *
The ADVOCACY CENTER,                                                 *          JUDGE ELIZABETH E. FOOTE
                                                                     *
              PLAINTIFFS,                                            *          MAGISTRATE JUDGE HORNSBY
                                                                     *
VS.                                                                  *          CLASS ACTION
                                                                     *
JAMES M. LEBLANC, et al.,                                            *
                                                                     *
              DEFENDANTS.                                            *


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                                        BACKGROUND


        I.        THE NATURE OF THE ACTION

1.      This is an action for injunctive and declaratory relief to remedy the constitutionally

inadequate conditions of confinement and mental health care at David Wade Correctional Center

in Homer, Louisiana as well as unconstitutional interference with legal communications.


        II.       CLASS MEMBERS


2.      Plaintiff ADVOCACY CENTER is a private, federally-funded, non-profit corporation,

designated by Louisiana to serve as the State’s protection and advocacy system for persons with

mental illness;

3.      Plaintiff BRUCE CHARLES was a prisoner housed in extended lockdown at DWCC at

the time of filing;

4.      Plaintiff CARLTON TURNER was a prisoner housed in extended lockdown at DWCC at

the time of filing;

5.      Plaintiff LARRY JONES was a prisoner housed in extended lockdown at DWCC at the

time of filing;

6.      Plaintiff RONALD BROOKS was a prisoner housed in extended lockdown at DWCC at

the time of filing;

7.      Plaintiffs bring this action under 42 U.S.C. §1983, for violations of the First and Eighth

Amendments to the United States Constitution on behalf of all prisoners currently held, or who

will in the future be held, in extended lockdown at DWCC in the N-1, N-2, N-3, and N-4 buildings;




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8.         Plaintiffs also bring this action pursuant to Title II of the Americans with Disabilities Act

(“ADA”), 42 U.S.C. § 12131 et seq.; Section 504 of the Rehabilitation Act (“Section 504”), 29

U.S.C. § 794.

9.         In its September 20, 2021 ruling the Court certified a class consisting of both a class and a

subclass. “The Court certifies a class of all prisoners who are or will be subjected to extended

lockdown at David Wade Correctional Center and a subclass consisting of all individuals on

extended lockdown at David Wade Correctional Center who have or are perceived as having a

qualifying disability related to mental health, as defined within the Americans with Disabilities

Act.”1


           III.    DEFENDANTS


10.        Defendant James LeBlanc in his official capacity as the Secretary of the Louisiana

Department of Public Safety and Corrections (“DPS&C”); and,

11.        Defendant Jerry Goodwin in his official capacity as the Warden over David Wade

Correctional Center; and,

12.        Defendant Lonnie Nail in his official capacity as a Colonel overseeing the South

Compound at DWCC; and,

13.        Defendant Doctor Gregory Seal, M.D. in his official capacity as a contract psychiatrist at

DWCC; and,

14.        Defendant Assistant Warden Deborah Dauzat in her official capacity as the Mental Health

Director at DWCC; and,




1
    R. Doc 462, Memorandum Ruling on Class Certification at pp. 27-28.
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15.      Defendant Steve Hayden in his official capacity as a Corrections Program Manager at

DWCC; and,

16.      Defendant Aerial Robinson in her official capacity as a Social Services Counselor at

DWCC; and,

17.      Defendant Johnie Adkins in his capacity as a Social Services Counselor at DWCC; and,

18.      The Department of Public Safety and Corrections (“DPS&C”) pursuant to the ADA and

Section 504 of the Rehabilitation Act only.


         IV.      OVERVIEW OF DAVID WADE CORRECTIONAL CENTER (DWCC)

19.      David Wade Correctional Center (“DWCC”) is a maximum custody facility.2

20.      Prisoners sentenced to the DPS&C are typically initially assessed at Elayn Hunt

Correctional Center (“EHCC”) at the Hunt Reception and Diagnostic Center (“HRDC”) before

being assigned to a specific DPS&C facility for housing.3

21.      EHCC has reception and diagnostic capacities, has a psychiatrist on staff, and has a special

housing unit for prisoners with severe mental health needs.4

22.      EHCC provides in-person programming and regularly scheduled mental health counseling

to prisoners with mental health needs who are classified as in maximum security custody.5

23.      EHCC conducts an extensive screening process that assigns a DSM-5 diagnosis, where

appropriate, and a level of care designation for prisoners.6




2
  R. Doc. 524 at 2, Joint Record Stipulation
3
  R. Doc. 524 at p. 8, Joint Record Stipulation.
4
  R. Doc. 524 at p. 8, Joint Record Stipulation.
5
  R. Doc. 524 at p. 8, Joint Record Stipulation.
6
  R. Doc. 524 at p. 8, Joint Record Stipulation.
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24.     The EHCC assessment consists of personality testing, IQ testing, interviews and results in

a DSM-5 diagnosis of prisoners with mental illness. The findings are detailed in an Assessment

& Intervention Report for each prisoner.7

25.     Upon transfer to DWCC, an intra-system screen is generally performed, usually by Mr.

Hayden.8

26.     All people who are transferred to DWCC are housed in lockdown for a period of time prior

to being moved into general population.9

27.     The placement in segregation on arrival to DWCC was affirmatively reported to

Defendants’ expert, Dr. John Thompson, by 26 of the 42 people he collected information from.10

28.     The South Compound at DWCC includes the four buildings, N1-4.11

29.     The N1, N2, N3, and N4 buildings are not climate controlled.12

30.     Prisoners on extended lockdown spend 23-24 hours per day in their cells.13




7
  R. Doc. 524 at p. 8, Joint Record Stipulation.
8
  R. Doc. 524 at p. 8, Joint Record Stipulation.
9
  Turner Tr., 45:22 - 46:4 (Mr. Turner was assigned to segregated housing upon arrival to DWCCC); Brumfield Tr.,
153:13-17 (Mr. Brumfield was housed in segregated housing upon his arrival to DWCC, he spent 3-4 years there in
total and a little over 2 years continuously); Moran Tr., 197:6-8 (Mr. Moran was assigned to segregated housing upon
his arrival to DWCC); Id. at 197:11-14 (Mr. Moran spent about a year in segregation total); Dillon Tr., 259:2-11 (Mr.
Dillon was housed in segregation upon his arrival to DWCC. During his time there he was exclusively housed in
Extended Lockdown); Adams Tr., 960:2-6 (Mr. Adams was housed in Extended Lockdown the entire time he was at
DWCC); Exh. P-BBBB-1 - Deposition of Cody Docuet, 24:11-16 (housed in extended on arrival); Id, 31:1-3 (only
housed in extended lockdown on N2, N3, and N4); Exh. P-YYY-1 - Deposition of Thomas, 13:18-23 (placed on
extended lockdown on arrival); Exh. P-YYY-4 - Deposition of Brooks, 44:3-5 (placed in N4 on arrival to DWCC).
10
   Thompson Tr., Thompson Tr., 4131:16-21.
11
   R. Doc. 524 at p. 2 paragraph 28.
12
   Baird Tr., 1070:10-21 (tiers have fans and heaters but no AC); Dauzat Tr., 3437:13 - 3439:10 (The only buildings
without air conditioning are housing units).
13
   Brumfield Tr., 159:22-25 (most days 23 hours 45 minutes in cell); Moran Tr., 198:1-6 (Prisoners spend 23-24 hours
a day); Dillon Tr., 259:18-21 (In cell 23 hrs 45 mins, only out for shower); Solomon Tr., 597:2-13 (prisoners spend
23 hours 45 mins in cell everyday); Adams Tr., 962:24 - 963:5 (23 hours 45 mins, sometimes 24 hours if no shower);
Exh. P-YYY-1 - Deposition of Thomas, 14:22 (Extended lockdown is 23 hours inside your cell); Exh. P-YYY-4 -
Deposition of Ronald Brooks, 10:8.
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 31.      Prisoners held in extended lockdown are only allowed outside for recreation for 55 minutes

 five days a week, unless their yard privileges have been restricted which results in the reduction

 of recreation time to 55 minutes on either Saturday or Sunday.14

 32.      Prisoners on yard restriction are sometimes not taken out for recreation time at all on the

 weekend.15

 33.      Recreation time for prisoners in extended lockdown is conducted in a small cage on

 concrete. There are no weights or other recreational equipment in the cages. There is no shade in

 the cages.16

 34.      Prisoners are only allowed one 10-minute phone call per month. This call is not at a

 scheduled time and can be taken away for any reason.17

 35.      Prison policy states that prisoners are to be brought for a shower every day, but prisoners

 report that they are not brought for a shower every day and the guards barter with prisoners in an

 attempt to convince them not to shower every day.18



 14
    Turner Tr., 110:12-23 (Mr. Turner testified that regular yard consisted of 50 minutes per day Monday-Friday. If a
 prisoner is on yard restriction the only recreation time is on the weekend. Sometimes you wouldn't go at all if staff
 busy); Brumfield Tr., 160:3-12 (Mr. Brumfield testified that recreation time should be an hour, but prisoners do not
 always get an hour; usually they only go outside for 20 minutes); Solomon Tr., 597:4-8 (Mr. Solomon spent extensive
 time on yard restriction and reports being allowed outside for one hour a week on a Friday, Saturday, or Sunday); See
 Exh. J-17 - 2017-7-24 - OPP 035 - Maximum Custody Housing_Privileges and Restrictions at p.4.
 15
    Turner Tr., 110:12-23.
 16
    Turner Tr., 111:5-10 (The recreation area is a 9x9 cage on concrete); McDowell Tr., 1013:17 - 1014:3 (Recreation
 is in little dog cages on concrete slab in the middle of the field, you just sit out there and it's so hot).
 17
    Turner Tr., 50:6-11 (one personal phone call a month for 10 minutes); Id. 50:13-20 (you submit a request for a call,
 they get to you whenever they have time. You don't have a particular time); Id 78:7-10 (not able to make confidential
 call to AC); Dillon Tr. 262:8 - 263:8 (one 10 min call a month; not always allowed to make it, different officers would
 find reasons not to do calls or trade calls for something else like a shower); Solomon Tr. 598:11-13 (get 1 10-min call
 a month); Exh. P-YYY-1 - Deposition of Thomas, 14:25 (one 10-minute call a month); Exh. P-YYY-4 - Deposition
 of Brooks, 12:25; Exh. J-17 - 2017-7-24 - OPP 035 - Maximum Custody Housing_Privileges and Restrictions at p.2.
 18
    Turner Tr., 49:23-25 (not taken for shower every day, if you were sleeping, they passed you up); Brumfield Tr.,
 158:13 - 159:21 (showered every day, but observed other people who did not. Reports that staff would try to get the
 “mental health” people who are defenseless to not go for a shower, they fear of retaliation if they demand a shower);
 Solomon Tr., 597:14-19 (Prisoners are supposed to get 15 minutes a day for a shower; sometimes you did not get
 shower); Adams Tr., 963:6-13; 964:6-11 (Mr. Adams testified that he did not shower every day because of his back
 and neck injury which made it hard to get restrained); McDowell Tr., 1014:6-14 (guards would offer extra food, extra
 trays if you want to refuse your shower).
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 36.      Lockdown units are also used for any prisoner housed in general populations who is on

 suicide watch.19

 37.      Buildings N2–N4 house prisoners who are assigned to disciplinary segregation,

 preventative segregation, investigative segregation, and transitional segregation.20

 38.      Buildings N2–N4 can house prisoners in protective segregation and who are being watched

 in connection with a mental health observation or suicide watch.21

 39.      In restrictive housing, prisoners are allowed outside for fifty minutes per day Monday

 through Friday, unless they are on “yard restriction.”22

 40.      As of March 2020, prisoners on extended lockdown were allowed one ten-minute phone

 call per month.23

 41.      Prisoners in restrictive housing are allowed three books and have no access to television or

 radio.24.

 42.      N1 has televisions on the tiers and prisoners may have radios on N1.25

 43.      N2D tier houses a protective custody prisoner in Closed Cell/Restriction status.26

 44.      Prisoners on N2D have access to television and radios.27




 19
    Hayden Tr., 318:9-12 (people from general population can go on suicide watch to South); Id, 472:10 - 473:24
 (impeached on this point; people can be housed on South for SSW); Id, 475:6-16 (impeached; people go to South
 Compound for suicide watch).
 20
    R. Doc. 524 at p. 6, Joint Record Stipulation.
 21
    R. Doc. 524 at p. 6, Joint Record Stipulation.
 22
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 23
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 24
    R. Doc. 524482 at p. 7, Joint Records Stipulation; Turner Tr. 51:10-22 (3 books, no television, no radio); Brumfield
 Tr. 157:13-16 (can have bible, 2 books, paper, stamps, envelopes, a pen, shower shoes, jumpsuit); Moran Tr. 198:23
 - 199:8 (allowed to have very little, not much outside of hygiene, blankets, sheet, clothes you wear); Adams Tr.
 960:23-24 (can't have radios, no tv); Adams Tr. 961:14-20 (have limited legal work, 3 books).
 25
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 26
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 27
    R. Doc. 524 at p. 7, Joint Record Stipulation.
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 45.      Buildings N2–N4 house prisoners who are assigned to disciplinary segregation,

 preventative segregation, investigative segregation, and transitional segregation.28

 46.      Buildings N2–N4 can house prisoners in protective segregation and who are being watched

 in connection with a mental health observation or suicide watch.29

 47.      In restrictive housing, prisoners are allowed outside for fifty minutes per day Monday

 through Friday, unless they are on “yard restriction.”30

 48.      As of March 2020, prisoners on extended lockdown were allowed one ten-minute phone

 call per month.31

 49.      Prisoners in restrictive housing are allowed three books and have no access to television or

 radio.32.

 50.      N1 has televisions on the tiers and prisoners may have radios on N1.33

 51.      N2D tier houses a protective custody prisoner in Closed Cell/Restriction status.34

 52.      Prisoners on N2D have access to television and radios.35

 53.      Dr. Thompson, Defendants’ expert, concede that N1 is a restrictive housing environment.36

 54.      DPSC and DWCC use a Level of Care (LOC) system to categorize prisoners by need.

 Mental health Levels of Care are defined by EPM 03-02-003 III (B).37




 28
    R. Doc. 524 at p. 6, Joint Record Stipulation.
 29
    R. Doc. 524 at p. 6, Joint Record Stipulation.
 30
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 31
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 32
    R. Doc. 524482 at p. 7, Joint Records Stipulation; Turner Tr. 51:10-22 (3 books, no television, no radio); Brumfield
 Tr. 157:13-16 (can have bible, 2 books, paper, stamps, envelopes, a pen, shower shoes, jumpsuit); Moran Tr. 198:23
 - 199:8 (allowed to have very little, not much outside of hygiene, blankets, sheet, clothes you wear); Adams Tr.
 960:23-24 (can't have radios, no tv); Adams Tr. 961:14-20 (have limited legal work, 3 books).
 33
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 34
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 35
    R. Doc. 524 at p. 7, Joint Record Stipulation.
 36
    Thompson Tr., 3967:13-19.
 37
    R. Doc 524 at 9, Joint Record Stipulation; Exh. J7 EPM 03-02-003 - DWCC Mental Health Program Policy.
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 55.     Level of Care designations range from 5 (least severe, indicating no mental illness) to 1

 (the most severe, indicating the need for a 24-hour medical and/or mental health presence).38

 56.     Level of Care 1 means someone who is grossly unable to maintain themselves and needs

 extreme care that David Wade can’t provide.39

 57.     Level of Care 2 means someone who still needs more care than can be provided at David

 Wade, possibly forced medication, but they are not stable with their mental illness.40

 58.     Individuals who have a mental health level of care 2 can be housed at David Wade per

 policy.41

 59.     Level of care 3 means an individual who is diagnosed with a severe mental illness.42

 60.     Level of Care 4 is someone who is diagnosed with a mental illness and taking medications,

 but not a severe mental illness.43

 61.     Level of care 5 is someone who does not have a mental health history.44

 62.     There are modifiers “F” used for all levels of care indicating frequent significant mental

 health interventions and “H” used only for level of care 5 indicating a history of mental health

 concerns that can be added to a mental health level of care.45

 63.     David Wade houses mostly prisoners who are level of care 3-5.46




 38
    R. Doc. 524 at 9, Joint Record Stipulation; Hayden Tr., 330:11-14 (levels of care range from 1 to 5).
 39
    Hayden Tr., 330:19-22.
 40
    Hayden Tr., 331:1-5.
 41
    Exh. J7 - EPM 03-02-003, Mental Health Program Policy at p.5; Dauzat Tr. 719:9-12 (per policy, LOC 2 can be
 housed at DWCC).
 42
    Hayden Tr. 331:9-11.
 43
    Hayden Tr. 331:12-16.
 44
    Hayden Tr. 331:21-22.
 45
    Exh. J7 - EPM 03-02-003, Mental Health Program Policy at p.7; Hayden Tr. 332:12-20 ("H" means at one point
 there was a history of mental health concerns, it can only be used for LOC 5); Id 332:18 - 333:6 ("F" means frequent
 significant mental health interventions).
 46
    Hayden Tr. 331:17-20 (LOC 3 & 4 primary caseload); Dauzat Tr. 719:22-25 (commonly only house LOC 3, 4, 5).
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 64.      The individuals who are level of care 3 and 4 comprise the mental health caseload at David

 Wade, estimated at approximately 120 people.47

 65.      Mr. Hayden, mental health staff at DWCC, testified that between 28-40% of people in

 segregation have a mental illness.48 Dr. Burns, Plaintiffs’ expert and Dr. Thompson, Defendants’

 expert, both concurred in a 40% prevalence rate for mental illness of people in segregation at David

 Wade.49

 66.      Dr. Thompson concurred with Dr. Burns’ numbers regarding people who have mental

 illness and opined that this reflected “a high level of mental illness throughout the facility.”50

 67.      Dr. Thompson testified that some people at DWCC had apparent levels of functioning that

 would put them at a higher level of need than Level of Care 3.51


          VI.    THE PARTIES EXPERTS

       A. Secretary Dan Pacholke

 68.      Secretary Dan Pacholke is the former Secretary of the Department of Corrections for the

 state of Washington.52

 69.      Prior to becoming Secretary, Mr. Pacholke spent 33 years working for the Washington

 state Department of Corrections.53

 70.      He has worked at almost every level of the department of corrections, including as the

 Superintendent (what Louisiana would refer to as a Warden) of prisons.54




 47
    Hayden Tr. 533:19-23 (LOC 3 & LOC 4 primary caseload); Id 534:13-16 (120 people on caseload).
 48
    Hayden Tr. 526:24 - 527:4 (28-40% people have mental illness on lockdown).
 49
     Burns Tr., 1427:23-1428:1; Thompson Tr., 4070:13-17.
 50
    Thompson Tr., 4028:17-22.
 51
    Thompson Tr., 4002:21-24.
 52
    Pacholke Tr. 2603:14-16.
 53
    Id. 2601:8-14.
 54
    Id. 2601:15-18.
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 71.       Secretary Pacholke is currently running his own business as a consultant on cases involving

 corrections systems.55

 72.       As a part of his current work, Secretary Pacholke has extensive experience touring carceral

 facilities all over the country. In the past approximately five years he has done tours in five prisons

 with a focus on max custody in Alaska; he’s toured at least six prisons -- five prisons in Illinois,

 once again, with a focus on maximum security; as part of a DOJ team on a CRIPA investigation,

 toured half a dozen facilities in the state of Massachusetts; he’s been to two super max facilities in

 Virginia, one in Michigan; toured both high security facilities in Nebraska, two facilities in

 Indiana, one in California, everything in Washington; toured a high security facility in Montana,

 one in New York, Ohio; and he’s been through eight in Florida.56

 73.       In order to prepare his report Sec. Pacholke visited DWCC. He was there for about two

 days.57

 74.       Sec. Pacholke interviewed prisoners who were housed on N1-N4.58

 75.       Sec. Pacholke also had longer interviews with some of the people from N1-N4.59

 76.       Sec. Pacholke has used the same methodology he used in this case in other cases where he

 has been employed as a consultant.60

 77.       Sec. Pacholke was accepted by this court as an expert in the area of Corrections

 operations.61

       A. Dr. Craig Haney




 55
    Id. 2600:24-2601:2.
 56
    Id. 2709:1-14.
 57
    Id. 2614: 13-20
 58
    Id. 2616:22-25.
 59
    Id. 2616:8-21.
 60
    Id. 2619:14-16.
 61
    Id. 2613:12-17.
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 78.     Dr. Haney has an undergraduate degree from University of Pennsylvania, he earned

 master's degree and PhD in psychology. While he was in the PhD program, he became interested

 in an area of psychology called psychology and law and so he went to and graduated from the

 Stanford Law School.62

 79.     Dr. Haney testified that while he was in graduate school, he studied in the social

 psychology area of the psychology department. He described it by saying, “Social psychology is

 the study of how people are changed and affected by the settings or the situations or the

 environments in which they find themselves, and we study a range of different kinds of

 environments. I've studied environments that are mostly in the legal system.”63

 80.     Dr. Haney specializes in psychology and the law.64

 81.     Dr. Haney is a professor of psychology at the University of California, Santa Cruz where

 he has been employed for over 40 years.65

 82.     Dr. Haney personally visited David Wade while forming his opinion in this case.66 He

 visited in August 2019 and October 2019.67

 83.     While he was there, he toured the housing units, N1-N4 and had an opportunity to see the

 outdoor recreation areas where prisoners housed in N1-N4 are allowed to recreate one hour per

 day five days per week.68

 84.      A photographer accompanied Dr. Haney on at least one of his visits. She took photographs

 of the things that Dr. Haney and the other people who were with him observed.69



 62
    Haney Tr. 2846:16-2847:3.
 63
    Id. 2847.2-9.
 64
    Id. 2847:12-23.
 65
    Id. 2847:24-2848:7.
 66
    Haney Tr. 2859:5-7.
 67
    Id. 2859:23-25.
 68
    Id. 2859:8-22.
 69
    Id. 2860:10-24.
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 85.      On both of Dr. Haney’s visits he was able to observe the living conditions of the people

 incarcerated there as well as speak with them both at the cell front and in individual interviews.70

 86.      Interviewees for confidential interviews were chosen in three different ways, the attorney’s

 chose some of them in advance, a few of them were selected by Dr. Haney himself when during

 his cell front interviews, he spoke to someone who seemed like they had more information to give

 but would rather do it in a more confidential setting, and some were chosen from a randomized

 roster of the people living on N1-N4.71

 87.      Dr. Haney uses a standard format that he typically uses when he does individual

 confidential interviews with people who are in solitary confinement or restricted housing units. He

 has been using this procedure since the 1990’s and used it in this instance as well.72

88.       The standardized list of questions that Dr. Haney used while interviewing with people

 incarcerated at David Wade is a list of questions that he almost always uses when he can.73

89.       Dr. Haney was qualified as an expert in the area of social psychology and solitary

 confinement in this case.74

       B. Dr. Kathryn Burns

 90.      Dr. Burns is the former chief psychiatrist for the Ohio Department of Corrections.75

 91.      She has extensive experience in providing mental health care in correctional settings, as

 well as setting policies for the delivery of mental health care.76

 92.      Dr. Burns’ report was based on her personal observations of DWCC.77



 70
    Id. 2860:25-2861:11.
 71
    Id. 2861:12-2862:1.
 72
    Id. 2862:5-12.
 73
    Id. 2864:12-18.
 74
    Id. 2851:14-16 and 2853:24-2854:3.
 75
    Burns Tr., 1239:23-25
 76
    Id. 1240:1-1246:9.
 77
    Id. 1254:21-1255:3
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 93.     Those observations included interviews conducted with people who were housed on the

 south compound.78

 94.     In her report and opinion, she applied the standard of care as that of a reasonable

 practitioner in a similar correctional environment, as well as benchmark standards from the ACA

 and NCCHC.79

 95.     Dr. Burns' report examines screening, treatment, adequate staffing, safeguards around

 medication, record keeping and the suicide prevention program.80

 96.     Dr. Burns was accepted by the Court as an expert in clinical psychiatry in correctional

 systems.81


         VII.     DEFENDANTS VIOLATE THE EIGHTH AMENDMENT TO THE
                  CONSTITUTION BY SUBJECTING THE CLASS AND SUBCLASS TO A
                  SUBSTANTIAL RISK OF HARM

 97.     To determine if prison conditions satisfy the Eighth Amendment’s objective component

 “[t]he deprivation alleged must be, objectively, sufficiently serious.... [T]he inmate must show that

 he is incarcerated under conditions posing a substantial risk of serious harm.” Farmer v. Brennan,

 511 U.S. 825, 834 (1995) (internal quotation marks and citations omitted).

 98.     Additionally, the Eighth Amendment requires that “inmates be furnished with the basic

 human needs, one of which is reasonable safety.” Helling v. McKinney, 509 U.S. 25, 33 (1993)

 (quotation marks omitted).

 99.     Courts ask whether the conditions are contrary to “the evolving standards of decency that

 mark the progress of a maturing society,” Farmer, 511 U.S. at 833–34, or whether the incarcerated



 78
    Id. 1255:14-17; 1256:24-1257:4.
 79
    Burns Tr., 1263:16-1264:14
 80
    Burns Tr., 1262:8-24
 81
    Burns Tr. 1259:18-1260:6
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 person has been denied “the minimal civilized measure of life’s necessities.” Rhodes v.

 Chapman, 452 U.S. 337, 347 (1981).

 100.   These standards are not static. Chandler v. Crosby, 379 F.3d 1278, 1289 (11th Cir. 2004).

 101.   The Eighth Amendment not only protects against risk of harm to prisoners’ physical

 health, but also protects mental health care as a basic human need of which incarcerated people

 cannot be deprived. See, e.g., Calhoun v. DeTella, 319 F.3d 936, 940 (7th Cir. 2003); Meriwether

 v. Faulkner, 821 F.2d 408, 413 (7th Cir. 1987); Gates v. Cook, 376 F.3d 323, 343 (2004), citing

 Partridge v. Two Unknown Police Officers, 791 F.2d 1182, 1187 (1986).

 102.   “The same standards that protect against physical torture prohibit mental torture as well—

 including the mental torture of excessive deprivation.” Ruiz v. Johnson, 37 F.Supp.2d 855, 914

 (S.D.Tex.1999), rev’d on other grounds, 243 F.3d 941 (5th Cir.2001), adhered to on remand, 154

 F. Supp. 2d 975 (S.D. Tex. 2001).

 103.   The Ruiz court, finding that prisoners had been subjected to “a systemic pattern of extreme

 social isolation and reduced environmental stimulation,” described the evolving standards of

 decency recognizing psychological pain as follows:

        In the past, courts faced with horrendous conditions of confinement have focused
        on the basic components of physical sustenance—food, shelter, and medical
        care. See Farmer v. Brennan, 511 U.S. 825, 114 S.Ct. 1970, 128 L.Ed.2d 811
        (1994). More recently, in light of the maturation of our society’s understanding of
        the very real psychological needs of human beings, courts have recognized the
        inhumanity of institutionally-imposed psychological pain and suffering. As the
        Third Circuit stated, “[t]he touchstone is the health of the inmate. While the prison
        administration may punish, it may not do so in a manner that threatens the physical
        and mental health of prisoners.” Young, 960 F.2d at 364 (emphasis added).

        Ruiz, 37 F. Supp. 2d at 914.




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 104.   Like mental health care, social interaction and environmental stimulation are basic human

 needs. Wilkerson v. Stalder, 639 F. Supp. 2d 654, 678 (M.D. La. 2007); citing Ruiz, 37 F. Supp.

 2d at 855, Rhodes, 452 U.S. at 346.

 105.   “Conditions of confinement may establish an Eighth Amendment violation ‘in

 combination’ when each would not do so alone, but only when they have a mutually enforcing

 effect that produces the deprivation of a single, identifiable human need . . . .”. Gates, 376 F.3d at

 333.

 106.   Although certain conditions standing alone might not rise to the level of a constitutional

 violation, a combination of conditions having a “mutually enforcing effect that produces the

 deprivation of a single identifiable human need such as food, warmth or exercise—for example, a

 low cell temperature at night combined with a failure to issue blankets,” may state a claim under

 the Eighth Amendment. Wilkerson, 639 F. Supp. 2d at 679; citing Wilson v. Seiter, 501 U.S. 294,

 305 (1991).

 107.   Both the Supreme Court and the Fifth Circuit have recognized that certain conditions that

 would pass constitutional scrutiny if imposed for a short period of time may be rendered

 unconstitutional if imposed for an extended period of time. Wilkerson, 639 F. Supp. 2d at 679,

 citing Gates, 376 F.3d at 333, Hutto v. Finney, 437 U.S. 678, 686–872 (1978), see

 also Meriwether, 821 F.2d at 416 (“[T]he duration of a prisoner’s confinement in administrative

 segregation or under lockdown restrictions is certainly an important factor in evaluating whether

 the totality of the conditions of confinement constitute cruel and unusual punishment.”).

 108.   In class actions challenging systemic health care deficiencies, a risk of harm to people’s

 health needs may be shown by proving “repeated examples of negligent acts which disclose a

 pattern of conduct by the prison medical staff,” or by proving there are such “systemic and gross


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 deficiencies in staffing, facilities, equipment, or procedures” such that the inmate population is

 effectively denied access to adequate medical care. Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir.

 1980) (citations omitted); Williams v. Edwards, 547 F.2d 1206, 1215-16 (5th Cir. 1977); Lawson

 v. Dallas Cnty., 112 F. Supp. 2d 616, 635 (N.D. Tex. 2000).

 109.   The test is whether a cognizable risk of harm exists, not whether the consequences of that

 risk have manifested as harm; the goal of the courts is to prevent harm where such a risk exists.

 See Gates, 376 F.3d at 341 (emphasis added) (holding that an Eighth Amendment plaintiff did not

 have to prove that he was actually injured by exposure to raw sewage, only that such exposure

 posed a serious health risk), Hudson v. McMillian, 503 U.S. 1, 4 (1992) (holding that excessive

 physical force against a prisoner can constitute cruel and unusual punishment even if the prisoner

 does not suffer serious injury).

 110.   The risk associated with placing people in lockdown conditions of the severity of those

 implemented at David Wade has been widely recognized as unconstitutional by courts. Madrid v.

 Gomez, 889 F. Supp. 1146, 1265–66 (N.D. Cal. 1995) (internal citations omitted), Braggs v. Dunn,

 257 F. Supp. 3d 1171, 1192 (M.D. Ala. 2017) (finding mental health programs offered in restrictive

 housing by the Alabama Department of Corrections unconstitutional under the Eighth

 Amendment).

    A. Defendants’ failure to provide adequate mental health care creates a substantial risk of
       harm

                     i. Defendants do not appropriately identify or diagnose mental illness,
                        creating a substantial risk of serious harm




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 111.    Mental health screenings must be conducted at intake, and a failure to do so adequately

 raises a substantial risk of serious harm to incarcerated people.82 Screening individuals for mental

 illness is important in prisons and commonly done in isolation units.83

 112.    The intake screenings performed by the Defendants are inadequate, and are not reviewed

 by a licensed mental health care professional.84 Dr. Haney testified that David Wade does not have

 an adequate mental health screening system. He said, “I didn't see any evidence of anybody being

 screened before they went into segregation. It's my understanding that before they're placed in

 extended lockdown there's no determination made. There's no special mental health screening

 which they have to be subjected to before they get placed in extended lockdown. David Wade does

 not prohibit mentally ill prisoners from being placed in lockdown.”85 There are also not periodic

 screenings to assess whether or not a person is deteriorating in this environment where their mental

 health condition might be getting worse.86

 113.    Mr. Hayden is responsible for completing the majority of the intake screenings at David

 Wade, despite his lack of credentials.87

 114.    Mr. Hayden stated that he relies on the battery of mental health testing completed at EHCC,

 although he also stated that he does not have the individual's records at the time he completes the

 intake screening, which means the information on the intake screening is primarily derived from

 the self-reporting of the prisoner.88




 82
    Burns Tr., 1299:8-1300:3
 83
    Haney Tr. 2970:3-7.
 84
    Burns Tr., 1297:17-1300:3
 85
    Haney Tr. 2973:1-10.
 86
    Haney Tr. 2973:14-25.
 87
    Hayden Tr., 347:3-5 (he does the majority of the intake screens at DWCC); R. Doc. 524 at 8, Joint Record
 Stipulation.
 88
    Hayden Tr., 350:15 - 351:5 (relies on battery of tests from EHCC and interview with individual); Id, 367:12-22
 (does not have assessments from EHCC at time of intake, does not consider them when doing intake screen).
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 115.     Defendants fail to appropriately connect people with mental illness to necessary services

 and follow-up during intake screenings.89

 116.     Defendants fail to follow-up on contradictions or inconsistency in diagnoses from previous

 institutions.90 This failure exposes patients to the risk of serious harm and undermines later care.91

 117.     In reviewing an intake screening, Mr. Hayden confirmed that the information typed at the

 top of the form is retrieved from CAJUN and the remainder of the form that his handwritten is

 completed with the individual during the interview.92

 118.     Mr. Hayden does not verify any of the information self-reported at intake, and he does not

 review the individual's records for accuracy or completeness. 93

 119.     The medications an individual is taking, as reported on the intake form, are self-reported

 and not verified by Mr. Hayden.94

 120.     Mr. Hayden indicated that individuals with a diagnosis of psychosis are referred to see Dr.

 Seal on the intake form.95

 121.     Despite Mr. Hayden’s assertion that individuals who have a mental health diagnosis and

 are taking psychotropic medications are referred to see Dr. Seal on intake, Brian Covington was

 not referred– even though he met the criteria for referral.96



 89
    Burns Tr., 1299:10-1300:3
 90
    Burns Tr., 1300:4-1301:8.
 91
    Burns Tr., 1301:9-1302:18
 92
    See Exh. P-DD-1 - Intake screening for Covington; Hayden Tr., 353:2-7 (everything in handwriting is self-reported);
 Id, 353:8-25 (all info at the top of the paper can be found in CAJUN); Id, 347:6 - 348:2 (relies on the assessments,
 relies on the codes that are entered into CAJUN, specifies what he relies on).
 93
    Hayden Tr., 355:22 - 356:3 (all info is self-reported, he does not verify any of it for accuracy); Id, 358:14-24 (does
 not verify any of the self-reported info).
 94
    Hayden Tr., 367:24-25 (meds self-reported); Id., 368:1-17 (is not verifying the meds at intake; meds arrive with
 person and go to medical); Id., 368:18-23 (meds are all self-reported on intake form).
 95
    Exh. P-O-30 - Intake screening for Adams; Hayden Tr., 376:5-13 (because Adams is a person diagnosed with
 psychosis, he is referred to Seal).
 96
    Hayden Tr., 376:14-24 (referring to Exh. P-DD-1, says AXP and PMP but not referred to Seal on form, cannot say
 why); Id, 377:6-17 (means based on diagnoses and medications, if they see Seal and what the LOC is determines how
 frequently MH staff see the person)
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 122.    Mr. Hayden was also unable to explain where he obtained information, or what information

 he obtained, that led him to change Mr. Adams level of care from 4 to 3 on intake.97

 123.    These dangerous deficiencies in the intakes conducted by DWCC for Mr. Adams and Mr.

 Covington are consistent with DWCC’s practices for conducting intakes.98

 124.    In another instance, Mr. Solomon reported that he had informed staff on intake that he had

 a history of mental illness, which was not recorded on his intake form.99

 125.    Warden Dauzat signs supervisory approval on all intake screenings without verifying the

 accuracy of the information.100

 126.    In some instances, Warden Dauzat is signing the intake form as reviewed days, weeks, or

 a month after it has been completed by Mr. Hayden.101

 127.    Mr. Hayden testified that he writes “WNL”, or “within normal limits,” on everyone’s

 intake form for intelligence because he assumes that EHCC would not send anyone to David Wade

 who has a developmental disability.102

 128.    This practice fundamentally misunderstands the distinction between a developmental

 disability and intelligence. It also undermines the intake process by not accurately reporting

 individualized intelligence.

 129.    When asked to define developmental disability, Mr. Hayden incorrectly stated it means a

 cognitive impairment, usually MR or a delay.103



 97
    Hayden Tr., 380:12-23 (reference Exh. P-O-30, changed LOC to 3F, diagnosed SMI, says he recovered facts that
 showed he had SMI from prior institution; but doesn't know where that came from).
 98
    Burns Tr., 1299:22-1300:3.
 99
    Solomon Tr., 644:22 - 645:1 (told DWCC at intake he had history of mental illness); Exh. D69 at p.8 (Intake form).
 100
     Dauzat Tr., 749:18-23 (reviewed by means she reviewed the form, not that she was present for the screening); Id,
 749:24 - 750:3 (Dauzat: will sign off on intake screen even if not present).
 101
     Hayden Tr., 410:12-23 (he signed 3/3/15, Dauzat signed 4/27/15).
 102
     Hayden Tr., 366:14-22 (marks everyone WNL for intelligence because assumption that nobody has DD).
 103
     Hayden Tr., 370:16-21 (asked to define DD, he says cognitive impairments, usually MR or delay that makes person
 potential target for predators).
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 130.    Mr. Hayden also incorrectly defined developmental disability as having an IQ of 75 or

 below and a 6th grade reading level.104

 131.    Some of the men held on extended lockdown at David Wade have an IQ of less than 75

 and many read below a 6th grade reading level.105

 132.    Mr. Hayden was unable to state if autism is a developmental disability, despite the fact that

 it is widely recognized as such by the medical community.106

 133.    Per department regulation, developmental disability is defined as an IQ of 70 or below and

 lacking the functional skills necessary to adjust to correctional settings.107

 134.    Mr. Hayden’s lack of understanding regarding signs and symptoms of mental illness,

 including the definition of a developmental disability, renders him incapable of identifying

 whether an individual has a disability and undermines the appropriateness of an intake screening

 he may complete that includes a determination of intelligence or disability.108

 135.    Screening and rescreening for signs and symptoms of mental illness benefits prison

 operations because it can identify where resources need to be allocated, or it could lead to a person

 being transferred to a different facility.109 It is also important because behaviors associated with

 uncontrolled or untreated mental illness are difficult for staff and can be traumatic for other

 prisoners.110




 104
     Hayden Tr., 366:2-13 (intelligence and DD are different; defines DD as IQ 75 or less and 6th grade reading level;
 says they aren't sent anyone with DD from EHCC).
 105
     Hayden Tr., 3773:12-14
 106
     Hayden Tr., 373:9-23 (cannot tell me if autism is a developmental disability).
 107
     Hayden Tr., 372:5-12 (says per policy DD means 70 or below, lacks functional skills to adjust to corrections
 setting).
 108
     Burns Tr., 1300:15-20.
 109
     Haney Tr. 2972:10-21.
 110
     Haney Tr. 2971:25-2972:25.
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 136.    It is also important to re-screen individuals with mental illness because their mental health

 conditions can change, especially if someone is in an environment where they are subjected to

 severe psychological stressors such as isolation.111

 137.    Defendants’ failure to identify people with serious mental illness and consistent

 understatement of the severity of mental illness where it is identified creates a substantial risk of

 serious harm. There are people at David Wade with underlying mental health conditions who are

 placed in isolation, and there are people who might have an unidentified mental condition that is

 exacerbated by isolation.112

 138.    Defendants’ mental health intake screenings are inadequate to detect major changes,

 especially when the person’s HRDC intake screening is old. Dr. Haney testified that whatever a

 person’s mental health status is when they arrive it is subject to change, saying, “So it is important

 to periodically screen them or assess them in a systematic way for the existence of mental illness

 or the worsening of already existing mental illness or perhaps the incipient or undiagnosed mental

 illness beginning to manifest itself while somebody is in isolation.”113

 139.    The standard of care requires that people be screened for mental illness upon transfer into

 restrictive housing.114

 140.    Defendants fail to screen for mental illness when a person transfers to extended lockdown,

 they are only screened for medical purposes.115




 111
     Haney Tr. 2970:8-13.
 112
     Haney Tr. 2970:18-24.
 113
     Haney Tr. 2970:25-2971:8.
 114
     Burns Tr., 1435:18-1436:6
 115
     Burns Tr., 1414:13-18 (standard of care requires screening upon placement in restrictive housing); Dauzat Tr.
 3320:1-6 (people are screened by medical before being placed in segregation); Id, 3321:14-18 (mental health is
 required to complete a screen only when a person remains in segregation for more than 30 days).
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 141.    During the time that Johnie Adkins worked with the mental health department, he

 completed intake screening even though he admittedly did not possess the qualifications to make

 clinical judgments about mental health and was not a qualified mental health provider.116

 142.    The fact that Defendants had a completely unqualified (albeit seemingly well-intentioned)

 chaplain responsible for providing mental health care to men held in solitary confinement for years

 illustrates the negligible attention and priority afforded to mental health care at the facility

 generally. It was not until after this lawsuit was filed that Mr. Adkins was removed from the role

 of providing mental health care, despite his having been in that role for years with the support of

 Wardens Goodwin and Dauzat.

 143.    Defendants’ failure to identify people with serious mental illness through adequate

 screening or monitoring exposes people to significant risks of mental and physical harm and

 deprives people of the opportunity to receive needed treatment.117

                        ii. Defendants do not provide adequate mental health care even when they
                           have identified patients with mental illness.

 144.    The mental health care at DWCC is almost non-existent and insufficient, except for

 medications, and even the process for providing medications fails to adequately provide the

 medications and document compliance.118

 145.    Initial intake screenings fail to triage people with serious mental illnesses to ensure that

 they are seen in a timely manner by mental health staff.119

 146.    Mental health staff at DWCC are inadequately trained to recognize the signs and symptoms

 of mental illness, leading to delays in referrals for needed mental health care.120


 116
     Exh. P-YYY-3 - Deposition Adkins, 27:7-16 (completed mental health intake screening).
 117
     Burns Tr., 1449:5-1450:8.
 118
     Burns Tr., 1148:24-1149:2
 119
     Burns Tr., 1149:5-11
 120
     Burns Tr., 1149:12-22
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 147.       Mental health staff do not provide adequate counseling or other therapy, due in part to the

 lack of training and qualified staff.121

 148.       Dr. Haney testified that during both his cell front interviews and confidential interviews

 with incarcerated people they expressed significant concerns regarding the mental health staff at

 DWCC.122 They reported widespread concerns and complaints about a lack of mental health

 care.123

 149.       First, the common theme of their complaint was that there is not sufficient mental health

 care at DWCC. There are no individual therapy sessions, and no groups. The only thing that the

 prison offers is medication with a 90-day review.124

 150.       Second, the prisoners perceived mental health staff, particularly Mr. Hayden, as

 unsympathetic and uncaring. He is not responsive to the needs or concerns expressed by prisoners.

 Dr. Haney testified, “A number of them told me that they simply had lost faith or confidence in

 the mental health staff, that the mental health staff wasn't caring and they didn't talk to them. In

 what they perceived to be the few instances in which Mr. Hayden or other mental health staff were

 in the unit, they wouldn't seek them out. They didn't have confidence in them, didn't trust them,

 and didn't -oftentimes simply wouldn't talk to them about something even if they were having a

 problem.”125

 151.       Third, prisoners have inadequate contact with mental health staff at the cell front because

 of the lack of confidentiality. Prisoners have difficulty sharing personal information because what

 they say could be heard by correctional officers or other prisoners. This is problematic because




 121
     Burns Tr., 1340:21-1341:7
 122
     Haney Tr. 2903:21-24.
 123
     Haney Tr. 2904:4-6.
 124
     Haney Tr. 2904:6-11.
 125
     Haney Tr. 2904:12-25.
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 cell front conversations are the primary, if not exclusive, way that mental health staff

 communicates with the incarcerated men.126

 152.     Fourth, the 90-day medication reviews are pro-forma or superficial, and last no more than

 approximately 5 minutes. The meetings are exclusively about medication, and Dr. Seal does not

 do any psychotherapy. Prisoners also said that despite the fact that they were taken out of cell for

 their meetings with Dr. Seal, those meetings were not private; Mr. Hayden would be there as well

 as a correctional officer within earshot of the conversation, creating a circumstance in which they

 did not have a setting to have psychotherapy or a sympathetic ear for the problems they are

 experiencing. 127

 153.     Dr. Haney testified that all of these concerns create a substantial risk of harm.128 He

 explained that when people feel as though they can’t get adequate mental health care, they feel

 even more desperate in environments like the one at DWCC. Many of the people on the south

 compound at DWCC already have mental health diagnosis, meaning that the institution either

 diagnosed them with or recognized a mental illness and they were still not getting what they feel

 like is appropriate mental health care.129 This is in addition to the added stress and psychological

 risk that being in a cell for 23 hours a day would produce.130

 154.     People known to the Defendants to have serious mental illnesses (SMI), including

 extensive histories of suicidal ideation and behavior, are routinely placed on extended lockdown

 at DWCC.131


 126
     Haney Tr. 2905:1-15.
 127
     Haney Tr. 2905:16-2906:7.
 128
     Haney Tr. 2905:7-10.
 129
     Haney Tr. 2906:8-2907:18.
 130
     Haney Tr. 2907:9-14.
 131
     Turner Tr., 83:11-20 (diagnosed with mental illness, anxiety, depression, bipolar, schizoaffective); Solomon Tr.,
 593:5-13 (diagnosed ADHD and PTSD; counseling and medications before prison; Depakote, Concerta, Ritalin, and
 others); Adams Tr., 958:1-13 (in and out of MH hospitals; was diagnosed with mental illness before jail, unsure what);
 Id, 958:22 - 959:18 (treated for antisocial personality disorder, PTSD, psychosis, bipolar, schizophrenia, paranoia,
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 155.    The absence of observation and monitoring of individuals on extended lockdown means

 that psychiatric decompensation goes unnoticed, as does the onset of new symptoms.132

 156.    The standard of care for monitoring requires weekly rounds and periodic out-of-cell

 assessments.133

 157.    There is no evidence from individual mental health files that regular rounds are taking

 place.134

 158.    Without appropriate rounds, patients are seen only according to policy minimums rather

 than actual clinical need.135

 159.    In addition to rounds, mental health staff need to conduct periodic assessments out-of-cell

 to evaluate each person’s mental health condition in detail.136 DWCC does not properly document

 these assessments.137 The substance of each periodic assessment is essentially identical for each

 person.138 Patients at DWCC reported that they were unaware that these evaluations had even taken

 place.139

 160.    DWCC’s failure to adequately perform periodic assessments exposes people to the risk of

 harm, including suicides and acts of self-harm related to mental illness.140

 161.    Lacking both rounds and periodic assessments, signs and symptoms of serious mental

 illness remain unidentified or untreated and people experiencing crisis manifestations of mental



 MDD); McDowell Tr., 1030:12-17 (diagnosed with depression at EHCC and given meds); Exh. P-BBBB-1 -
 Deposition of Doucet, 34:12-17 (diagnosed with Bipolar Schizophrenia); Id, 35:18-22 (received same diagnoses at
 EHCC); Exh. P-YYY-1 - Deposition of Da’Marcus Thomas, 7:6-8 (been diagnosed with mental illness); Id, 8:12-15
 (paranoid schizophrenia, depression and anxiety).
 132
     Burns Tr., 1449:3-1451:1
 133
     Burns Tr., 1304:6-1305:2.
 134
     Burns Tr., 1312:13-1314:7
 135
     Burns Tr., 1314:14-20
 136
     Burns Tr., 1315:14-1317:6.
 137
     Burns Tr., 1318:2-1319:25.
 138
     Burns Tr., 1320:18-1321:9; 1326:20-1327:16; 1327:25-1328:6.
 139
     Burns Tr., 1328:9-14.
 140
     Burns Tr., 1329:1-1330:6.
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 illness are not detected before the person is a significant risk to himself or others. This creates a

 substantial risk of serious harm in violation of the Eighth Amendment to the constitution.

 162.    In order to provide constitutionally adequate care, in addition to offering medication and

 medication management, a mental health program must also contain treatment options such as

 group counseling, individual counseling, and programming to assist patients in managing the

 symptoms of mental illness.141 Psychotherapy is an essential part of providing constitutionally

 adequate mental health care.142

 163.    The failure to supplement medication management with other forms of mental health care

 creates a substantial risk of harm to patients.143

 164.    The only individuals actually licensed by the State of Louisiana to provide mental health

 “treatment” per se at David Wade are Dr. Seal144 (the contract psychiatrist), Warden Dauzat (a

 licensed clinical social worker and the Assistant Warden over Mental Health)145, and James

 Burgos, a licensed professional counselor.146

 165.    Warden Dauzat does not herself provide direct treatment. Her job description includes

 overseeing and supervising the mental health department, serving as the Prison Rape Elimination

 Act coordinator, supervising Warden Kayla Sherman and monitoring the functions of the

 Classification and Education Department.147




 141
     See Ruiz, 37 F.Supp.2d 855 (S.D.Tex.1999).
 142
     Seal Tr., 1174:20-22; Burns Tr., 1341:15-1342:19.
 143
     Burns Tr., 1342:1-1343:23
 144
     Seal Tr., 1105:25-1106:2
 145
     Dauzat Tr., 717:23 - 718:2 (licensed clinical social worker); Robinson Tr., 668:7-21 (Robinson became a licensed
 master social worker after the fact cut off date of March 2020).
 146
     Burgos Tr., 3778:11-24 (Masters degree in guidance and counseling and licensed professional counselor).
 147
     Dauzat Tr., 3334:20 - 3335:3 (Sherman took over Dauzat’s responsibilities for Classification in 2014 because
 Dauzat tied up with PREA stuff); Id, 3306:10-14 (still oversees operations of mental health, supervises Warden
 Sherman, Chaplaincy department, business administration office and has oversight overall these departments).
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 166.    There are staffing shortages in the mental health staff at DWCC such that it creates a

 substantial risk of serious harm.148

 167.    The risk of harm manifested as actual serious harm to class members at DWCC.149

 168.    Because there is no diversion of people with mental illness from lockdown, DWCC will

 have a greater than normal need for mental health services on the south compound.150

 169.    Such diversion programs exist in other states.151

 170.    Despite the greater need for qualified mental health staff due to a larger population of

 prisoners with mental illness, DWCC has put unqualified mental health staff in the role of direct

 patient care such as Chaplain Johnie Adkins.152

 171.    When Mr. Adkins was first brought on full time, he was working in the mental health

 department even though he was not qualified to make any clinical decisions.153

 172.    Each mental health staff person should have a caseload of no more than 60 people.154

 173.    Mental health staff at DWCC are not clear as to who is on each clinician's caseload.155

 174.    The danger of understaffing is in delays to psychiatric visits and an increased number of

 disciplinary reports, decompensation, use of force, and physical harm to self or others.156

 175.    Burns observed negative consequences from understaffing at DWCC.157




 148
     Burns Tr., 1424:13-1425:9.
 149
     Burns Tr., 1425:12-1426:8.
 150
     Burns Tr., 1420:7-23
 151
     Burns Tr., 1414:23-1415:23
 152
     Exh. P-YYY-3 - Deposition of Johnie Adkins, 6:15-24 (earned degrees in divinity, theology and ministry).
 153
     Exh. P-YYY-3 - Deposition Adkins, 12:5-24 (work was not clinical); Id, 13:10-17 (it was under the umbrella of
 the mental health department).
 154
     Burns Tr., 1422:4-1423:1
 155
     Burns Tr., 1423:12-1424:1
 156
     Burns Tr., 1424:13-1425:9
 157
     Burns Tr., 1425:12-1426:8
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 176.    Mental illness drives behavioral problems for many people in restrictive housing at

 DWCC.158

 177.    Burns conservatively estimates that 40% of the people on lockdown at DWCC have mental

 illness.159 Defendants’ expert Dr. Thompson agreed with her finding of a conservative estimate at

 40%.160

 178.    Mr. Hayden and Mr. Burgos are the primary persons responsible for delivering services to

 all individuals housed on the South Compound which includes obligations to screen everyone to

 identify new or worsening signs of mental illness, conducting segregation interviews every 90 days

 to monitor new or worsening signs of mental illness, providing care to individuals who engage in

 self harm or threaten self-harm by placing them on suicide watches, amongst a litany of other

 duties.161

 179.    A risk of harm is created because Steve Hayden, the primary mental health staff providing

 services for incarcerated people in extended lockdown, does not have a clinical license. Dr. Haney

 testified that there is a risk because when someone who is not qualified and licensed to provide

 care is performing that service then the required or necessary services are not being provided.162

 180.    Dr. Seal, the prison’s psychologist, visits the prison every two weeks.163

 181.    Dr. Seal typically sees people every 90 days, but he can set a follow up appointment for

 whenever he wants to.164



 158
     Burns Tr., 1426:15-1427:19
 159
     Burns Tr., 1427:23-1428:1
 160
     Thompson Tr., 4070:13-17
 161
     Dauzat Tr., 3354:12-16 (2 staff members for South, Hayden and Burgos. Burgos had N1 & N2, Hayden had N3 &
 N4); Hayden Tr., 313:5 - 314:7 (responsible for the MH care for South Compound); Id 314:18-23; 315:17-19 (Hayden
 conducts reentry classes); Id 316:18-21 (Hayden works on both North and South compounds).
 162
     Haney Tr. 2898:20-2899:3.
 163
     Seal Tr., 1194:2-4
 164
     Hayden Tr., 551:21 - 552:6 (Seal typically sees people every 90 days, but can set a follow up for whenever he
 wants).
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 182.     During each visit he is on-site for approximately 5 hours.165

 183.     Each visit, he sees 25-40 patients.166

 184.     His time is divided between the North Compound and the South Compound.167

 185.     On the South Compound, Dr. Seal meets with patients in the courtroom in each building

 for N1 - N4.168

 186.     During these visits, a mental health staff person is present as well as security staff, which

 means none of the visits are confidential and people do not feel comfortable openly discussing

 issues and concerns with Dr. Seal.169

 187.     The onus is on individual patients to request that security leave the room.170

 188.     Dr. Seal never prescribes counseling, group therapy, or any intervention whatsoever, other

 than medication even when people specifically request an intervention other than medication.171




 165
      Seal Tr., 1112:12-16; 1110:5-20 (travel time counts against his total hours under contract)
 166
      Seal Tr., 1109:11-14
 167
      Seal Tr., 1112:12-16
 168
      Seal Tr., 1116:8-10; Turner Tr., 92:11-15 (meet in courtroom); Solomon Tr., 611:2-3 (you meet in a room like a
 little box, same size as cells); Adams Tr., 986:12-14 (meet with Seal in courtroom).
 169
      Turner Tr., 92:6-9 (security in the room every time meet with Seal); Id, 92:24 - 93:17 (security always there, no
 confidentiality, asked for security to leave and denied, told security needed to be present); Moran Tr., 207:20-25 (met
 with Seal in courtroom with security and Robinson); Dillon Tr., 271:7-16 (security in the room with Seal, was told
 that's how things are done at DWCC); Solomon Tr., 611:3-16 (Hayden and Coleman in room; can't talk to Seal with
 Coleman there, he told Solomon to ram his head into the bars and sprayed him); Adams Tr., 986:15-20 (usually
 Hayden in room and always a rank in security, always); Id, 986:21 - 987:11 (would make him really uncomfortable
 in room with security, they use info against them, so you have to watch what you say); Moran Tr., 208:1-20 (it was
 embarrassing to talk to Seal in front of security, can't be open and honest. You don't want to be truthful about what
 you're going through when correctional officer present, you're vulnerable and it's embarrassing); Dauzat Tr., 3371:16-
 20 (the court noted not hearing any testimony that anyone sees Seal without security; Dauzat disagrees); Seal Tr.
 1117:23-25.
 170
      Seal Tr. 1118:9-25
 171
      Dillon Tr., 268:13 - 269:3 (met with Seal; Seal only wanted to give him meds, he wanted someone to talk to);
 Solomon Tr., 602:20 - 603:8 (Seal put him on Risperdal because he asked for something to help him sleep and calm
 his anxiety. Solomon knew there were side effects, but tried it anyhow); Id, 603:9-17 (did not like Risperdal, had side
 effects like easily annoyed and aggravated; did not want breasts); Id, 603:18-24 (wanted program, counseling, therapy,
 anything other than meds); Adams Tr., 979:15-18 (requested individual or group therapy, only ever got medications);
 Dillon Tr., 270:12-25 (requested individual counseling and was denied. Seal would only give him pills); Exh. P-YYY-
 1 - Deposition of Thomas, 22:2-24 (he asked for help, but all he got was prescribed Buspar); Exh. P-YYY-4 -
 Deposition of Brooks, 23:23 - 25:11 (told Seal he was having nightmares, wanted therapy or programming, Seal only
 gave him medications and Brooks did not think it was going to help).
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 189.    Dr. Seal never encountered a patient in restrictive housing who had psychotherapy on their

 treatment plan.172

 190.    Dr. Seal identified patients on the south compound who need psychotherapy, but he only

 makes verbal recommendations to mental health staff when he identifies this need.173

 191.    He never creates a written record or formal recommendation for treatment.174

 192.    At best, on each visit he sees approximately 32-36 people for approximately 3-5 minutes

 each.175

 193.    Plaintiff’s expert, Dr. Burns, who has worked as a prison psychiatrist stated that psychiatric

 visits should take 10-15 minutes for follow-ups, initial appointments should be closer to 45 minutes

 to 1 hour.176

 194.    The purpose of his visit is to evaluate medication needs and adjust medication.177

 195.    Dr. Seal does not provide psychotherapy, which is necessary for the treatment of some

 people with mental illness.178

 196.    The practical limitations of the structure of Dr. Seal’s visits there means that he has 10

 hours a month to see everyone on the mental health caseload at DWCC, a prison with a population

 of roughly 1,200 which falls below the standard of care for the amount of psychiatric treatment

 time for a facility of that size.179

 197.    Dr. Seal’s default intermission between visits for each of his patients is three months.180



 172
     Seal Tr. 1175:6-9
 173
     Seal Tr. 1174:20-25
 174
     Seal Tr. 1175:1-5
 175
     Burns Tr., 1123:22 - 1124:2 (New patients are closer to 10 minutes); Burns Tr., 1124:3-8
 176
     Burns Tr., 1411:25-1412:12
 177
     Hayden Tr., 549:5-8 (Seal sees people for medication management); Id, 554:19 - 555:1 (Seal provides med
 management; important he has complete and accurate information for each person he sees).
 178
     Seal Tr., 1216:14-17; 1216:18-24.
 179
     Burns Tr. 1418:12-1420:2
 180
     Seal Tr., 1142:11-16
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 198.    Mental health staff are responsible for rescheduling missed appointments with Dr. Seal.181

 199.    Mental health staff fail to reschedule these appointments even for people with serious

 symptoms or new medications.182

 200.    Dr. Seal does not independently evaluate each individual nor does he check to make sure

 each individual is receiving medications he has prescribed,183 instead relying upon Mr. Hayden

 and Mr. Burgos to provide him all the information he needs.

 201.    The psychiatrist needs to review documentation on interim functioning of the patient to

 prepare ahead of that meeting with the patient.184

 202.    Dr. Seal reviews progress notes but not unusual occurrence reports,185 and he does not have

 access to information on uses of force.186

 203.    Dr. Seal only occasionally reviews the interviews with segregated inmates, the periodic

 assessment of patients.187

 204.    Psychiatrists must perform comprehensive assessments, make recommendations for

 treatment, help with treatment planning, and participate in treatment team meetings, not just

 medication management.188

 205.    Psychiatrists must document review of important incidents such as suicide watches and

 disciplinary incidents.189




 181
     Seal Tr., 1160:1:10
 182
     Seal Tr., 1160-1166 (progress notes showing no-shows); Id, 1168-1171 (Huber no-shows without immediate
 follow-up).
 183
     Burns Tr. 1400:19-1402:2
 184
     Burns Tr. 1416:2-1418:2
 185
     Seal Tr., 1121:3-23
 186
     Seal Tr., 1123:15-21.
 187
     Seal Tr., 1121:3-23
 188
     Burns Tr. 1407:13-1409:13.
 189
     Burns Tr. 1410:15-1411:4.
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 206.     Seal never made a written recommendation for any treatment apartment except

 medication.190

 207.     Dr. Seal lacks necessary access to the current medication compliance information about

 his patients.191

 208.     Dr. Seal cannot appropriately provide a course of treatment without accurate medication

 administration records.

 209.     Dr. Seal lacks basic knowledge of the conditions of confinement in the south compound,

 including what “extended lockdown” means,192 what a mental health “level of care” is,193 the

 definition of the DPS&C term “serious mental illness”, 194 or what a “mental health management

 order” refers to.195

 210.     Dr. Seal does not routinely document recent suicide watches in his notes. Failure to do this

 is dangerous and deprives the person of the assistance of the most qualified mental health

 practitioner in dealing with self-harm.196

 211.     Mental health staff at David Wade are responsible for compiling a list of people for Dr.

 Seal to see during his visit as well as pulling the records for the individuals on that list.197

 212.     He relies upon the mental health staff member in the room with him at the time to provide

 medication orders to medical staff and to file the notes into the individual records.198




 190
     Burns Tr. 1409:16-1410:10.
 191
     Burns Tr. 1400:19-1402:2.
 192
     Seal Tr., 1226:25-1227:4.
 193
     Seal Tr., 1233:20-1234:1.
 194
     Seal Tr., 1229:13-18.
 195
     Seal Tr., 1231:10-19.
 196
     Burns Tr. 1367:25-1369:9 (example of Corey Adams).
 197
     Hayden Tr., 550:18-25 (they pull a list of people that Seal previously said he wanted to see again, MH staff put the
 list together); Id, 551:14-20 (MH staff pull records for Seal's visits).
 198
     Seal Tr., 1142:17-25.
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 213.       The mental health staff also create a mental health progress note during the visits with Dr.

 Seal, the content of which should be similar or the same as the information contained in Dr. Seal’s

 note.199

 214.       However, a comparison of Dr. Seal’s note and Mr. Hayden’s note from the same day for

 Torre Huber showed different diagnoses and different timelines to follow up with Dr. Seal again

 in addition to Mr. Hayden’s failure to document that Mr. Huber had been experiencing

 hallucinations.200

 215.       The drastic differences in documentation among people who were in the same room for the

 same visit demonstrate inadequacies in the provision of mental health care at David Wade.

 216.       Accurate record-keeping is essential to the provision of constitutional care. If Dr. Seal is

 providing the only course of treatment available at Wade (medication) his orders have to be

 premised on accurate documents, and then also have to be accurately implemented.201

 217.       At points, Dr. Seal could not read his own handwriting, and neither could others.202

 218.       An inability for staff to read and implement his orders causes delays in care. For example,

 Seal ordered bloodwork to evaluate Carlton Turner’s wellbeing due to his being on lithium.

 Despite the passage of several months the tests were not done by Defendants, so Dr. Seal had to

 order them again. This type of delay in care in evaluating medication toxicity poses a serious risk

 of significant harm.




 199
     Hayden Tr., 558:24 - 559:5 (progress note should be similar information to Seal's note).
 200
     Exh. P-LL-245 - psychiatric clinic progress note-Huber, Torre; Hayden Tr., 559:14 - 561:1 (reviewing the psych
 clinic prog note; diagnosis MDD and RTC 4-6 mos); Exh. P-LL-244 - Seal progress note-Huber, Torre; Hayden Tr.,
 561:7 - 562:9 (review of Seal's note for same day; diagnosis different); Id, 563:25 - 564:12 (his note does not reflect
 hallucinations, Seal's note does).
 201
     See, Ruiz, 37 F.Supp.2d 855.
 202
     562:20-25 (Hayden: unable to read Seal's note, see P-LL-244) 563:8-16 (Hayden: it's his job to provide MH
 treatment to people, should be able to read Seal's note).


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 219.     Policy promulgated by both the Louisiana Department of Public Safety & Corrections

 (LDPSC) and DWCC require that mental health treatment plans be individualized for all

 individuals with a level of care 1, 2, 3, or 4.203

 220.     As of March 2020, all mental health treatment plans provided for prisoners in restrictive

 housing at DWCC have the same short term treatment goals and the same long term treatment

 goals.204

 221.     The short-term objectives in the mental health treatment plans are: “Comply with

 medications prescribed and advise staff of any adverse effect, identify stressors that create

 behaviors warranting segregation, consistently display appropriate behavior in accordance to

 institutional regulations.”205

 222.     The long-term treatment goals in the mental health treatment plans are: “1. Maintain

 compliance with all institutional rules and regulations. 2. Maintain appropriate level of

 functioning. 3. Increase insight in order to be moved to a less restrictive environment. Date Met:

 on-going.”206

 223.     The treatment plans for the people held on the South Compound do not meet the standard

 of care for mental-health treatment either inside or outside of prison.207

 224.     Even when an individual with mental illness is identified, every person receives an

 identical treatment plan that calls for nothing except medication management.208




 203
     Exh. J-7 - 2019-2-13 - EPM 03-02-003 - Mental Health Program at p.7-9.
 204
     R. Doc. 524 at 12, Joint Record Stipulation; Hayden Tr., 585:16-21 (at the time, all short and long term goals were
 the same on all treatment plans).
 205
     R. Doc. 524 at 12, Joint Record Stipulation.
 206
     R. Doc. 524 at 12, Joint Record Stipulation.
 207
     Seal Tr., 1172:12-14; Burns Tr., 1330:22-1334:12.
 208
     Dauzat Tr., 769:7-11 (all treatment plans identical); Burns Tr., 1333:10-15.
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 225.     These treatment plans do not change over time, regardless of changes or deterioration in

 the individual’s condition.209

 226.     The lack of individualized treatment plans inhibits the delivery of necessary mental health

 treatment at DWCC.210

 227.     Treatment plans are a part of the standard of care, whether in the community or a restrictive

 housing correctional setting.211

 228.     Treatment plans should be substantive, containing the patients' strengths, weaknesses,

 symptoms, the frequency of symptoms, the treatment, who is providing the treatment, the

 frequency for the treatment, and document progress towards written goals.212

 229.     General, non-individualized treatment plans have no value.213

 230.     The lack of individualized treatment plans exposes the members of the class to the risk of

 serious harm.214

 231.     David Wade offers no mental health treatment to individuals housed in solitary

 confinement other than medication management.215

 232.     There is no programming and there is no individual counseling.216



 209
     Burns Tr., 1334:13-21.
 210
     Burns Tr. 1331:5-12 (importance of the plans for communicating expectations to patients and clinicians); 1332:1-
 1333:9 (importance of the plans for planning and resource allocation).
 211
     Burns Tr. 1330:22-1331:4; 1331:15-22.
 212
     Burns Tr. 1330:9-21.
 213
     Burns Tr. 1333:18-1334:12; 1334:22-1335:17.
 214
     Burns Tr., 1438:20-1439:1, 1439:18-21, 1451:4-11; Seal Tr., 1127:18 (Non-individualized treatment plans are not
 correct, there are risks); Seal Tr., 1217:7-17 (Treatment plans are important and should document a person's actual
 course of treatment).
 215
     Burns Tr., 1448:21-1451:1; Turner Tr., 108:9-15 (only MH tx rec'd was medication or being put on sucicide watch);
 Moran Tr., 209:11-24 (only treatment was meds, no individual counseling; only got to see Seal once every 6 months,
 those meetings last 5 mins tops).
 216
     Hayden Tr., 569:20 - 570:4 (people have to request materials. request for materials would be in progress note. Does
 not know how many people asked for them); Dauzat Tr. 774:3-9 (any materials requested should be in progress note,
 and any materials provided might be in progress note); Dillon Tr. 290:14-19 (had asked Robinson for individual
 counseling and was denied); Turner Tr. 94:7-9 (never received individual counseling); Thompson Tr., 4132:6-11
 (Defendants’ expert Dr. Thomspn agreed that programming is generally unavailable in restrictive housing at DWCC),
 Id, 4039:15-24 (The only exception is a program available on N-1 for those preparing to re-enter the community).
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 233.    There aren’t even religious programs available for people on the South Compound with

 the exception of people housed in N1 who are also eligible for reentry classes.217

 234.    Defendants’ expert Dr. John Thompson found that 14 of the 42 people he collected

 information from reported there was no programming available to them and they would have

 wanted access to.218

 235.    The minimum standard of care for counseling requires that the visit take place in a

 confidential setting with a trained and credentialed provider.219

 236.    Documentation of counseling must include a treatment plan, a progress note documenting

 the subject of the counseling and an update on their condition, any follow-up steps like homework

 or journaling, and include documentation of progress toward the goal.220

 237.    Dr. Burns encountered no progress notes documenting counseling for patients on the south

 compound except for those specific to the TTP.221

 238.    Dr. Burns encountered patients who were in need of counseling in N1-N4 at DWCC.222

 239.    The lack of counseling at DWCC has negative outcomes, including higher

 frequency/intensity of self-harm.223

 240.    Lack of counseling results in people receiving write-ups due to lack of anger management

 coping mechanisms. This results in unnecessary danger to staff and prisoners, as well as

 unnecessary uses of force.224




 217
     P-YYY-3 - Deposition of Adkins, 17:5-25 (religious programs not available for South Compound; individuals from
 churches provide services to people on the tiers only for N1).
 218
     Thompson Tr. 4132:6-11.
 219
     Burns Tr., 1337:2-19.
 220
     Burns Tr., 1337:23-1338:20.
 221
     Burns Tr., 1338:21-1339:2; 1340:2-1341:13.
 222
     Burns Tr., 1341:15-1342:19;
 223
     Burns Tr., 1342:20-1343:17
 224
     Burns Tr., 1345:24-1347:3
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 241.    Yelling and cursing can be symptoms of mental illness,225 counseling can help people to

 control their noise level.226

 242.    The lack of mental health care harms the men held on extended lockdown at DWCC. Dr.

 Haney testified that there was a “remarkable consistency” in what the incarcerated men had to tell

 him. They complained about the lack of programs, the harshness of the environment, what they

 perceived as the lack of mental health care, or lack of responsiveness from mental health staff. Dr.

 Haney also said that the men he spoke to also complained about mistreatment at the hands of

 correctional staff. They spoke specifically about the use of chemical spray either on themselves or

 with some frequency in the unit. Some of them said that even when they had declared a

 psychological emergency or said they were feeling suicidal they were subjected to chemical

 agent.227

 243.    Dr. Haney testified that during interviews with incarcerated people they told him that they

 had pre-existing mental health conditions, they were suffering from the symptoms of their mental

 health conditions, had difficulties getting mental health help, and they felt like the solitary

 confinement they were being subjected to was making their mental health conditions worse.228

                         iii. There is no programming available for prisoners housed in extended
                            lockdown

 244.    Individuals housed on the South Compound are not eligible to participate in group therapy

 programming.229



 225
     Seal Tr., 1186:20-1187:22
 226
     Seal Tr., 1188:9-12
 227
     Haney Tr. 2895:19-2896:14.
 228
     Haney Tr. 2894:11-18.
 229
     Robinson Tr., 676:22 - 677:5 (There is group therapy for the North compound, not available for N1-N4); Dauzat
 Tr., 772: 11-18 (There is no group therapy for N2-N4; it is not provided for anyone on Extended Lockdown); Adams
 Tr., 979:7-18 (Mr. Adams requested group and individual therapy in ARPs, never got either one); Exh. P-YYY-1 -
 Deposition of Thomas 17:7 - 18:1 (programs such as church, mental health programs, school, rehabilitation, substance
 abuse…not available. Nothing to help you rehabilitate yourself).
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 245.    Dr. Haney testified that during his visit prisoners told him that there was no programming

 available to them and that they didn’t have anything to do. Dr. Haney said that he understood there

 was the possibility of correspondence courses, but he saw no evidence of that in the records that

 he reviewed.230

 246.    The only exception to the lack of programming is a re-entry course that is only offered to

 people who are housed on N1 6 months before their release.231

 247.    Purportedly, individuals can request materials and curriculum for programming that is

 provided as group therapy available for individuals not in segregation.232

 248.    One packet of materials, titled “Understanding and Reducing Angry Feelings” was

 identified by Warden Dauzat as an item that can be provided to an individual upon request.233

 249.    This packet of materials is provided to individuals despite the fact that it states on the cover

 page that it is “a collection of materials for leading counseling sessions that encourage new ways

 of thinking about and responding to anger” and is not self-help materials. 234

 250.    These written materials are inappropriate for anybody but the course instructor, and not

 consistent with people's reading level.235

 251.    Packets are not as effective as group therapy.236

 252.    Individual and group therapy are available at other maximum-security institutions.237




 230
     Haney Tr. 2965:1-13.
 231
     Haney Tr. 2965:14-22; Thompson Tr. 4132:6-11, 4039:15-24.
 232
     Dauzat Tr., 775:7-10 (materials and curriculum can be sent to people in segregation per request).
 233
     Exh. D39 - Understanding and Reducing Angry Feelings materials; Dauzat Tr., 776:3-11 (this is what can be sent
 to men in segregation).
 234
     Exh. D39; Dauzat Tr., 776:20 - 777:6 (materials intended for person leading counseling sessions, not self help).
 235
     Burns Tr., 1284:7-24
 236
     Burns Tr., 1345:15-23
 237
     Burns Tr., 1339:3-25
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 253.    Warden Dauzat went on to admit that she does not know how many individuals are unable

 to read or write, which would render this packet entirely ineffective even for the improper use it is

 provided.238

 254.    Dr. Burns testified that the deficiencies in the mental health care available at DWCC work

 together to create a serious risk of significant harm.239

 255.    These deficiencies and the risks flowing from them should be obvious to anyone with

 clinical mental health training.240

 256.    DWCC is not providing any programming outside of the cell, which is not in line with the

 national consensus around providing programming to people who are in restrictive housing.241

 257.    The Department of Public Safety and Corrections is familiar with and makes the necessary

 equipment to provide congregate treatment to prisoners in a maximum-security environment.242

 258.    Sec Pacholke testified that like other forms of programming, educational programming

 should be offered to people on extended lockdown to meet the national standard in correctional

 practices. This recommendation comes from the ASCA guidelines, and the DOJ policy brief. At

 DWCC people on extended lockdown are not offered any programming except for correspondence

 courses,243 which are not meaningful or even truly accessible because of the reading

 comprehension limitations of many of the men on extended lockdown.244

 259.    The incarcerated people Sec. Pacholke spoke with when he visited the prison said that they

 were not engaged in the coursework offered to them through in cell programming. They reported

 that it did not have a lot of meaning or purpose. Sec. Pacholke noted in his testimony that


 238
     Dauzat Tr., 777:7-13 (does not know how many people are unable to read and write).
 239
     Burns Tr., 1451:2-19
 240
     Burns Tr., 1451:20-6
 241
     Pacholke Tr. 2689:6-10.
 242
     Smith Tr., 2538:25-2539:7.
 243
     Pacholke Tr. 2712:11-2713:4.
 244
     Supra note 227 & 228.
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 completing coursework is not a part of the classification review process and therefore does not

 provide some type of positive denotation on your classification documents, which could provide

 motivation.245

 260.     The ACA recommends step down programs which would also incorporate in-cell learning

 but most importantly out-of-cell learning and group activities in order to further group interaction

 and prepare people for return to more general population setting and also to reduce the social

 isolation.246

 261. The ASCA guidelines recommend programming for people in isolation in order to provide

 some congregate activities and to reduce that possibility or likelihood of additional harm based on

 isolation.247

 262. Defendants’ regular and disruptive objections to Secretary Pacholke’s testimony pertaining

 to correctional practices interfacing with mental health care illustrates well the problematic and

 dangerous disconnect at David Wade. At trial, Defendants took the position Secretary Pacholke

 could not testify about anything pertaining to the provision of mental health services because he is

 a corrections expert. But the point is precisely that security policies and mental health policies

 must operate hand in glove. Security staff must know how to respond to mental health concerns,

 and mental health staff must be involved in security-side decisions. And the Secretary (such as

 Pacholke) must understand both systems, to provide constitutional mental health care and safe

 conditions of confinement. The two systems cannot operate in silos. At David Wade, security is

 divorced from mental health care, and the longstanding failure to implement coordination between

 the two creates a dangerous environment for the men housed there.248


 245
     Pacholke Tr. 2713:5-16.
 246
     Pacholke Tr. 2688:11-20.
 247
     Pacholke Tr. 2687:13-2688:1.
 248
     See, e.g., Pacholke Tr., 2691:4-6; Id. 2692:25-2693:4.
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 263.    Congregate programs are often seen as a necessity in current corrections practice. First,

 they reduce misconduct by providing classes or coursework that are geared toward reducing

 misconduct. Second, it gives prison staff an objective criteria to look at when staff is deciding

 during a classification review as to whether or not to retain or release somebody.249

 264.    Mr. Smith testified that group programming could safely be provided at David Wade. There

 is nothing inherently dangerous or different about the men at Wade that they cannot be provided

 programming and mental health counseling. The only obstacles to the provision of programming

 at Wade are physical space and resources.250

 265.    The Fifth Circuit has repeatedly held that a lack of resources cannot be used as a defense

 for unconstitutional conditions. Under Smith v. Sullivan, "it is well established that inadequate

 funding will not excuse the perpetuation of unconstitutional conditions of confinement." 611 F.2d

 1039, 1043-44 (5th Cir. 1980) (ordering the El Paso County Jail to submit reports of compliance

 to initiate certain remedial programs, bring the jail up to standards, and provide an outdoor

 area/rehabilitative program); Williams v. Edwards, 547 F.2d 1206, 1212-13 (5th Cir. 1977) (when

 appellants challenged the authority of the District Judge to require increased inmate safety

 measures and enhanced medical facilities at Angola, the Fifth Cir. held "lack of funds or authority

 over funds does not justify operating a prison in an unconstitutional matter.").

                 iii. The Defendants intentionally discontinued the only program that provided
                 psychotherapy, increasing the risk of harm for the men at DWCC.

 266.    The Defendants discontinued the only program that made psychotherapy available to those

 on extended lockdown.251



 249
     Pacholke Tr. 2649:18-2650:3
 250
     Smith Tr. 2544:19-2545:4.
 251
     Robinson Tr., 679:3-4 (cannot recall when TTP ended); Dauzat Tr., 731:2-3 (cannot recall when TTP ended);
 Id,730:19 - 731:1 (says no formal decision to terminate TTP, she would have been part of it).
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 267.     The purpose of the transition treatment program (TTP) was to provide individual treatment

 to people in segregation with the goal of improving their behavior so they could leave

 segregation.252

 268.     The referrals for TTP came from the classification department or directly from Warden

 Goodwin.253

 269.     Warden Kayla Sherman who oversees the classification department at DWCC even

 acknowledged that people just need someone to talk to.254

 270.     Cody Doucet testified that he reported to Warden Sherman the issues with receiving mental

 health treatment and how staff were forcing him to eat his own feces, but nothing ever improved.255

 271.     The people in TTP were to receive individual counseling and correspondence courses.256

 272.     The individual counseling with TTP was provided by Ariel Robinson and Steve Hayden

 and all interactions were documented on a mental health progress note.257

 273.     Individuals were also supposed to receive individualized treatment plans in this program,

 although that did not happen.258


 252
     Robinson Tr., 677:18 - 678:9 (purpose to provide treatment to people in segregation); Id, 678:10-14 (goal to
 improve individual's behavior so they could leave segregation); Exh. P-UUU-02; Dauzat Tr., 723:19 - 724:7 (purpose
 of TTP was pilot project to try and help people change behavior to leave segregation).
 253
     Dauzat Tr., 720:10-13 (intended to get referrals from classification); Exh. P-UUU-1; Dauzat Tr., 720:22 - 721:15
 (P-UUU-1 is an email from Dauzat to Nail, Sherman, Goodwin in 2016; TTP active in 2016); Testimony of Dauzat
 721:23 - 722:3 (does not recall anyone sending the assessment attached to the email, but she got names referred for
 TTP from classification); Id, 722:16-19 (also got referrals from Goodwin); Exh. P-UUU-02; Dauzat Tr., 722:20 -
 723:18 (P-UUU-02 is an email to Sherman and Nail from Dauzat; email notifying Goodwin referred people to TTP);
 Exh. P-UUU-05; Dauzat Tr., 727:25 - 728:5 (P-UUU-05 is an email from Hunter to Dauzat, Nail, Sherman,
 Jimmerson; list of ppl referred into TTP).
 254
     Exh. P-UUU-03; Dauzat Tr., 746:25 - 747:16 (P-UUU-03 email from Sherman "I think the most important thing
 is that they will just have a reasonable person to listen and give them some perspective. Many of them think no one
 cares or believes they can behave or be decent and that will be a big deal to them. So just showing up consistently and
 talking to them will be enough in many cases."; Dauzat agrees with Sherman)
 255
     Exh. P-BBBB-1 - Deposition of Cody Doucet, 14:18 - 15:8 (verbally reported to Sherman he wasn’t receiving
 mental health care and staff forcing him to eat his own s***).
 256
     Exh. P-UUU-4; Dauzat Tr., 726:4-12 (review of P-UUU-04, ppl supposed to receive individual counseling and
 correspondence courses).
 257
     Robinson Tr., 678:15-17 (meet with people & provide treatment); Id, 678:20-23 (Hayden also provided TTP,
 nobody else).
 258
     Dauzat Tr., 727:5-11 (ppl in TTP supposed to receive individual treatment plans; they were not created).
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 274.    While the initial testimony was that TTP ended due to staffing shortages, it was later stated

 that the program ended due to a lack of participation.259

 275.    This was despite a review of 18 progress notes for people between 2016 and 2018 showing

 active participation in the program.260

 276.    Psychotherapy has not been provided to the Plaintiff Class, even after they have requested

 individual counseling.261

 277.    Mental health staff insist if individual counseling is provided, that fact would be

 documented in a mental health progress note.262

 278.    However, when presented with the lack of documentation that individual counseling

 actually occurs, staff attempted to explain that it may only say “follow up” rather than any note

 indicating that individual counseling occurred.263




 259
     Robinson Tr., 680:1-13 (deposition testimony from February 20, 2019 was that “manpower maybe, not having
 enough time, things of that nature” were why TTP ended).
 260
     Exh. P-T-31 - Mental health progress note; Dauzat Tr. 731:14 - 732:17 (note says participated in TTP); Exh. P-TT-
 239 - Mental health progress note; Dauzat Tr. 732:19 - 733:14 (note says participated in TTP); Exh. P-TT-63 - Mental
 health progress note; Dauzat Tr. 733:23 - 734:14 (note says participated in TTP); Exh. P-TT-69 - Mental health
 progress note; Dauzat Tr. 734:16 - 735:5 (note says participated in TTP); Exh. P-TT-71 - Mental health progress note;
 Dauzat Tr. 735:7-22 (note says participated in TTP); Exh. P-OO-33 - Mental health progress note; Dauzat Tr. 736:1-
 17 (note says participated in TTP); Exh. P-MM-28 - Mental health progress note; Dauzat Tr. 736:24 - 737:12 (note
 says participated in TTP); Exh. P-MM-29 - Mental helath progress note; Dauzat Tr. 737:15 - 738:4 (note says
 participated in TTP); Exh. P-MM-33 - Mental health progress note; Dauzat Tr. 738:7-19 (note says participated in
 TTP); Exh. P-MM-50 - Mental health progress note; Dauzat Tr. 738:22 - 739:9 (note says participated in TTP); Exh.
 P-DD-17 - Mental health progress note; Dauzat Tr. 739:14 - 741:1 (note says participated in TTP); Exh. P-DD-21 -
 Mental health progress note; Dauzat Tr. 741:316 (note says participated in TTP); Exh. P-DD-23 - Mental health
 progress note; Dauzat Tr. 741:18 - 742:9 (note says participated in TTP); Exh. P-DD-24 - Mental health progress note;
 Dauzat Tr. 742:12-25 (note says participated in TTP); Exh. P-DD-28 - Mental health progress note; Dauzat Tr. 743:2-
 17 (note says participated in TTP); Exh. P-AA-122 - Mental health progress note; Dauzat Tr. 743:21 - 744: 17 (note
 says participated in TTP); Exh. P-AA-143 - Mental health progress note; Dauzat Tr. 744:19 - 745:7 (note says
 participated in TTP); Exh. P-AA-148 - Mental health progress note; Dauzat Tr. 745:9-22 (note says participated in
 TTP); Exh. P-AA-158 - Mental health progress note; Dauzat Tr. 745:24 - 746:13 (note says participated in TTP).
 261
     Burns Tr., 1340:4-1341:7; Dillon Tr. 290:14-19 (had asked Robinson for individual counseling and was denied);
 Turner Tr. 94:7-9 (never received individual counseling); Moran Tr. 209:11-24 (no individual counseling)..
 262
     Hayden Tr. 570:13-16 (if individual counseling provided, it would be in a progress note); Robinson Tr. 714:3-6
 (any individual counseling would be in progress note); Dauzat Tr. 773:24 - 774:2 (any request for individual
 counseling should be in progress note).
 263
     Dauzat Tr. 3335:6-16 (individual counseling happens, just won't say it on the progress note; may just say "follow
 up").
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 279.    The mental health staff at David Wade also have a liberal idea of what individual

 counseling entails, asserting that “talk therapy” can include any casual conversation that may allow

 a person to vent a concern.264

 280.    Considering this liberal perspective on what individual counseling can include, Warden

 Dauzat does not believe that confidentiality is a necessary component.265

 281.    Plaintiffs’ expert, after evaluating the mental illness on extended lockdown, determined

 that there is no treatment at David Wade other than medication.266

                  iv. Defendants’ medication policies are extremely dangerous, creating a
                  substantial risk of serious harm

 282.    “The control, prescription, dispensation, and administration of medications are important

 aspects of any medical care delivery system.” Ruiz, 503 F. Supp. at 1324.

 283.    “[P]rescription and administration of behavior-altering medications in dangerous amounts,

 by dangerous methods, or without appropriate supervision and periodic evaluation, is an

 unacceptable method of treatment.” Id. at 1339

 284.    Medication is the primary form of treatment for mental disorders of prisoners located in

 restrictive housing.267

 285.    Medications are often interrupted when prisoners are transferred to DWCC.268




 264
     Dauzat Tr. 770:20-23 (defines as any casual conversation); Id 770:24 - 771:2 (allowing person to vent concerns
 and issues).
 265
     Dauzat Tr. 771:3-6 (does not consider confidentiality to be a necessary component).
 266
     Exh. P-F-07, Burns Report at p.3.
 267
     R. Doc. 524 at 12, Joint Record Stipulation.
 268
      Exh. P-BBBB-1 - Deposition of Doucet 36:20 - 37:13 (Cody Doucet testified that he did not receive his
 medications for approximately two or three months at DWCC); Id, 35:25 - 36:3 (EHCC continued to prescribe
 medications taken pre-incarceration of Depakote, Trazodone, Keppra, and Celexa); Exh. P-YYY-1 - Deposition of
 Thomas, 8:23 - 9:6 (arrival at DWCC nurse looked at chart and took him off mental health medication); Id, 10:11-23
 (arrived with about a week of medication, discontinued when that ran out because DWCC said they didn’t give that
 here).
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 286.     Interruptions in medication can have negative consequences on mental health such as

 increased instances of self-harm or worsening of symptoms.269

 287.     Dr. Fuller does not prescribe mental health medications for mental health reasons.270

 288.     He also would never discontinue a medication that had been prescribed by Dr. Seal.271

 289.     Daily medication is administered by pill call officers throughout the extended lockdown

 buildings at David Wade with the exception of injections.272

 290.     Nursing staff is responsible for providing injections, they are not responsible for passing

 pill medications to anyone on the South Compound.273

 291.     The security staff in each building keeps a log of who enters and exits tiers A&B and C&D,

 which equates to an approximate 20 pill pass entries per building each day.274

 292.     Pill pass is supposed to take place 3 times a day, every day, by the pill pass officers.275

 293.     The pill pass times are morning around 6:00 a.m., noon, and evening around 4:30 - 5:00

 p.m..276

 294.     Sgt. Pitts stated it takes approximately 20-30 minutes to complete pill pass per building for

 each of the 4 buildings on the South Compound and the one H-building.277

 295.     This means it takes approximately 7 hours a day to complete 3 pill passes for the South

 Compound.278


 269
     Exh. P-BBBB-1 - Deposition of Doucet, 39:19 - 40:1 (during few months without medications, went on suicide
 watch a couple times for cutting his wrists); Turner Tr., 90:19 - 20:2 (more depressed without medications).
 270
     Exh. P-YYY-2 - Deposition of Fuller, 75:18-22.
 271
     Exh. P-YYY-2 - Deposition of Fuller, 77:1-4.
 272
     R. Doc. 524 at 12, Joint Record Stipulation.
 273
     Norris Tr., 845:8-15 (nurses responsible for injections; nurses not responsible for distributing pills).
 274
     Pitts Tr., 889:23 - 890:8 (person on tier keeps log; writes he enters for pill pass; log for A&B and C&D); Id, 890:9-
 13 (should be 20 entries a day across all tier logs).
 275
     Norris Tr. 825:2-8 (meds distributed by pill call officers; 2 officers for South side); Id 827:7-9 (3 a day in each of
 the 4 buildings on the South Compound).
 276
     Norris Tr. 827:13-15 (occurs at 6am, noon, 4pm); Id 827:16-19 (no particular order for distribution); Pitts Tr.
 874:25 - 875:11 (6am, noon, 4:30-5).
 277
     Pitts Tr. 893:25 - 894:4 (20-30 mins to complete pill call per building).
 278
     Pitts Tr. 894:9-16 (about 7 hours of pill pass a day).
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 296.     Prior to March 2020, the pill pass officers worked a rotating schedule of 7 12-hour days

 with only one officer on duty for the South Compound at a time.279

 297.     The pill call officer post order outlines the steps that are to be taken in conducting each pill

 pass which includes verifying the identity of the right individual, verifying the right medication

 and dose, and conducting a visual inspection to make sure that the individual has swallowed the

 medication.280

 298.     The pill pass officers testified that they follow the policy and they have not been disciplined

 for not following the policy.281

 299.     The David Wade policy EPM# 04-1-029 is applicable to all staff and states "it is important

 that offenders who have a history of unstable behavior receive their medication on a regular and

 continual basis."282

 300.     Pill pass officers receive training on pill pass policies, procedures, and practices for passing

 out medications on the South Compound, which includes a PowerPoint presentation.283

 301.     The PowerPoint presentation includes specific information on the importance of accurate

 and complete documentation, the importance of medication compliance and the importance of

 making sure people receive their medications regularly.284


 279
     Norris Tr. 826:24 - 827:2 (prior to March 2020, pill officers worked 7 on 7 off 12 hour shifts); Pitts Tr. 866:6-18
 (was pill call officer; 2017, 2018, 2019 pill pass on South Compound only, N1-N4); Id 875:12-18 (7 on, 7 off; days
 on he is the pill officer for South); Id 876:1-6 (also responsible for an H building morning and noon); Id 876:12-14
 (when he was on duty, nobody else had pill call duty); Id 893:10-12 (12 hour shift from 5am - 5pm); Id 934:7-9
 (someone else supposed to fill in if he's out); Exh. P-BBBB-2 - Depo Scriber, 38:2-8 (worked 7 on 7 off, alternating
 with Paul Pitts).
 280
     Exh. J-13, 2017-5-25 - Post Orders - Pill-Call Officers; Norris Tr. 828:16-19 (post order that describes pill officer
 duties); Id 829:23 - 830:2 (post order describes step by step process pill officer supposed to follow).
 281
     Pitts Tr. 883:12-14 (followed this policy); Exh. P-BBBB-2 - Deposition in Lieu of Live testimony Erik Scriber
 10:23 - 11:6 (never been told broke policy, no discipline other than being late).
 282
     Exh. J-9, 2019-3-18 - EPM 04-01-029 - Pharmaceuticals_Non-Prescription Meds and Pill Call Procedures; Norris
 Tr. 834:3-12 (reviewing Exh. J9, applicable to all staff).
 283
     Pitts Tr. 868:21 - 869:1 (1-2 days of training for pill pass); Id 869:6 (went over the policy about pill pass); Id
 869:12-17 (other than policy, hands on training); Id 869:23 - 870:1 (training went through powerpoint).
 284
     Exh. P-QQQ-3 - Medication Handling powerpoint; Pitts Tr. 871:2 - 874:11 (walks through several slides and bullet
 points; importance of documentation, med compliance); Id 877:2 - 878:7 (continued review of slides; eMAR
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 302.     The Louisiana DPSC lesson plan for Medication Handling encompasses the training

 provided to the pill pass officers and provides information regarding medication compliance,

 specifically stating that people with a mental illness are often likely to be non-compliant with

 medication which can result in deterioration of their mental status and present officers many

 avoidable challenges.285

 303.     Sgt. Pitts agrees with the information presented in the lesson plan.286

 304.     Medications come to David Wade from Elayn Hunt Correctional Center; David Wade does

 not have its own pharmacy.287

 305.     When individuals arrive at David Wade with medications, they are taken by medical and

 placed onto the pill cart in the building where the individual is going to be housed.288

 306.     The medications on the pill carts are in blister packs of either a 30 or 60 day supply for

 each medication.289

 307.     There is one pill cart for each building and each tier has a separate drawer, in which

 medications are sorted by individual.290

 308.     The only responsibility that medical staff or nursing staff has regarding the pill cart is to

 conduct daily inventory checks of the blister packs on the carts to determine when they need to be




 documentation, discontinued meds, blister packs); Id 879:24 - 882:8 (continued review of slides; verify meds taken;
 important to make sure meds are taken; record on eMAR); P-BBBB-2 - Depo Scriber, 33:16-24 (received pill pass
 training on importance of documentation in eMAR).
 285
     Exh. P-QQQ-2 - LDPSC Lesson Plan for Medication Handling; Pitts Tr. 898:16-18 (same info here as powerpoint);
 Id, 900:7-22 (paragraph read into record, issues resulting from med noncompliance).
 286
     Pitts Tr. 902:7-10 (agrees with paragraph).
 287
     Norris Tr. 824:18-20 (DWCC does not have own pharmacy).
 288
     Norris Tr. 824:7-13 (medication on intake put on cart for building; stored there until delivered to prisoners); Id,
 827:22-25 (all mental health medications distributed are kept on pill carts); Id, 823:12-15 (meds arrive in same van as
 prisoner arriving); Id, 823:20-24 (nurse would handle intake of medication).
 289
     Norris Tr. 828:1-4 (blister packs w/30 or 60 day supply).
 290
     Norris Tr. 831:5-6 (pill cart on each building, separate cart for each tier on each building); Pitts Tr. 884:9-15 (cart
 has 5 drawers, one for each tier, all blister packs for all people in there); Id 884:20 - 885:8 (each drawer is a tier).
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 reordered and to verify that the medications on the cart are for the people on the particular tiers of

 each building.291

 309.     Nurses are responsible for checking the blister pack to determine if a medication needs to

 be refilled, the visual inspection of the blister pack is the only way to determine when a medication

 needs to be refilled.292

 310.     Nurses or medical staff do not have any responsibility in monitoring or supervising pill

 pass on the South Compound.293

 311.     Pill pass officers are supervised and overseen by the Colonel of the South Compound, a

 security officer with no medical training or background.294

 312.     Col. Nail never personally watched pill pass taking place for supervisory purposes.295 In

 fact, Nail did not believe he was responsible for pill pass, instead identifying medical as the

 department responsible.296

 313.     The security colonel or the captain is responsible for making sure the pill pass officers

 comply with policies pertaining to passing medications.297




 291
     Norris Tr. 830:18-20 (nurses place meds on cart and sort meds for each tier); Id 830:23-25 (if person moves from
 C to D, pill officer moves the med to different place on cart, but nurse at night verify that is where it goes).
 292
     Norris Tr., 844:21-24 (nurses refill med if see blister pack getting low); Id, 844:25 - 845:7 (only way to determine
 need for refill is visual inspection of blister pack; no other process for tracking medication); Id, 853:14-19 (blister
 pack helps keep track of meds, know when to reorder).
 293
     Norris Tr., 845:16-23 (Nursing not responsible for monitoring or supervising pill call officers); P-BBBB-2 - Depo
 Scriber 15:16-19 (no nursing staff ever followed up to make sure pill pass correct).
 294
     Norris Tr., 859:6-15 (each pill call officer supervised by colonel in security, not medical); P-BBBB-2 - Depo
 Scriber 11:20 - 12:5 (immediately supervised by Col. Nail, other supervisors lieutenants, captains, or majors).
 295
     Nail Tr., 1835:10-15
 296
     Nail Tr., 1833:4-7
 297
     Norris Tr., 859:16-20 (security responsible for making sure pill officers comply with policies); Pitts Tr., 895:20-
 23 (Captain made sure he was in block at certain time); Id, 895:24 - 896:2 (nobody else supervised); Id, 945:5-9
 (captains supervised that he was doing pill call).
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 314.     The only oversight the pill pass officers receive is for someone to call them on their radios

 and make sure they are in a building at a particular time or a check of the tier logs to make sure

 they were on a tier.298

 315.     There is nobody who goes behind the pill pass officers to make sure entries in the eMAR

 are correct or that people are actually receiving their medications.299

 316.     The pill pass policies outline the importance of accurate, complete, and timely

 documentation and Paul Pitts and Erik Scriber testified that they follow the policies and document

 everything.300

 317.     Sgt. Pitts testified that he received a list of everyone receiving medications from medical

 and documented on a notepad who did not take the medications.301

 318.     If an individual is not given their medication, regardless whether is marked as refused or

 not requested, the medication remains in the blister pack.302

 319.     The pill pass officers do not have a list of people considered to be medication hoarders and

 they do not treat people taking medications with abuse potential any differently than people taking

 other medications.303

 320.     Sgt. Pitts stated he would enter the pill pass information into the eMAR and then throw the

 notebook paper away.304



 298
     Pitts Tr., 945:10-13 (they call on radio and ask if he's in a location); Id, 945:14-21 (supervisors check tier logs to
 make sure he's doing his job).
 299
     Norris Tr., 846:7-12 (nobody goes behind pill officer to make sure eMAR is correct).
 300
     Pitts Tr. 886:4-10 (policy says document everything, says he does); P-BBBB-2 - Depo Scriber 18:16-18 (training
 says important to keep good records).
 301
     Pitts Tr. 886:16-20 (had list of each person that gets meds); Id, 887:5-13 (list came from medical; he would write
 down who took meds on notebook); Id, 887:22 - 888:3 (would create own list of ppl not taking meds); Exh. P-BBBB-
 2 - Depo Scriber, 49:19-22 (does not carry a list or anything with him for pill pass).
 302
     Pitts Tr. 929:8-17 (medication remains in blister pack if not taken).
 303
     Exh. P-BBBB-2 - Depo Scriber, 50:1-11.
 304
     Pitts Tr. 891:6-9 (enter all morning pill call for N1-N4); Id 891:12-18 (same process for noon and evening; entering
 data into eMAR 3 times a day); Id 892:9-11 (tears paper up and throws away); Id 892:15-21 (does not keep because
 info in eMAR).
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 321.    Sgt. Scriber testified that he would simply remember who took their medication and who

 did not, without the benefit of making notes as he went through his medication rounds or a list,

 and would record that information in the eMAR later on.305

 322.    The electronic medication administration record, or eMAR, contains the result of each pill

 pass for each individual and indicates if the person took the medication or not and is completed by

 the pill pass officer.306

 323.    If the pill pass officer’s initials appear on the eMAR, it means the person was provided and

 took that medication during that pill pass.307

 324.    An entry into the eMAR is not automatic, it requires the pill pass officer to affirmatively

 make an entry.308

 325.    In addition to the eMAR, pill pass officers also enter medication refusals into a medication

 refusal database.309

 326.    There is no documentation created for pill pass other than the eMAR or the refusal

 database.310

 327.    The pill pass officers who enter information into the eMAR and refusal database are given

 a unique login and password which tracks who is entering data.311




 305
     Exh. P-BBBB-2 - Depo Scriber, 23:1 - 24:2 (relied on memory).
 306
     Norris Tr. 840:11-14 (eMAR created); Id 841:13-17 (pill officer responsible for entering into eMAR); Pitts Tr.
 890:18-21 (tracks who is or isn't taking meds in eMAR).
 307
     Pitts Tr., 895:1-4 (initials mean person took pills).
 308
     Pitts Tr., 892:24 - 893:3 (eMAR is not automatic, have to enter something); Norris Tr., 837:5-10 (required to
 complete MAR).
 309
     Norris Tr. 840:15-18 (eMAR is in addition to refusal database); Exh. P-BBBB-2 - Depo Scriber, 53:4-15 (enters a
 refusal for a mental health medication into the refusal database).
 310
     Norris Tr. 840:19-24 (the only place documentation goes is eMAR or refusal database)
 311
     Norris Tr. 841:19 - 842:2 (access to eMAR and refusal database are pill officers, nurses, some wardens-doesn't
 know which wardens); Id 842:10-19 (access using unique password); Pitts Tr. 891:19-24 (has unique login and pass
 code; nobody else has it); Id 891:25 - 892:3 (when it logs his name, that was his entry); Exh. P-BBBB-2 - Depo
 Scriber, 26:9-15 (everyone has a user name and password, he has not shared his password).
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 328.     There is nobody at David Wade responsible for verifying the accuracy of the eMAR or the

 refusal database completed by pill pass officers.312

 329.     The pill pass officers are required to document when a person refuses or does not otherwise

 take a medication.313

 330.     Once the pill pass officer enters “R” for refusal into the eMAR and the refusal database,

 there are no further responsibilities for reporting.314

 331.     Sgt. Pitts, nurse Norris, and Sgt. Scriber testified that if someone stated to him “I do not

 want to take that medication” he would document it as “R” for refusal.315

 332.     Once the pill pass officer enters “N” for not requested into the eMAR, there are no further

 responsibilities for reporting.316

 333.     Staff testified to a variety of passive behaviors that would result in “N” being entered, such

 as being asleep at pill call, person not coming to the bars but not actively refusing, or the person

 simply does not respond.317

 334.     The pill pass officers assert that they are correctly documenting pill pass, particularly when

 someone has not taken a medication.318

 335.     Sgt. Pitts testified that the vast majority of the time, he entered “N”.319



 312
     Norris Tr. 859:21 - 860:8 (nobody responsible for verifying eMAR is correct; she said she's responsible for making
 sure nurses do it right; she trains nurses, not pill call officers); Id 861:8 - 862:3 (impeachment with her deposition
 there is nobody responsible for making sure information is reported accurately).
 313
     Norris Tr., 836:15-18 (required to record refusal); Id, 836:19-22 (required to document "not requested").
 314
     Pitts Tr. 896:4-7 (no further responsibilities after enter "R" into eMAR); Norris Tr., 837:11-14 (refusal is "R").
 315
     Pitts Tr., 895:5-8 (says I don't want med, "R"); Norris Tr., 835:7-10 (person says not taking med, that is refusal);
 Exh. P-BBBB-2 - Depo Scriber, 38:19-20 (they say they don’t want it, that is refusal).
 316
     Pitts Tr. 896:8-10 (no further responsibility after "N" in eMAR); Norris Tr., 837:15-18 (not requested is "N"); Exh.
 P-BBBB-2 - Depo Scriber, 54:5-23 (does not report to mental health an “N”).
 317
     Norris Tr., 835:11-20 (asleep at pill call, not requested); Id, 835:22 - 836:1 (person not come to bars, not requested);
 Id, 836:2-7 (prisoner does not respond, not requested); Pitts Tr., 895:10-12 (doesn't get out of bed or acknowledge,
 "N"); Exh. P-BBBB-2 - Depo Scriber, 38:21-23 (“N” would be no-show, maybe asleep); Id, 41:12 - 42:3 (Scriber
 would only mark “N” if person asleep, otherwise always “R” or they took it).
 318
     Pitts Tr. 874:15-19 (documents no meds taken correctly).
 319
     Pitts Tr., 895:17-19 (vast majority of time entered "N").
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 336.    The frequency of entering “N” is apparent among all pill pass officers when you look at

 the MARs for people across all of the South Compound.320

 337.    Even more concerning than the frequency that “N” is entered are the patterns that emerge

 when viewing the MARs for various people across different buildings.321

 338.    The documents themselves suggest that nobody is requesting medications on the same days

 from different buildings.322

 339.    The documents themselves even show medications not being provided for individuals who

 testified that they actually did receive their medications.323

 340.    Dr. Burns observed a pattern of missed doses of psychotropic medications at DWCC.324

 341.    Not receiving medications in this pattern renders the medications ineffective.325

 342.    The documents also show prisoners receiving their medications when they were not even

 present in the prison.326

 343.    Dr. Seal noted in his review of progress reports that prisoners were not receiving their

 medication.327

 344.    Regardless of the reason for entering “N”, the bottom line is it means the prisoner did not

 take a medication.328




 320
     See Exh. P-ZZZ-1 - Demonstrative MARs for 2017, 2018, 2019 (summaries of MARs); See also Exhs. P-L for
 individual MARs that provide information for Exh. P-ZZZ-1.
 321
     Id.
 322
     Id.
 323
     Turner Tr., 89:21-25 (received medications twice a day as he was supposed to); Exh. P-ZZZ-1 (summary of MARs
 showing Turner frequently marked as “N”).
 324
     Burns Tr., 1394:22-1395:1.
 325
     Burns Tr., 1395:4-1396:7.
 326
     See P-ZZZ-1, January 2017 (MAR shows Carlton Turner received medications even though he was hospitalized).
 327
     Seal Tr., 3907:9-10 (note states that Mr Jones is doing “good, when I get my meds” indicating that he is not
 receiving his medications rather than outright refusing them.).
 328
     Pitts Tr., 937:3-4 (when says "N" means they did not take a pill); Exh. P-YYY-2 - Deposition of Bruce Fuller,
 20:11-21 (“N” means prisoner probably didn’t get his medication).
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 345.     There are no staff at David Wade who are responsible for following up or tracking when

 individuals are not taking their medication after the data is entered into the eMAR or refusal

 database.329

 346.     There is nobody on mental health staff at David Wade who checks the medication

 administration records to ensure that medications are being provided and taken by the men on their

 caseloads.330

 347.     Mental health staff stated they only check the medication refusal database.331

 348.     Dr. Seal does not monitor his patients for medication compliance and does not know who

 does.332

 349.     The information in the medication refusal database is entered by the pill pass officers and

 the mental health staff rely on these entries without verifying the accuracy of the data.333

 350.     “There is essentially no mental health treatment provided except psychotropic medication

 which is not consistently, or property administered, rendering it ineffective.”334

 351.     Even when medication is effective to treat an individual’s symptoms, the addition of

 significant stressors render medications alone ineffective, as reported by Mr. Moran who testified

 that his medications were effective except when an incident such as officers beating someone to

 death occurs which render his medications ineffective.335


 329
     Norris Tr. 843:8-17 (no further responsibility); Id 843:21-24 (nobody checks to see if refusals occurred days prior
 to entry); Id 844:5-13 (would have to print MAR to see if refused day(s) before; not common practice, not printed
 daily); Pitts Tr. 896:11-14 (once data entered, duties done); Id 896:17 - 897:5 (someone needs to look at eMAR for
 refusals; guesses someone checks eMAR every day, maybe medical, doesn't know).
 330
     Hayden Tr. 555:7-10 (does not review MAR).
 331
     Hayden Tr. 555:11-23 (he reviews medication refusal database only).
 332
     Seal Tr., 1200:22-24; 1201:10-13.
 333
     Hayden Tr. 555:24 - 556:3 (doesn't know if he can edit the info, he's never tried); Id 556:4-11 (thinks the people
 passing meds enter info, but not certain); Id 557:4-6 (relies on the info in the database to be correct); Id 557:18-20
 (has confidence that the info in there is correct).
 334
     Exh. P-F-07, Report of Dr. Burns at p. 3; Burns Tr. 1335:21-23 (Burns states that medication management is the
 only intervention available at DWCC).
 335
     Moran Tr. 233:21-234:5; 234:21 - 235:3 (medication effective unless additional stressors such as someone beaten
 to death by officers; stresses like that make medication not effective).
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 352.    Medication noncompliance should be addressed by mental health staff including the

 psychiatrist.336

 353.    Mental health staff need a system for identifying when people are non-compliant. Systems

 exist to do this at other facilities.337

 354.    DWCC does not document regular intervention when people are not receiving their

 medications.338

 355.    Medication counseling should take place soon after the medication interruptions/ non-

 compliance begins to address the problem.339

 356.    The way that medication is delivered in a prison can be a matter of life or death.340

 357.    Dr. Bruce Fuller testified that having an accurate record of whether a person has taken or

 not taken their medication would be important for the safety of the individual as well as important

 for making treatment decisions.341

 358.    Despite the glaring inaccuracies in the medication administration records, Dr. Fuller

 testified that he has never had a specific reason to believe that a medication administration record

 was inaccurate.342




 336
     Burns Tr., 1396:8-22.
 337
     Burns Tr., 1397:2-1398:4.
 338
     Burns Tr., 1398:10-17.
 339
     Burns Tr., 1398:21-1399:12.
 340
     Burns Tr., 1399:16-1400:4; Exh. P-QQQ-3 - Medication Handling powerpoint (Risks include seizures, fights,
 coma, rapes, and death); Exh. P-F-07, Burns Report at p. 25; Exh. P-BBBB-2 - Depo Scriber, 34:8-13 (accurate pill
 call records can be a matter of life or death).
 341
     Exh. P-YYY-2 - Deposition Fuller, 24:13-25 (medication compliance important for treatment decisions; having an
 accurate record important for safety).
 342
     Exh. P-YYY-2 - Deposition Fuller 28:21-24.
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 359.     Nurse Norris testified that prisoners have access to staff when they are on the tiers or by

 submitting a sick call to report that there is an issue with their medication or they have not received

 it.343

 360.     She testified that nursing has received reports that people have not received their

 medications, but the investigation only goes as far as to make sure the medication is reordered if

 it has run out and does not investigate whether the individual has received the medication.344

 361.     In fact, the only safeguard in place to ensure that people receive their medications puts the

 onus of responsibility onto the individual to report to staff that they have not received it.345

 362.     Even the required ACA audit of medical charts only looks to make sure the printed MAR

 is placed into the chart and does not audit the accuracy of the record or provide any level of quality

 assurance.346

 363.     Sec. Pacholke testified that DWCC’s medication administration deviates from the

 nationally accepted standard because they use security officers to distribute medication and they

 are not making contemporaneous notes of when they distribute medication. Instead pill call

 officers are distributing medication, not marking down at the time whether the person took their

 medication or if they refused it, then going back to the health services area and recording who took

 their medicine based on their recollection.347




 343
     Norris Tr., 852:21 - 853:11 (nurses make round daily, prisoner can report to nurse. Sick calls can report med issues.
 Security makes rounds, can report problem to security).
 344
     Norris Tr., 856:1-9 (nursing staff have gotten sick calls for no meds; they research it; make sure med is on cart,
 make sure it is reordered, will talk to prisoner).
 345
     Norris Tr., 857:4-7 (up to the prisoner to notify staff they have not gotten medication); Id, 857:13-15 (the safeguard
 in place is that staff present on tier).
 346
     Norris Tr., 821:25 - 822:3 (ACA requires 10 charts pulled and reviewed every 3 months); Id, 822:4-6 (10 charts
 pulled at random); Id, 822:7-10 (no distinction whether those charts were North or South Compound); Id, 822:13-24
 (chart check was only to make sure MAR present in chart, no quality assurance).
 347
     Pacholke Tr. 2764:7-19
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 364.     These national standards, based on his decades of experience and observation of maximum-

 security units nationwide, include a member of the nursing staff distributing medication, and

 contemporaneous recordation of whether or not someone has received their medication or not.348

 365.     A proper medication administration system is important in a correctional setting because

 people need to receive the medical care they have been prescribed, a failure to keep track of

 medications can lead to pill hoarding and abuse of medication as well as decompensation if a

 person is not receiving the medication they are prescribed.349

 366.     Perhaps most alarming is that the system existed this way for countless years prior to this

 litigation. Even after filing litigation, no changes were made to the way medication was

 administered or to the staff administering medication right up through the close of discovery in

 March 2020. This is an important point. Defendants argued in closing those once deficiencies with

 the medication administration system were brought to their attention, the staff administering the

 medication program was changed. This is flatly wrong. Not only was there no change in the

 medication administration practices during the years long discovery period of this case, but Mr.

 Pitts testified that he was never disciplined or even counseled to do his job differently.350 Likewise,

 mental health staff testified that they have never been disciplined.351 This gross misrepresentation

 undercuts Defendants’ baseless arguments that the Court should trust them to fix conditions

 without intervening. Defendants had years to remedy conditions– including two full years from




 348
     Pacholke Tr. 2763:18-2764:6.
 349
     Pacholke Tr. 2763:6-17.
 350
     Supra note 275: The pill pass officers testified that they follow the policy and they have not been disciplined for
 not following the policy. (Pitts Tr. 883:12-14 (followed this policy); Exh. P-BBBB-2 - Deposition in Lieu of Live
 testimony Erik Scriber 10:23 - 11:6 (never been told broke policy, no discipline other than being late).
 351
     Hayden Tr., 322:1-7 (never been disciplined); Robinson Tr., 674:5-8 (never been disciplined because of progress
 note); Id, 677:11-17 (never received a negative performance review or disciplinary action).
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 the filing of a very detailed complaint to the close of discovery in this matter– and failed to do

 so.352

                   v. Defendants' failure to monitor prisoners taking mental health medications in
                   high heat conditions creates a substantial risk of serious harm

 367.     During high heat, circumstances such as access to water, high fever, and hallucinations are

 important information, with potentially fatal consequences353 for individuals taking certain

 antipsychotic medications that make people sensitive to heat.354

 368.     Dr. Seal is aware of heat pathology statuses, but is not responsible for assigning them.355

 369.     Contrary to Dr. Seal’s testimony, Warden Huff testified that only Dr. Seal may assign a

       heat pathology status.356

 370.     Mental health staff, not Dr. Seal, notify patients of how to take heat precautions.357

 371.     Seal does not know how mental health staff records or reviews heat duty status.358

 372.     People in crisis while on medications may not be able to understand the situation and self-

       advocate.359

 373.     Mr. Hayden testified that it is the responsibility of all DWCC staff to identify signs and

 symptoms of heat pathology and asserts that all staff receive training on it.360




 352
     This same point applies to multiple flatly and patently unconstitutional conditions in this case: the absence of
 treatment plans, the abysmal record-keeping, the lack of counseling (or any mental health services other than
 scattershot medication), the failure to document rounds, failure to hold meaningful mental health interactions, and so
 on and so on. Defendants had years between suit filing and close of discovery to make changes. For Defendants now
 to bemoan that the Court’s closure of discovery in this proceeding somehow deprives them of an ability to show
 good faith changes is disingenuous. A Court finding of liability is necessary and warranted.
 353
     Seal Tr., 1199:9-23; 1200:16-18.
 354
     Seal Tr., 1194:24-1195:9.
 355
     Seal Tr., 1196:3-18.
 356
     Huff Tr., 2024:7-12..
 357
     Seal Tr., 1196:15-21.
 358
     Seal Tr., 1197:2-18.
 359
     Seal Tr., 1199:1-4.
 360
     Hayden Tr., 566:11-18 (it's all staff's role to identify signs, all staff are trained on it).
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 374.     Department regulation outlines heat pathology and the need for a mechanism to be in place

 to identify people who are vulnerable to heat due to certain medications and enforce provisions to

 reduce heat pathology.361

 375.     Michelle Norris testified that nursing staff will give out the duty status that will say heat

 pathology, but they do not otherwise provide any information to prisoners regarding heat

 pathology because that is supposed to be done by mental health staff.362

 376.     Mr. Hayden testified that a duty status is when the heat reaches a certain temperature it

 should trigger actions because medications can be dangerous in the heat for some people.363

 377.     Mr. Hayden testified that Dr. Seal is responsible for designating a person to be on heat duty

 status, in opposition to Dr. Seal’s testimony that he is not responsible for it.364

 378.     David Wade’s policy adopts the department regulation and requires people to be educated

 about heat pathology and issue a heat alert when the outside temperature exceeds 88 degrees.365

 379.     Testimony from security staff was that the temperature on the tier is monitored by a

 handheld thermometer and recorded in the log book.366




 361
     Exh. J-11 - 2018-7-10 - RFP 4 - HC-45 IS-D-2-HCP8 - Heat Pathology; Norris Tr., 847:1-3 (DPSC heat pathology
 policy); Id, 847:10-16 (5th para, need mechanism to identify people vulnerable to heat and enforce provisions to
 reduce heat pathology); Id, 847:20-24 (purpose of policy is to protect).
 362
     Norris Tr., 858:13-19 (nursing will give out the duty status that will say heat pathology); Id, 859:3-5 (That is all
 the education nursing provides); Id, 855:18-22 (nursing does not train prisoners on heat pathology, that would be
 mental health).
 363
     Hayden Tr., 564:21 - 565:1 (duty status is when heat reaches certain temperature); Id, 565:5-11 (duty status for
 certain meds because dangerous).
 364
     Hayden Tr., 565:2-4 (says Seal designates person to be on); Seal Tr., 1196:15-2.
 365
     Exh. J-8 - 2019-3-15 - EPM 04-01-039 - Psychotropic Medication and Heath Pathology Sunlight Sensitivity; Norris
 Tr., 848:21-24 (requires individuals be educated about heat pathology); Id, 849:1-5 (heat alert when temp exceeds
 88); Baird Tr., 1070:22 - 1071:3 (temp on tiers monitored with thermometers, overall temp monitored by control
 center; can issue heat alert if average temp outside is 88 degrees).
 366
     Baird Tr., 1071:15-18 (temp on tier monitored by handheld thermometer and one on wall in lobby); Id, 1072:10-
 12 (temp on tier recorded in log book).
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 380.       The precautions for heat pathology should include increasing fluids, providing ice,

 allowing additional showers or providing cold wet towels and increasing ventilation.367

 381.       The heat alert is announced over the speakers, the staff on the units should document the

 heat alert and the steps taken in the off.368

 382.       During the summer of 2018, these safety precautions were not followed and the result was

 the death of Torre Huber.369

 383.       During the summer of 2018, plumbing problems on the tier resulted in cool water not even

 being available from the sink inside the cells and only steaming hot water accessible from the

 sink.370

                   v. DWCC does not respond to decompensation or mental health crisis, creating a
                   substantial risk of serious harm and resulting in actual harm

 384.       When the inadequate treatment causes an individual to decompensate, the only intervention

 Defendants employ to stabilize a patient is to place the individual on suicide watch.371

 385.       The conditions and practices regarding suicide watch work together to deter people from

 reporting mental health emergencies and deprive people of basic necessities.372




 367
     Norris Tr., 849:6-22 (when heat alert, should take steps like increase fluids and ice, additional showers or cold wet
 towels, ventilation increased; all steps taken should be documented).
 368
     Norris Tr., 852:11-16 (heat alert announced over loud speaker); Baird Tr., 1072:18 - 1073:9 (heat duty status should
 be triggered by heat alert. Prisoners are supposed to get ice, water, brown towels for wetting selves; extra showers for
 north only); Id, 1073:10-12 (when these things provided, documented in log book).
 369
     McDowell Tr., 1015:6-9 (had a cellmate summer 2018, Torre Huber, he died 7/22/2018).
 370
     McDowell Tr., 1014:15 - 1015:5 (issues with plumbing summer 2018, hot water stayed stuck on and sink would
 fill with steaming hot water. Couldn't touch it much less drink it. Water in sink and toilet was brown. Staff would turn
 the water off on the tier because working on pipes, but when turned back on sink still broken).
 371
     Solomon Tr., 612:19 - 613:9 (first came to extended lockdown still working out and trying to keep mind focused;
 over time, got worse and worse. Went from ambitious to not wanting to live anymore); Id, 618:10 - 619:12 (response
 to cutting self in July was suicide watch; "throw him in a cell and hopefully he will get over it". A phone call or
 something, anything, could have helped; to call grandmother to pray. There was nothing. He wasn't strong enough to
 get through it on his own, there was no help); Exh. P-BBBB-1 - Deposition of Doucet, 40:25 - 41:20 (on suicide watch
 at least 5 times because not receiving mental health treatment, only seen Seal 2 times since arrival at DWCC,
 interruption in medication for 2 months).
 372
      Exh. P-YYY-4 - Deposition of Brooks, 22:1-20 (would tell mental health he was ok when he wasn’t because he
 did not want to be put on suicide watch under those conditions).
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 386.    Mental health interventions, other than medication management and suicide watch, were

 not reflected in the records Dr. Haney reviewed, or in the interviews he conducted. There is no

 group therapy provided in these units.373

 387.    Individual treatment plans are not updated following a sick call or any other decision that

 could change the treatment options for an individual, including crisis intervention.374

 388.    Dr. Seal does not review an individual’s treatment plan when they go onto suicide watch,

 he does not make any changes to it as a result of being on suicide watch.375

 389.    DWCC does not review treatment plans and not implement any additional or more

 intensive interventions, including any specific individual safety plans, when a person goes on

 suicide watch.376

 390.    The treatment plans (which should be the guiding document coordinating care between all

 staff) fail to reflect or adapt when an individual experiences a mental health crisis or has a suicide

 attempt that may result in the necessity for additional or different mental health treatment.377

 391.    Failure to follow up on a patient’s history of self-harm is dangerous. Past attempts and

 behaviors are predictors for completing a suicide.378

 392.    Sec. Pacholke testified that suicide prevention is a top priority for any segregation unit and

 any prison system, so it would be a priority to make sure staff can identify the signs and symptoms

 of someone who was in decompensation. Referrals to mental health are to get a professional to




 373
     Haney Tr. 2942:11-21.
 374
     Burns Tr., 1334:13-21.
 375
     Seal Tr. 1217:21-24 (Dr. Seal reviews the treatment plans); Id. 1217:25 - 1218:8 (He doesn't remember any that
 offered actual psychotherapy); Id. 1218:9-13 (Dr. Seal doesn't recommend changes in writing); Id. 1218:14-21(Dr.
 Seal never tried to change a treatment plan to add therapy 1218:14-21)
 376
     Burns Tr., 1363:21-1365:10; Id, 1365:24-1366:19.
 377
     Burns Tr., 1364:11-21
 378
     Burns Tr., 1292:12-23
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 check to see if that person is getting the right medication and/or therapies; it is a professional

 validation of the signs and symptoms seen by security staff.

 393.    Sec. Pacholke testified that the academic articles he turned to educate himself on the

 psychological effects of restrictive housing said that people with underlying mental health issues

 can get caught up in a cycle of moving in and out of restrictive housing and decompensated over

 time. The academic literature Sec. Pacholke reviewed on this topic was consistent.379

                   vi. DWCC’s suicide prevention policies create a substantial risk of serious harm

 394.    The accepted standard of care for suicidal patients uses constant and close observation as

 the two modes, rather than standard and extreme. Constant observation requires constant eye-to-

 eye observation of the individual, typically at cell front.380 Close observation requires periodic

 observations at close, random intervals.381

 395.    That constant observation can be supplemented by– but not replaced with– video

 observation.382

 396.    David Wade falls below this accepted standard of care. Despite having a large number of

 mental health patients housed in stark and isolated conditions of confinement, Defendants do not

 provide constant observation of those individuals when they are on suicide watch.

 397.    Instead, they provide intermittent video observation, with in-person visual checks every 15

 minutes.383

 398.    Also in lieu of constant observation, Defendants rely upon brutal and punishing conditions

 of confinement for people who are suicidal, resorting to stripping the individual of all clothing and



 379
     Pacholke Tr. 2691:2-19.
 380
     Burns Tr., 1348:16-21
 381
     Burns Tr., 1348:22-1349:15.
 382
     Burns Tr., 1357:23-1358:8.
 383
     Hayden Tr. 390:7-10.
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 property, and sometimes even utilizing mechanical restrains while the person is virtually naked in-

 cell. Such callous and harmful conditions would not be necessary if Defendants provided constant

 observation– a constantly watched individual could keep their clothes, mattress and some other

 non-dangerous pieces of property, because staff would be present to intervene should the person

 attempt suicide. Instead, Defendants’ resort to stark conditions of confinement that serve to

 exacerbate a person’s mental illness.

 399.    Plaintiff’s expert Sec. Pacholke testified that it is important for someone who is working

 in corrections and who is responsible for the management of the behavior of people who are

 incarcerated to be familiar with the mental health policies and how to manage people who might

 have a mental illness.384

 400.    DWCC has two categories of suicide watch, standard and extreme.385

 401.    DWCC also has a mental health observation status for prisoners with acute mental health

 concerns.386

 402.    Mr. Hayden describes mental health observation (“MHO”) used when a person needs to be

 evaluated because they do not know what’s going on with him.387

 403.    The difference between suicide watch and MHO is that people get to keep their property

 with MHO, but it has the same observation by security staff at 15 mins and at random.388




 384
     Haney Tr. 2743:6-11.
 385
     R. Doc. 524 p. 9, Joint Record Stipulation; See also Hayden Tr. 429:16-18; Dauzat Tr. 3387:22-24
 386
     R. Doc. 524 p. 10, Joint Record Stipulation.
 387
     Hayden Tr., 413:9-18 (describes it as person needs to be evaluated because don't know what's going on with him).
 388
     Hayden Tr., 413:19-21 (MHO and SSW different because MHO keeps property); Id, 414:5-7 (MHO same 15 mins
 and random observation); Exh. J-4 - EPM 03-02-008 - Mental Health Observation dated 3.4.2013; Dauzat Tr., 3394:3-
 15 (review policy; describing what MHO is and how it is used); Id, 3394:17-24 (observation is 30 mins per policy,
 but they still write 15 mins on management order; same monitoring used for MHO, SSW and ESW).
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 404.    However, it does not appear that Mr. Hayden utilizes MHO for diagnostic or treatment

 planning purposes, such as the period of time when Torre Huber was on MHO after engaging in

 bizarre behavior, oriented only x1, and being unable to communicate.389

 405.    After spending several days on MHO, and showing no signs of improvement in his

 condition, orientation, or ability to communicate, Mr. Hayden took Mr. Huber off MHO without

 addressing the underlying cause and without a plan to address the bizarre behavior.390

 406.    Even though she reviewed the notes and met with Mr. Huber herself, Warden Dauzat did

 not find fault with Mr. Hayden taking Mr. Huber off of MHO despite his lack of improvement or

 identifying the underlying cause of his bizarre behavior, orientation to only x1, and inability to

 communicate.391

 407.    Dr. Haney testified that based on prisoner accounts and the records he reviewed that when

 people express a mental health need while on extended lockdown, they are taken to suicide watch.

 This involves being taken to a cell, stripped of all property, and placed in a paper gown. They may

 or may not have their mattress taken from them, depending on how they present at the time, and

 then they are left there. When they are placed on watch they are under observation, but they do not

 get any additional mental health treatment.392




 389
     Exh. P-LL-260; Hayden Tr., 404:11-20 (Huber seen due to bizarre behavior, reported by security due to inability
 to respond to simple commands or answer questions); Id, 405:6-14 (lacked orientation to surroundings, unable to
 converse, put on MHO).
 390
     Exh. P-LL-269 - MH Prog Note; Hayden Tr., 411:8 - 413:8 (review of progress note; Hayden describes oriented
 to 1 as being able to only answer 1 question); Id, 415:14-18 (Huber oriented x1 and unable to communicate); Exh. P-
 LL-272 - prog note; Hayden Tr., 416:3-19 (oriented x1, same note); Exh. P-LL-275; Hayden Tr., 417:2-11 (same text
 in note); Exh. P-LL-278; Hayden Tr., 417:22 - 419:10 (review of note); Exh. P-LL-287; Hayden Tr., 420:13 - 421:13
 (review of note); Exh. P-LL-292; Hayden Tr., 421:23 - 423:5 (review of note); Exh. P-LL-293; Hayden Tr., 423:21 -
 425:14 (review of note); Exh. P-LL-288; Hayden Tr., 427:1-12 (review of mgmt order taking Huber off MHO).
 391
     Exh. P-LL-284; Dauzat Tr., 751:12 - 753:25 (review of note; Huber had difficulties answering questions; Dauzat
 w/Robinson at time of visit); Exh. P-LL-287; Dauzat Tr., 754:4 - 755:19 (review note; Huber oriented x1, Dauzat
 explained what that means-not what Hayden said); Exh. P-LL-289; Dauzat Tr., 756:6 - 7577 (review note; lacked
 orientation, unable to converse, removed from MHO. She approves Hayden's judgment).
 392
     Haney Tr. 2940:20-2941:8.
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 408.    Subject to a clinical determination by mental health staff, prisoners on standard suicide

 watch have no access to any property, including mattresses, letters, or books.393

 409.    Subject to a clinical determination by mental health staff, prisoners on standard suicide

 watch are clothed only in a paper gown.394

 410.    The mental health management order containing the specifications is signed by a member

 of the mental health staff.395

 411.    Security staff cannot change a management order and it is expected that they will follow

 the order.396

 412.    People who are placed on suicide watch are not given any type of formal suicide

 assessment. There was no suicide assessment instrument that was present in the records Dr. Haney

 reviewed. Dr. Haney did not see any evidence that prisoners placed on suicide watch are seen by

 a psychologist or psychiatrist, nor that Dr. Seal gets a call to see someone who is placed on suicide

 watch. People on suicide watch are there until they convincingly assert that they are no longer

 suicidal. After they go back to their cell, they are seen for a follow-up one week later, but there is

 no special psychiatric contact, only the regular medication follow-up with Dr. Seal at the

 predetermined intervals.397

 413.    The mental health staff uses deprivation of suicidal patient’s property as punishment for

 perceived manipulation. Mr. Hayden testified that if he thinks a patient is manipulating the staff,

 he will write the mental health management order to make sure that the patient is not allowed to

 have anything in their cell except for a paper gown.398


 393
     R. Doc. 524 p. 9, Joint Record Stipulation.
 394
     R. Doc. 524 p. 9, Joint Record Stipulation.
 395
     Hayden Tr. 389:18-20 and 435:25 - 436:14.
 396
     Hayden Tr. 390:4-6 and 389:21-23.
 397
     Haney Tr. 2940:20-2942:10.
 398
     Hayden Tr. 432:22 - 433:20 (if they think people are manipulating, they won't give them anything other than paper
 gown).
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 414.    Despite the prison’s policy providing for clinical discretion regarding the property

 prisoners are allowed to have, all of the prisoners who testified at trial describe the conditions of

 suicide watch the same way: alone in a cell with no property, clothed only in a paper gown.399

 415.    Ariel Robinson, a member of the mental health staff at David Wade, confirmed that those

 are the conditions for suicide watch.400

 416.    Widely accepted correctional practices consider access to a blanket a right, not a privilege,

 even for people who are currently on suicide watch. Tear resistant blankets that are more difficult

 to rip or to tie off for the purposes of self-harm are available at ACA conferences.401

 417.    It is generally accepted in the corrections community that prisoners should be given the

 basic minimum property such as bedding, linen, a mattress, and clothing in all circumstances,

 including on suicide watch.402

 418.    At Wade, patients on suicide watch are observed by one of the security staff every 15

 minutes and at random.403

 419.    Those observations are conducted by security staff, not mental health staff; suicidal patients

 see mental health staff every 24 hours.404

 420.    Security staff document suicide watch observations on a suicide watch log, which is not

 reviewed by mental health staff or relied up on for treatment purposes.405



 399
     Turner Tr. 102:20 - 103:7 (SSW in "naked cell" wearing paper gown with zero property); Id. 106:21-24 (only ever
 given paper gown); Solomon Tr. 613:15-23 (no property, no clothes, paper gown. Just like policy 34 but you never
 get a mattress); Adams Tr. 987:19 - 988:7 (paper gown, nothing in cell, no socks or sweaters, only the gown; can't
 have legal work or books, no mattress); Exh. P-YYY-1 - Deposition of Thomas, 34:9-16 (paper gown, nothing in cell,
 no mattress, sleeping on concrete with nobody watching over you).
 400
     Robinson Tr. 712:25 - 713:5 (SSW means paper gown, no property).
 401
     Pacholke Tr. 2731:2-14.
 402
     Pacholke Tr. 2732:13-17.
 403
     Hayden Tr. 390:7-10.
 404
     Dauzat Tr. 3390:23-3391:19.
 405
     Hayden Tr., 397:3-4 (security creates suicide watch logs); Id 397:12-14 (only sometimes reviews the watch logs);
 Id, 397:17-24 (watch logs not always valid tool, doesn't necessarily look at them); Id, 414:23 - 415:4 (reviews the
 logs for MHO but not for SSW).
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 421.     The key room officer is expected to continuously monitor people in suicide watch cells in

 addition to all other duties of that position, even when there is more than one person in a suicide

 watch cell.406

 422.     Despite these procedural requirements for the observation of suicidal patients, incarcerated

 witnesses described suicide watch observation sometimes happening at intervals between 30

 minutes and a couple of hours.407

 423.     Plaintiffs’ expert, Dr. Burns, personally observed broken suicide watch cameras and the

 poor placement of suicide watch cameras in the suicide watch cells when she was at DWCC.408

 424.     She also personally observed the difficulty in pulling up those feeds to monitor the inside

 of the suicide watch cells.409

 425.     It is not humanly possible for the key officer to conduct constant observation suicide watch

 in addition to all of her other duties. She necessarily will be unable to watch suicidal patients at all

 times, resulting in a substantial risk of harm to the men on suicide watch, and deviating from the

 constant observation standard of care explained by Dr. Burns.

 426.     Johnie Adkins, who was not qualified to make any clinical judgment pertaining to mental

 health, had the authority to put people onto suicide watch, to take people off of suicide watch, and

 to evaluate people while they were on suicide watch.410




 406
     Hayden Tr., 391:18-19 (1 person in key); Id, 391:23 - 392:9 (key responsible for opening doors to building and
 tiers); Id 393:9-11 (key has to make a log); Id, 396:17-21 (Hayden: key officer has to watch multiple screens if multiple
 people on SSW). Goodwin Tr. 2227:12-15.
 407
     Adams Tr. 989:6-20.
 408
     Burns Tr. 1359:6-15
 409
     Burns Tr. 1359:16-25.
 410
     Exh. P-YYY-3 - Deposition Adkins, 32:21 - 24 (part of the job was to visit people on suicide watch); 33:5 - 34:5
 (put people onto suicide watch, extreme suicide watch; says he must have gotten direction from someone else but it
 isn’t documented anywhere); 34:14 - 35:6 (signed paperwork taking people off suicide watch; says must have gotten
 direction but it isn’t documented anywhere); 35:17-18 (“I was just not clinically trained and not really able to take that
 responsibility”).
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 427.    Subject to a clinical determination by mental health staff, prisoners on extreme suicide

 watch are clothed in a paper gown.411

 428.    Subject to a clinical determination by mental health staff and approval from medical staff,

 prisoners on extreme suicide watch are placed in restraints while in a cell alone.412

 429.    Subject to a clinical determination by mental health staff, prisoners on extreme suicide

 watch have no access to any property, including mattresses, letters, or books.413

 430.    David Wade uses restraints on people in their cells during extreme suicide watch.

 Restraints used on extreme suicide watch may be: (1) four-point restraints, which consist of both

 hands being cuffed with the chain for the cuffs connected to a box at the mid-section, designed to

 prevent movement or tampering, a belly chain connected to the handcuff chain, and shackles on

 the ankles, (2) placing a prisoner in a restraint chair, which attaches each limb to the chair, or (3)

 the placing of the prisoner in a restraint chair, as above, with a helmet to prevent spitting and head

 banging.414

 431.    Mental health staff, including Steve Hayden, can put someone onto extreme suicide watch

 with the concurrence of a medical physician.415

 432.    Dr. Bruce Fuller, a medical physician at David Wade, fills the role of concurring with

 mental health staff to place people onto extreme suicide watch.416

 433.    In this role, Dr. Fuller is simply concurring with the assessment of mental health staff

 whether to place someone on extreme suicide watch.417




 411
     R. Doc. 524 p. 10, Joint Record Stipulation.
 412
     R. Doc. 524 p. 10, Joint Record Stipulation.
 413
     R. Doc. 524 p. 10, Joint Record Stipulation.
 414
     R. Doc. 524 p. 10, Joint Record Stipulation.
 415
     Hayden Tr., 444:14-17 (He can put someone on ESW with doctor concurrence).
 416
     Exh. P-YYY-2 - Deposition of Bruce Fuller, 36:12-21 (mental health calls him for concurrence for ESW).
 417
     Exh. P-YYY-2 - Deposition of Fuller, 36:22 - 37:6.
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 434.    He makes this concurrence based solely on the information provided to him, he does not

 speak with the prisoner, evaluate the prisoner, or ever go to evaluate the situation for himself before

 providing a concurrence over the phone.418

 435.    In his 11 years in his role at David Wade, he has also never withheld concurrence for

 extreme suicide watch.419

 436.    Dr. Fuller has also never had an obligation to perform a physical examination for anyone

 on extreme suicide watch.420

 437.    In fact, he has never gone to the cell blocks on the South Compound to conduct an

 examination of anyone421 nor has he conducted a review of an individual’s chart to determine if

 there are any medical concerns for use of a particular form of restraints.422

 438.    Dr. Fuller is not familiar with the policies and limitations around the use of restraints and

 he does not have any responsibility in making sure that the use of suicide watch conforms to David

 Wade policy or Departmental regulations.423

 439.    Although he does recognize that the prolonged use of restraints or the restraint chair could

 pose dangers, such as injuries resulting from the restraints themselves.424

 440.    However, he is not familiar with what the different restraints are that can be used for

 extreme suicide watch.425

 441.    Dr. Fuller has no role in determining when someone should be released from extreme

 suicide watch and he has no role whatsoever in standard suicide watch.426


 418
     Exh. P-YYY-2 - Deposition of Fuller, 37:7-13.
 419
     Exh. P-YYY-2 - Deposition of Fuller, 37:14-17.
 420
     Exh. P-YYY-2 - Deposition of Fuller, 38:2-10.
 421
     Exh. P-YYY-2 - Deposition of Fuller, 38:11-16.
 422
     Exh. P-YYY-2 - Deposition of Fuller, 39:14-17.
 423
     Exh. P-YYY-2 - Deposition of Fuller, 39:18-25.
 424
     Exh. P-YYY-2 - Deposition of Fuller, 40:1-16.
 425
     Exh. P-YYY-2 - Deposition of Fuller, 41:16-19.
 426
     Exh. P-YYY-2 - Deposition of Fuller, 45:11-19.
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 442.    Despite Mr. Hayden testifying that David Wade uses extreme suicide watch as an

 intervention to eliminate further threat of harm to the patient,427 Mr. Adams continued to harm

 himself such that he spent time on extreme suicide watch at least every two weeks. 428

 443.    Extreme suicide watch requires an evaluation of the patient and renewal, if necessary, every

 twelve hours.429

 444.    Christopher Solomon who has spent time on extreme suicide watch, testified that the

 experience made his desire to kill himself worse,430 that death would be a way to get him out of

 his misery.431

 445.    Noel Dean was able to remove his leg shackles and attempt to kill himself by hanging while

 on extreme suicide watch.432

 446.    Extreme suicide watch is hurtful, sad, and aggravating.433

 447.    As of March 2020, DWCC’s Employee Policy Memorandum #02-01-030 provides for use

 of the restraint chair.434

 448.    DWCC has a restraint chair.435

 449.    DWCC policy permits mental health staff to authorize the use of the restraint chair for up

 to 12 hours per authorization.436




 427
     Hayden Tr. 443:8-12.
 428
     Adams Tr. 989:1-5.
 429
     Dauzat Tr. 3393:2-3; Exh. P-YYY-2 - Deposition of Fuller, 38:25 - 39:3.
 430
     Solomon Tr. 615:2-12.
 431
     Id.
 432
     Exh. P-WWW-17 - Body Camera Video - Noel Dean 309740 20180402235327_0001.MP4.
 433
     Solomon Tr. 615:2-12.
 434
     R. Doc. 524 p. 10, Joint Record Stipulation.
 435
     R. Doc. 524 p. 10, Joint Record Stipulation.
 436
     R. Doc. 524 p. 10, Joint Record Stipulation.
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 450.     At a minimum, after each 12-hour interval, the policy states mental health staff must assess

 the medical and mental health status of the prisoner to determine if modification or discontinuation

 of restraint is appropriate for medical or mental health reasons.437

 451.     DWCC policy requires that a prisoner restrained in a restraint chair be released at a

 minimum every two hours for toilet, sanitation, and nourishment functions.438

 452.     DWCC policy states that if after five two-hour cycles in the restraint chair, the person

 cannot be released from restraint, then he must be released from the chair and be alternatively

 restrained for a minimum of two hours before he is placed back in the chair.439

 453.     The Departmental level policy prohibits the use of the restraint chair for more than two

 hours in any 24-hour period.440

 454.     Despite the aforementioned policies, prisoners spend much more time in the restraint chair

 than allowed by policy. The time spent in the restraint chair, with or without breaks creates a

 substantial risk of harm.441

 455.     The harsh conditions on suicide watch have a deterrent effect on people self-reporting

 suicidal ideation, heightening the risk of an act of self-harm or completed suicide.442

 456.     The combination of harsh suicide watch policies and the lack of treatment trigger

 psychological decompensation and deterioration.443 People become trapped in a a cycle of suicidal

 thoughts and self-harm, and new behavioral incidents caused by untreated mental illness. This

 results in additional discipline, prevents people from ever regaining their mental stability or ever

 leaving the disciplinary unit at the prison.


 437
     R. Doc. 524 p. 10, Joint Record Stipulation.
 438
     R. Doc. 524 p. 11, Joint Record Stipulation.
 439
     R. Doc. 524 p. 11, Joint Record Stipulation.
 440
     Huff Tr., 1950:14-17.
 441
     Burns Tr., 1372:18-1373:7.
 442
     Burns Tr., 1432:22-1433:11.
 443
     Burns Tr., 1448:21-1451:19.
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 457.    DWCC staff sometimes restrain individuals in the restraint chair used for extreme suicide

 watch for days at a time, and often use the chair rather than providing actual mental health care.

 Carlton Turner testified that after he spent nearly 50 hours in the restraint chair and did not receive

 any mental health counseling or other help for his mental health it changed his relationship with

 mental health. He realized that they did not care about him.444

 458.    Dr. Burns, despite her familiarity with prison systems across the country, has never seen

 the use of restraints as a part of a suicide prevention system.445

 459.    She says that leaving people restrained in the cells alone is dangerous and has clinical

 mental health risks.446

 460.    Sec. Pacholke also described leaving people in mechanical restraints in a cell creates an

 increased danger for that person and does not comport with the nationally accepted practices in the

 field of corrections. He said that the restriction on a person’s ability to move creates a risk if the

 person falls, they might not be able to catch themselves; their ability to clean themselves after they

 use the restroom is limited; they could be harmed if they fall or jump off of the bunk. While he

 was preparing for his report, he watched a video447 in which a prisoner was able to remove his leg

 restraints and attempt to hang himself with them. It is a danger to give someone in a cell steel



 444
     Turner Tr. 103:8-19; see also Exh. P-BBB-64; Hayden Tr., 571:11 - 573:19 (review of note; on ESW and cont);
 Exh. P-BBB-106; Hayden Tr., 574:1 - 575:15 (review of note; cont restraint chair, add helmet); Exh. P-BBB-103;
 Hayden Tr., 575:21 - 576:12 (review of note); Exh. P-BBB-102; Hayden Tr., 576:18 - 577:20 (review of note); Exh.
 P-BBB-100; Hayden Tr., 578:1-19 (review of note); Exh. P-BBB-117; Hayden Tr., 579:5-13; 580:13 - 581:22 (review
 of note); Exh. P-BBB-118; Hayden Tr., 582:3-23 (review of note); Exh. P-BBB-59; Hayden Tr., 778:11 - 779:14
 (review doc); Exh. P-BBB-62; Dauzat Tr., 779:18 - 780:13 (review doc; 11 hours in chair); Exh. P-BBB-77; Dauzat
 Tr., 780:17 - 781:5 (review doc; back into chair); Exh. P-BBB-75; Dauzat Tr., 781:12 - 782:16 (review doc; 11 hours
 in chair); Exh. P-BBB-86; Dauzat Tr., 783:20 - 784:11 (review doc; back into chair); Exh. P-BBB-103; Dauzat Tr.,
 784:14 - 785:5 (review doc; continue chair, add helmet); Exh. P-BBB-102; Dauzat Tr., 785:8 - 786:1 (review doc; out
 of chair after 28 hours); Id, 786:2-15 (disagrees he was in chair continuously for 28 hours); Id, 787:6-8 (was not
 continuously in chair, was let up for breaks); Id, 788:18-23 (otherwise agrees he went into chair and came out 28
 hours later).
 445
     Burns Tr. 1372:19-1372:1.
 446
     Burns Tr. 1372:2-17.
 447
     See P-WWW-17 - Noel Dean 309740 20180402235327_0001.MP4.
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 devices. Sec. Pacholke also testified that the rationale around allowing someone to be in

 mechanical restraints inside of the cell does not make sense because the same staff would use force

 to get a pair of handcuffs back from a prisoner who had gotten them in their cell.448

 461.     Despite Noel Dean being allowed to attempt suicide in his cell using his own restraints–

 with no staff intervention for many minutes– no David Wade staff member was disciplined. Not

 the key room office, not the tier officer, and not any supervisory officers.449 Neither was any

 evidence of retraining or corrective action presented. This is the pattern at David Wade.

 462.     Additionally, reducing the use of restraints has not been shown to increase the danger of

 completed suicides or incidences of self-harm.450

 463.     Sec. Pacholke testified that in cell restraints in a camera cell is a practice that is unheard of

 nationally. 451

 464.     Mechanical restraints are not used in the cell in segregation units and when restraints are

 used for suicide watch that would typically involve therapeutic restrains in a health care setting.452

 465.     There may be therapeutic restraints that might be used in a health care setting or close

 observation unit. In the Secretary’s tours of other jurisdictions, he doesn’t ever see mechanical

 restraints used in cell. If the prison is going to use restraints, it's typically therapeutic and they're

 typically used in the context of a health care setting.453

 466.     Despite using suicide watch as a primary method of mental health treatment for people on

 extended lockdown the defendants’ cell front visits with people on suicide watch are purely to

 determine whether the individual remains a threat to himself.454


 448
     Pacholke Tr. 2752:2-2753:4.
 449
     Goodwin Tr. 2202:3-2204:5.
 450
     Burns Tr. 1375:4-25.
 451
     Pacholke Tr. 2750:11-18.
 452
     Pacholke Tr. 2751:17-24.
 453
     Pacholke Tr. 2751:3-16.
 454
     Hayden Tr., 447:22-24 (sees people for SSW at cell front).
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 467.    Conversations are short and do not include any attempt to ascertain whether the individual

 is suffering from worsening mental illness or is experiencing a crisis manifestation of chronic

 mental illness.455

 468.    Decisions about when a person should be either downgraded from extreme suicide watch

 to standard suicide watch or taken off of suicide watch are made without providing counseling or

 treatment of any kind. Steve Hayden testified that he puts people on suicide watch when they say

 they are suicidal and takes them off when they say they are not suicidal anymore.456

 469.    He also down grades people from extreme suicide watch to standard suicide watch when

 they say they are ready.457

 470.    Dr. Seal, the only licensed psychiatrist employed by DWCC, relies completely on the other

 mental health staff for information on suicide watches.458

 471.    Dr. Seal is in fact not generally involved in placing people on suicide watch. He only

 recommends suicide watch if it is based on events that happen during a clinic session with a

 patient.459

 472.    This is despite his acknowledgement that suicide attempts are a clinically significant factor

 in the care that a person receives.460

 473.    When Mr. Turner spent over 50 hours in the restraint chair notes were omitted from that

 time and Dr. Seal was not privy to the information about his patient's care.461




 455
     Moran Tr., 210:2-8 (would see Hayden here and there, was never his case mgr, never discussed mental health
 with him); Dillon Tr., 293:7-12 (talking about Hayden; saw him a second time, said he didn't want to talk to Hayden
 because he failed to listen to him before).
 456
     Hayden Tr. 429:6-8, 12-15.
 457
     Hayden Tr. 447:14-18.
 458
     Seal Tr. 1124:12-16; Hayden Tr., 545:24 - 546:2 (Seal is contract psychiatrist at DWCC).
 459
     Seal Tr. 1224:19-1225:24.
 460
     Seal Tr. 1223:17-19.
 461
     Seal Tr. 1131:18-24.
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 474.    Dr. Seal does not know or determine the conditions of suicide watch, he is also unaware of

 who determines the conditions on suicide watch.462

 475.    He also does not know what the terms standard and extreme suicide watch mean in the

 context of David Wade’s care for his patients.463

 476.    Plaintiffs’ Expert, Dr. Burns, testified that the standard of care for suicide watch in a

 carceral setting involves the constant and close observation of people on suicide watch.464

 477.    Dr. Burns explained that the standard for placing people on suicide watch should be low,

 but a risk assessment should soon follow to determine the level of risk for a person and what

 property they should be allowed to keep.465

 478.    After her review of information in this case Dr. Burns testified that Steve Hayden could be

 trained to evaluate people for when it is appropriate to take them off of suicide watch, including

 the proper procedure for doing so.466

 479.    Dr. Burns also explained how daily suicide watch check ins should be conducted in order

 to comply with the standard of care and that daily suicide watch check in should be confidential.467

 480.    The daily checks should include risk assessments and mental health status check-ins.468

 481.    Suicide watch precautions should reflect an individualized inquiry into how to prevent the

 person from engaging in self-injurious behavior.469

 482.    David Wade does not individualize suicide watch precautions and instead applies the same

 draconian precautions for everybody.470


 462
     Seal Tr. 1225:25-1226:7.
 463
     Seal tr. 1226:17-21.
 464
     Burns Tr. 1348:16-1350:10.
 465
     Burns Tr. 1350:11-1354:21.
 466
     Burns Tr. 1352:12-1354:21.
 467
     Burns Tr. 1355:23-1356:11.
 468
     Burns Tr. 1356:4-11.
 469
     Burns Tr. 1357:1-1358:8.
 470
     Id.
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 483.     Sec. Pacholke testified that the generally accepted practices around suicide watch in a

 correctional setting is to treat it like a mental health issue that would benefit from mental health

 treatment. Generally, you don’t want to change the conditions of the person on suicide watch to

 make them more depressing than they were.471

 484.     Dr. Haney testified that from his review or records and interviews with prisoners it is his

 understanding that people who are on suicide watch are not allowed calls or visits. He explained

 that because there is no provision that they are going to be seen by a qualified mental health staff

 while they are suicide watch it is not clear what the mechanism would be for those prisoners to

 receive a phone call or a visit. He did not see any evidence in the records that he reviewed of

 people getting phone calls or visits while on suicide watch.472

 485.     Dr. Burns also opined on the way in which the mental health staff at DWCC make their

 decisions as to whether or not to put a person on suicide watch. She noted that Hayden’s testimony

 regarding how he decides when to use suicide watch precautions is not a clinical measure, but

 rather seems to be based on security concerns.473

 486.     Men report that staff antagonize and ridicule when they are on suicide watch such that they

 feel they are being punished for having mental health concerns and being on suicide watch.474

 487.     Men testify that staff routinely open the windows during the winter when people are in

 paper gowns for the purpose of punishing them, a practice that men have named “bluesing.”475


 471
     Pacholke Tr. 2743:15-23.
 472
     Haney tr. 2943:23-2944:15.
 473
     Burns Tr. 1358:9-25.
 474
     Solomon Tr. 619:13 - 620:8 (while on SSW, Coleman antagonizing him, told him to run his head into the bars, so
 he did. Then he got sprayed with mace); Adams Tr. 991:14 - 992:17 (got punished by Hayden on SSW; was in camera
 cell, tried to cut artery in wrist. Hayden told him he should have killed himself, was mad to deal with Adams, moved
 him to last cell on tier which would make it hard to get help at back of tier. no window, no fan, only looking at wall;
 conditions upset him more).
 475
     Turner Tr. 107:11-15 (staff open windows in winter when ppl on SSW, call it bluesing); Brumfield Tr. 174:14 -
 175:22 (described bluesing, staff did it to RaRa all the time, they'd punish the whole tier by opening the windows in
 the winter. Especially after they brought RaRa back from a shower, he was always in a paper gown and he'd be wet
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 488.     Defendants’ own expert, Dr. John Thompson, encountered reports of bluesing in his

 interviews finding that 13 of the 42 people he collected data from reported staff opening the

 windows in the winter for the purpose of punishing people.476

 489.     Dr. Haney said that bluesing is a term that was explained to him as being a situation in

 which someone is put in a cell, particularly a suicide watch cell and the windows are opened as a

 way of punishing them.477

 490.     The practice of bluesing, in which the windows are opened on the tier while there are

 people on the tier who are clothed only in paper gowns, is one that inflicts pain and suffering.478

 Sec. Pacholke evaluates this type of thing as the inflection of torture. He also notes that corporal

 punishment is not sanctioned by any correctional organization and is certainly not contemplated

 as a practice within nationally accepted standards or practices.479

 491.     The harshness of the conditions on suicide watch do not permit activities that could help

 people recover such as phone calls and recreation time.480

 492.     This contributes to conditions that Dr. Burns described as appearing to be punitive, which

 she says discourages reporting.481



 and they'd open the windows); Id 175:23 - 176:12 (saw other people get blues, named Larry; he got so bad he was
 vomiting blood and they took him to EA Conway, he suffered so much he almost died. That's what MH is like there,
 they do nothing); Adams Tr. 989:21 - 991:6 (bluesing is to make a person suffer; no mattress on suicide watch, they'd
 turn off heat in winter when freezing cold, turn the fans on. Floors already cold, they'd open windows to make you
 freeze); McDowell Tr. 1011:8-20 (opened windows in winter a lot of times, especially when people were bugging out;
 sometimes they stayed open 2-3 days before somebody willing to close them); Id 1011:23 - 1012:3 (get so cold your
 body hurts, you ache); Exh. P-YYY-1 - Deposition of Thomas, 25:6-14 (Hayden tells staff to open windows when
 you’re on suicide watch in the winter and turn on the fans, freeze you out); Exh. P-YYY-4 - Deposition of Brooks,
 16:4-17 (guards would open windows in winter and freeze guys out in retaliation).
 476
     Thompson Tr., 4131:22-4132:5.
 477
     Haney Tr. 2946:8-13.
 478
     Pacholke Tr. 2738:25-2739:8.
 479
     Pacholke Tr. 2741:24-2742:5.
 480
     Burns Tr. 1360:1-20; Turner Tr. 107:24 - 108:3 (no calls or visits when on suicide watch); Solomon Tr. 613:24 -
 614:2 (no calls or visits on suicide watch); Id 614:3-9 (nobody on suicide watch gets visitor, no outside; you stay in
 cell with paper gown); Exh. P-YYY-1 - Deposition of Thomas, 34:22 - 35:2 (no phone calls or visitors on suicide
 watch).
 481
     Burns Tr. 1360:1-20.
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 493.     Although the facility possesses suicide resistant mattresses, those mattresses are often not

 given to people on suicide watch, who must stand and sleep on the concrete.482

 494.     Mr. Hayden confirmed that the only property provided is what the mental health

 management orders specifically state, which commonly reflect those mattresses are not

 provided.483

 495.     On the rare occasion that a suicide resistant mattress is provided, it does not offer comfort

 to the men on suicide watch because it is extremely thin and reeks of body odor and urine.484

 496.     Mental health staff report that they see people on suicide watch every day, with the

 exception of weekends when there is no mental health staff and prisoners are instead seen by

 medical.485

 497.     Mental health staff, including Mr. Hayden, testified that a mental health progress note is

 completed for each mental health related interaction, including each day that a person is seen while

 on suicide watch and that it is important for those notes to be complete and accurate.486

 498.     However, Mr. Hayden is not reviewing mental health progress notes completed by other

 staff prior to when he is seeing a person for the day.487




 482
     Exh. P-O-62; Hayden Tr. 477:3 - 478:18 (no mattress, no property); Exh. P-T-40; Hayden Tr. 480:7 - 481:2 (no
 mattress); Exh. P-T-90; Hayden Tr. 481:13 - 482:1 (no mattress); Exh. P-Z-228; Hayden Tr. 482:12-24 (no mattress);
 Exh. P-YY-171; Hayden Tr. 485:23 - 486:19 (no mattress, no property); Exh. P-YYY-1 - Deposition of Thomas, 26:1-
 5 (asked Hayden for suicide mat becuase he was sleeping on concrete, Hayden denied).
 483
     Hayden Tr. 486:20-24 (only things listed on mgmt order will be given; if no mattress or property listed, it's not
 provided).
 484
     Turner Tr. 106:25 - 107:10 (occasionally given a suicide mat; same as reg mattress but a lot thinner, smells like
 urine and body odor and feces, not given every time on SSW); Robinson Tr. 713:6-9 (mattresses given on case by
 case basis).
 485
     Hayden Tr., 321:16-19 (no mental health staff on weekends); Id, 448:23 - 449:1 (no mental health staff on weekend,
 people on SSW seen by medical); Robinson Tr., 713:12-17 (work schedule Mon-Fri 8-4:30; no MH staff on
 weekends); Id, 713:18-21 (people on suicide watch or MHO not seen by MH on weekends).
 486
     Hayden Tr., 449:3-8 (completes note every visit; important to be complete and accurate).
 487
     Hayden Tr., 449:9-13 (does not review prior notes done by other staff).
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 499.    The consequence of this practice is that Mr. Hayden is not considering all the information

 when seeing a patient on suicide watch and misses clinically significant information such as when

 Mr. Dotson was eating glass and hitting his head against a wall.488

 500.    Matthew Carroll, a prisoner on extended lockdown at David Wade at the time, was able to

 hoard pills sufficient for self-harm and take them in front of security staff declaring that he was

 suicidal.489

 501.    Suicide watch should trigger a review of a treatment plan or a new treatment plan if the

 person did not yet have one.490

 502.    People on suicide watch should generally receive some assessment to determine if

 additional interventions are necessary, including in consultation with the psychiatrist.491

 503.    Correctional facilities should evaluate people on suicide watch to see if they should be

 transferred, especially if the facility can provide only outpatient level of care like DWCC.492

 504.    Secretary Pacholke testified that he has experience creating and implementing policies for

 people who are on suicide watch in a correctional institution.493

 505.    As a part of his role as the superintendent/warden of several institutions in Washington

 State it was his job to create these policies. As a result, he consulted with Lindsay Hays, an expert

 in suicidal behavior and prevention in prisons and academics at the University of Washington.494

 506.    The result of that consultation and Sec. Pacholke’s experience as a correctional

 professional Secretary Pacholke described different aspects of suicide watch policies and practices


 488
     Exh. P-FF-19; Hayden Tr., 449:23 - 451:5 (review of note by Robinson, states he hit his head against the wall and
 ate glass, put on SSW); Exh. P-FF-21; Hayden Tr., 452:6 - 454:19 (his note does not reflect the behaviors from
 Robinson's note); Exh. P-FF-24; Hayden Tr., 455:19 - 457:3 (seen for follow up, does not reference behavior).
 489
     Exhibit P-VVV-32
 490
     Burns Tr., 1365:14-23
 491
     Burns Tr., 1366:20-1367:24
 492
     Burns Tr., 1361:9-1362:20
 493
     Pacholke Tr. 2743:24 – 2744:2.
 494
     Pacholke Tr. 2744:3-8.
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 that comport with nationally accepted practices in the field of corrections. First, he testified that

 the restrictions that are placed on the person experiencing suicidality should be tailored to the

 person’s history of self-harm or suicide attempts. He gave the example of not having to remove

 bedding from the cell of a person who uses cutting as a form of self-harm. Next Secretary Pacholke

 described how after a person is out of crisis, they should be offered the chance to do things that

 might make them feel better, such has a shower or the opportunity to call a loved one. He stated

 that one of the goals is to maintain them in an environment that is a more therapeutic environment.

 The person should be in a place where they can have more of an ongoing interaction with mental

 health and medical staff.495

 507.    Sec. Pacholke also testified that it is important for people to be able to maintain the

 privileges that they had before they went on suicide watch because it is important to not punish

 people for having a mental health breakdown.496

 508.    Part of the way to do that is to put in the treatment plan that a person can have a phone call,

 a shower, access to a day room if there is one. This is to get at the underlying mental health issue

 and not treat suicide watch as an act of discipline.497

 509.    David Wade’s suicide watch practices deviated from the nationally accepted standards in

 that the conditions of confinement for standard suicide watch look much like the conditions of

 confinement for the punitive status of Offender Posted Policy #34. Aside from the cells for suicide

 watch having a camera in them it is difficult to tell the difference between what it looks like when

 someone in on the punitive status of policy #34 strip cell. Extreme suicide watch goes even further

 and adds either four-point restraints or four-point restraints and a black box.498


 495
     Pacholke Tr. 2743:24-2748:20.
 496
     Pacholke Tr. 2748:22-2749:3.
 497
     Pacholke Tr. 2748:22-2749:9.
 498
     Pacholke Tr. 2749:23-2750:10.
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 510.    Secretary Pacholke testified that in his opinion suicide and self-harm are treated like a

 disciplinary issue at DWCC. People are placed on statuses that look exactly like a disciplinary

 status, and extreme suicide watch is even more limiting than strip cell status. 499

 511.    Dr. Haney testified that if someone expresses suicidality, but refuses to be placed on suicide

 watch they are placed in the same conditions but on the status of disciplinary detention. This means

 that they are put under the same circumstances but as punishment, rather than a response to their

 suicidality.500

 512.    Dr. Haney testified that suicide watches by definition times when people are placed in

 environments where they don’t have much so they cannot harm themselves. But, in his experience,

 that deprivation is usually accompanied by additional mental health care and mental health

 attention. He said, “So in exchange for putting somebody in an environment where they can't harm

 themselves, they also get specialized mental health attention because they've expressed a desire to

 take their own life, perhaps the most severe of all manifestations of mental illness.”501 At David

 Wade the deprivation occurs but the corresponding mental health attention and treatment does not

 occur, this makes the risk of harm greater.502

 513.    Dr. Haney testified that in his opinion, when someone is feeling so desperate and depressed

 that they are contemplating killing themselves for any reason, but possibly because of the

 deprivation of solitary confinement, and they are then moved to a place that is even more depraved

 where they are kept under even worse conditions there is no possible reason that he can think of

 why one would expect their mental health to get better, to have their mental health improve in that




 499
     Pacholke Tr. 2750:19-2.
 500
     Haney Tr. 2942:24-2943:8.
 501
     Haney Tr. 2944:21-2945:6.
 502
     Haney Tr. 2945:6-9.
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 kind of environment.503 That person might say anything they need to, including that they are no

 longer feeling suicidal, in order to get out of those conditions; but, that is different than their mental

 health improving because of the suicide watch conditions.504

 514.    Dr. Haney did not find any evidence that people were provided with any other mental health

 intervention besides suicide watch. There is no individual psychotherapy aside from medication

 reviews.505

                 vii. Inadequate Record Keeping at DWCC Creates a substantial risk of serious
                 harm

 515.    The C-05 reports are an important way the department tracks the conditions at David

 Wade.506 It is a thorough report of the monthly activities at David Wade.507 The department

 depends on each of the facilities to accurately report their numbers for the report.508

 516.    Defendant Warden Goodwin is responsible for the C-05 reports that are sent from DWCC

 to DPSC headquarters.

 517.    Steve Hayden is responsible for compiling the numbers pertaining to the mental health

 department for the C-05 reports every month including the numbers of standard suicide watch,

 extreme suicide watch, and mental health observation.509

 518.    A suicidal gesture is an act which injures the person but would not result in death or serious

 injury.510




 503
     Haney Tr. 2945:10-19.
 504
     Haney Tr. 2945:19-25.
 505
     Haney Tr. 2942:11-16.
 506
     Goodwin Tr. 2385:11-13.
 507
     Goodwin Tr. 2385:14-16.
 508
     Goodwin Tr. 2385:17-19.
 509
     Hayden Tr., 314:8-17 (compiles mental health data); Dauzat Tr., 3397:22 - 3398:10 (Hayden compiles numbers
 for mental health department for standard suicide watch, extreme suicide watch, mental health observation).
 510
     Burns Tr., 1370:9-16.
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 519.    A suicide attempt is an act which injures the person and could result in death or serious

 injury if untreated.511

 520.    Matthew Carroll attempted to kill himself by taking pills he had hoarded while he was

 incarcerated at DWCC on extended lockdown. That incident was categorized as a use of force on

 the UOR by the officers who were on the scene. As such, no suicide attempt was reported on that

 month’s C-05 report.512

 521.    Damien Clark wrote on the walls of his cell in his own blood while he was housed in a

 camera cell. He was finally put on extreme suicide watch. On the UOR for the incident the officers

 at the scene did not categorize the incident as a suicide attempt, therefore it was not reported as

 such on that month’s C-05 report.513

 522.    The UOR, which Warden Goodwin Reviews, clearly states that Damien Clark attempted

 to kill himself during this incident.514

 523.    The failure of the staff to keep track of incidents as serious and potentially deadly as suicide

 attempts creates a risk of harm for the men housed in Extended Lockdown at DWCC, one borne

 from ignorance – intentional or not – of important events at the prison and the staff’s response to

 those events.

 524.    The Warden’s office makes the determination as to whether something is a Category A, B,

 or C incident.515




 511
     Burns Tr., 1369:20 - 1370:6.
 512
     Goodwin Tr. 2370:2-2371:7; Exh. P-VVV-32.
 513
     Goodwin Tr. 2372:7- 2383:4; Exh. P-VVV-16.
 514
     Goodwin Ter. 2381:16-2832:17; Exh. P-VVV-16.
 515
     Goodwin Tr. 2382:19-2383:4.
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 525.     Mental health staff testified to the importance of keeping accurate and complete records

 because colleagues rely on the records, supervisors rely on the records, and the records are

 necessary for treatment.516

 526.     Security staff recognize the importance of keeping accurate records.517

 527.     Records that are not accurate and complete could lead to mistakes in care.518

 528.     The necessity for accurate and complete records is also to track changes in mental health

 over time, provide comprehensive care, and identify patterns.519

 529.     Pill pass officers recognize the importance of keeping detailed, accurate and complete

 records as well regarding both medication administration records and tier logs that document all

 activities on the tiers.520

 530.     During the time that Warden Baird was Assistant Warden over security, he would require

 the people he supervised to keep accurate records, although he would not check those records for

 accuracy and instead relied upon the people he supervised to ensure the documentation was

 accurate.521

 531.     Yet despite all of the staff at David Wade recognizing and understanding the importance

 of keeping detailed, accurate and complete records, the testimony and evidence is replete with

 records that are incorrect, incomplete, contradictory, or absent.



 516
     Robinson Tr., 669:2-4 (it's important to keep accurate and detailed records for treatment purposes); Id, 669:12-15
 (important to have accurate records of mental status); Id, 669:16-19 (supervisors rely on records being accurate); Id,
 669:20-23 (colleagues rely on records being accurate).
 517
     Baird Tr., 1052:23 - 1053:2 (important that records are accurate).
 518
     Robinson Tr., 669:24 - 670:2 (inaccurate records could lead to mistakes in care); Dauzat Tr., 765:7-17 (important
 to complete accurate and complete records, important for overall care, could negatively impact patient care if not
 accurate and complete); Id, 766:5-8 (inaccurate and incomplete records could negatively impact safety).
 519
      Robinson Tr., 670:3-6 (accurate records to identify changes over time); Dauzat Tr., 767:8-15 (having
 comprehensive documented history is necessary for patient care and identifying patterns).
 520
     Pitts Tr., 868:2-13 (important to keep accurate tier logs; important for documentation to be accurate and correct;
 important to write everything down that happens on tier).
 521
     Barid Tr., 1046:6-22 (require people to keep accurate records; does not check for accuracy, delegated people to do
 that, Cols and shift major).
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 532.     The Assistant Warden over security is responsible for reviewing the daily security

 paperwork, which includes all UORs created for that day.522

 533.     The colonels responsible for the North and South Compounds report to the Assistant

 Warden over security, which for a period of time was Jacob Baird, and whose primary

 responsibility is staff and prisoner safety.523

 534.     During that time, Asst. Warden Barid would make rounds on the South Compound to make

 sure staff were doing their jobs.524

 535.     Security staff at David Wade have an obligation to complete daily paperwork, including

 an unusual occurrence report for any activity that is outside the daily normal.525

 536.     Unusual occurrence reports, or “UORs”, are generated for activities including an

 unplanned use of force, a planned use of force, someplace put on suicide watch, or put into

 alternative restraints.526

 537.     The Assistant Warden is notified every time a person is placed in alternative restraints

 which restrain a person with handcuffs, a belly chain, and leg shackles.527

 538.     Warden Goodwin also receives the daily paperwork for the South Compound, including

 all UORs.528

                   vii. Defendants’ Offender Posted Policy #34 - Strip Cell Status - creates a
                   substantial risk of serious harm




 522
     Baird Tr., 1040:25 - 1041:8 (reviewed all daily paperwork, included UORs); Id, 1047:15-19 (Col daily records for
 accuracy include UORs).
 523
     Baird Tr., 1039:13-16 (from Dec to March 2020, was Asst Warden over security); Id, 1040:13-19 (As Asst Warden,
 primary responsibility is staff and inmate safety; Colonels reported to him).
 524
     Baird Tr., 1041:10-14 (made rounds on South); Id, 1041:15-18 (on rounds, making sure staff doing their job).
 525
     Baird Tr., 1049:19-23 (criteria for UOR is anything outside scope of daily activity).
 526
     Baird Tr., 1050:5 - 1052:17 (describing all things that will generate a UOR).
 527
     Baird Tr., 1074:24 - 1075:1 (alternative restraints means handcuffs, belly chain, leg shackles); Id, 1076:1-12 (would
 be notified if someone put in alternative restraints).
 528
     Baird Tr., 1041:22-25 (Goodwin also receives daily paperwork).
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539.     David Wade maintains an institution-specific disciplinary policy called “Offender Posted

 Policy 34” (“OPP 34 or strip cell status”).529

540.     Strip cell status is strictly punitive.530

541.     Prisoners can be placed on strip cell status for up to 30 days ostensibly for a documented

 pattern of certain enumerated behaviors.531

542.     The policy provides that an individual may be subjected to solitary confinement with no

 clothing other than a paper gown, and no property, recreation, mattress or bedding for a period of

 up to thirty (30) days for certain enumerated offenses. 532

 543.    Those behaviors include: throwing human waste anywhere in any manner; throwing or

 hurling of any bodily fluid or substance (including spitting); storing weapons. human feces or urine

 in any form inside of his cell in a container; throwing any item from their cell at any person walking

 down the tier; throwing item(s) on the tier that might cause a safety hazard, (soap, water, etc.);

 using belongings as a barricade or shield to prevent security from properly performing their duties;

 making threats of violence against another while in immediate possession of any personal

 belonging that might be used as a weapon such as a cup, bar of soap, pen, pencil, etc; flooding

 cells; committing an act of violence on another person; participation in a major disturbance.533

 544.    However, in practice people are placed on strip cell status for actions that do not present

 an immediate threat to the safety and security of the prison, such as throwing a cup on the tier534or

 refusal to pass out a lunch tray;535




 529
     Exh. P-JJJ-13 - 2013-11-8 - Offender Posted Policy #34.
 530
     Solomon Tr., 608:11-12 (on 34 because of a disciplinary action).
 531
     Solomon Tr., 608:7-10 (on strip cell for 20-30 days)
 532
     Id.
 533
     Exh. P-JJJ-13 Offender Posted Policy #34.
 534
     Exh. P-S-4 2017-9-26 - Decision Form Offender Posted Policy #34 - Batiste, Jacoby.
 535
     Exh. P-S-53 2018-6-29 - Decision Form Offender Posted Policy #34 - Batiste, Jacoby.pdf
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545.        Strip cell status can be renewed for additional periods of time. If an individual receives a

 disciplinary infraction while on strip cell status, they may be given a break of no defined length,

 and then placed back on strip cell status.536

546.        Mental health staff are not consulted prior to an individual being placed on this status.537

547.        On strip cell status, people are not allowed a mattress outside of the hours of 9 p.m. to 5

 a.m. 538

548.        Although strip cell status calls for mattresses to be returned at 9 p.m., they are frequently

 not returned timely or at all539 and men complain of the physical pain that results from sleeping on

 the concrete bunk or metal rack.540

 549.       People will be housed on strip cell status for thirty days or more, at the whim of the ranking

 correctional officers.

 550.       People with severe mental illness are placed on OPP 34 strip cell status: there are no

 restrictions in the policy or in practice that limit its application to people with mental illness, and

 the mental health staff is not even consulted prior to imposition of the Policy.

 551.       Men describe OPP 34 strip cell and standard suicide watch to be the same conditions,

 meaning all property is removed from the cell, all clothing is taken, and the men are given paper

 gowns.541




 536
     Nail Tr., 1814:13-21.
 537
     Hayden Tr., 387:4-6 (says he's not familiar with it); Id, 387:7-13 (Mental health has nothing to do with OPP 34).
 538
     Exh. P-JJJ-13 - 2013-11-8 - Offender Posted Policy #34.
 539
     Solomon Tr., 607:2-21 (mattress supposed to be returned, most days it isn't).
 540
     Solomon Tr., 607:22 - 608:5 (really painful to sleep on concrete. It bruises you. horrible); Brumfield Tr., 179:25 -
 180:3 (would sleep on metal rack, no mattress or blanket); Solomon Tr., 606:21 - 607:1 (34 takes everything, gives
 paper gown. no difference to SSW. Supposed to get mattress back, but they don't do it).
 541
     Brumfield Tr., 179:19-24 (strip cell is nothing in the cell, you're naked); Id 180:4-6 (strip cell and suicide watch no
 different); Solomon Tr., 609:8-17 (34 and SSW no different, except supposed to get mattress with 34); Exh. P-YYY-
 1 - Deposition of Thomas, 46:20 - 47:7 (strip is just like suicide watch).
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 552.     Men who have been held on strip cell status describe the impact the conditions have on

 their mental health, including increased feelings of depression, sadness, hurt, and describing the

 conditions as inhumane.542

 553.     Col. Nail testified that people on strip cell status would refuse to take their mattresses back,

 evincing either a lack of candor on the availability of the mattresses or that the choice to take a

 mattress or not is made under heavy duress.543

 554.     Warden Huff signed off on uses of strip cell status in her capacity as duty officer.544

 555.     Huff did not review any behavior of people on strip every 4 hours. It was her testimony

 that reviews should be documented in the logbook.545

 556.     There was no evidence of the review of the behavior of people on strip cell status in any of

 the hundreds of pages of tier logs produced in this matter: Defendants produced no evidence of the

 same at trial.

 557.     Huff would approve the use of strip cell status after asking security what the person did,

 whether the person has a pattern of behavioral problems, and how long since the last behavior.546

 558.     Huff was not responsible for investigating the incident prior to approving use of strip cell

 status.547

 559.     Huff never investigated any incident prior to imposing strip cell status.548




 542
     Solomon Tr. 608:16 - 609:7 (feels horrible; plethora of emotions-mad, sad, hurt, depressed-feel all at same time);
 Brumfield Tr. 180:7-14 (feels inhumane, no purpose, you're naked with nothing, no shoes and no socks, how does it
 help? what's the purpose?); Solomon Tr. 605:1-13 (wrote sick calls asking mental health to help because he was on
 34, it was affecting him mentally).
 543
     Nail Tr., 1706:14-19
 544
     Huff Tr., 1939:1-9
 545
     Huff Tr., 1946:11-24
 546
     Huff Tr., 1947:22-1948:1
 547
     Huff Tr., 1947:6-18
 548
     Huff Tr., 1947:19-22
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 560.    Strip cell status is imposed outside of the scope of any regular disciplinary process.549 It is

 imposed without a hearing and is not reviewed by the disciplinary board. It is imposed fully at the

 discretion of staff.550 This practice deviates from nationally accepted standards regarding informal

 discipline.551

 561.    OPP 34 was approved by Seth Smith and Secretary LeBlanc on behalf of the Department

 of Public Safety and Corrections.552 The Department is aware that the strip cell practice is being

 imposed upon people with severe mental illness without limitations and without any consultation

 by mental health staff.

 562.    Because OPP 34 occurs outside of the disciplinary process it is untouched by the

 Defendants’ imposition of a new disciplinary and classification system in December 2019.

 563.    Sec. Pacholke testified that based on his 30 years of experience in corrections, touring a

 number of prisons throughout his career and his understanding of the ACA standards. The

 generally accepted standard regarding the provision of clothing for people in restrictive housing is

 that it is required. Clothing is considered a right, not a privilege.553 Strip cell status contravenes

 this generally accepted standard.

 564.    The conditions at DWCC under strip cell status deviates from the national standard

 regarding giving clothing to prisoners in that no clothing or personal property is allotted except for

 a paper gown. This gown is open in the back and would be tied shut. There is also no clothing, no

 underwear, no socks, no jacket, no bedding, no linen, no blankets. And it is both humiliating and

 to a certain degree creates a sense of vulnerability when you have someone for the most part naked




 549
     Coleman Tr., 1626:19-23; Nail Tr., 1812:11-24
 550
     Nail Tr., 1816:9-24
 551
     Goodwin Tr. 2728:10-18.
 552
     LeBlanc Tr. 2596:9-16.
 553
     Pacholke Tr. 2729:10-2730:3.
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 in a cell other than this kind of paper garment. So, a sense of humiliation and vulnerability, no

 protection from the elements.554

 565.     Defendants’ expert Mr. Upchurch stated that the fact that strip cell status can be used in

 30-day increments in his professional opinion is inconsistent with corrections practice today.555

 566.     He believes that there should be a meaningful review no longer than 72 hours after a person

 is placed on strip cell status.556

 567.     Mr. Upchurch also believes that there should be an assessment done by a mental health

 professional within 24 hours of implementing strip cell status557 for someone with mental illness

 so as to determine if the person’s behaviors are as a result of their mental illness or an act of

 aggression.558

 568.     Strip cell status delegitimizes the formal discipline system, he does not believe that there

 is a fairness component to it, it makes people angry and upset, it acknowledges torture as being an

 acceptable practice, which is not legitimate in any way.559


                   viii. Specific Practices Contributing to a Substantial Risk of Serious Harm

 569.     Identifying and responding to signs and symptoms of mental illness are crucial components

 of keeping people safe in prison.560




 554
     Pacholke Tr. 2730:4-16.
 555
     Upchurch Tr. 3256:5-9.
 556
     Upchurch Tr. 3256:24-3257:2.
 557
     Upchurch Tr. 3259:11-20.
 558
     Upchurch Tr. 3258:6-16.
 559
     Pacholke Tr. 2735:8-16.
 560
     Exh. P-F-07, Burns Report at p.30 (under treated and untreated symptoms of mental illness also result in increased
 instances of discipline which prolongs the time prisoners are held in extended lockdown); Exh. P-K-03, Haney Report
 at p.78-79 (placing people with SMI in solitary is harmful to everyone, not just the individuals, including staff); Exh.
 P-FFF-1, Pacholke Report at p.13-14 (practices at DWCC are inconsistent with industry standards for institutional
 safety).
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 570.     The intake screening that is provided to prisoners who are transferred from another facility

 in the DPSC is completed by Steve Hayden, who is not a licensed mental health care provider.561

 571.     Mr. Hayden does not have credentials to diagnose mental illness, to prescribe medication

 or generally make decisions regarding medication.562

 572.     The only person at David Wade able to diagnose someone with a mental illness is Dr.

 Gregory Seal.563

 573.     The intra-institutional intake screening that is provided to prisoners who are transferred

 from another facility in the Department of Public Safety and Corrections is reviewed by Warden

 Dauzat, not a psychiatrist.564

 574.     Intake upon transfer to DWCC should be looking for changes, recent trauma, degree of

 stability, and monitoring for certain disorders.565

 575.     Relying on previous institutional intakes is not the clinical standard for intra-institutional

 screening because people change with time.566

 576.     DWCC staff’s testimony to the contrary, Dr. Burns encountered people at DWCC who had

 abnormal levels of intellectual functioning who were not excluded by the intake process.567




 561
     Hayden Tr. 315:20-22 (he has a Masters in industrial psychology); Id, 316:5-8 (he does not have a license to provide
 mental health care, his degree is not a clinical degree).
 562
     Hayden Tr. 316:9-11 (no credentials to diagnose); Id, 316:12-14 (no credentials to prescribe medications); Id
 316:15-17 (no credentials to make decisions about meds).
 563
     Dauzat Tr., 750:10-13 (correct).
 564
     Dauzat Tr. 749:9-13 (ask questions for info on intake form); Id, 749:18-23 (reviewed by means she reviewed the
 form, not that she was present for the screening); Id, 749:24 - 750:3 (will sign off on intake screen even if not present).
 565
     Burns Tr., 1276:7-1277:8
 566
     Burns Tr., 1277:9-17
 567
     Burns Tr., 1287:5-7
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 577.    When people arrive at DWCC with a history of suicidal behavior, the standard of care

 requires a more in-depth follow-up regarding that person's history and triggers for such

 behavior.568 This also holds true for conditions such as schizophrenia.569

 578.    DWCC makes no effort to resolve contradictions in reports of suicidal behavior.570

 579.    DWCC didn't mark a person with schizophrenia for follow-up with mental health.571

 580.    "Follow-up per policy" is not an adequate plan for people with mental illness.572

 581.    Corey Adams received the default “follow-up per policy” intake screening plan, despite a

 diagnosis of psychosis and history of self-harm,573 and Adams’ pattern of self-harm continued.574

 582.    Brian Covington was also sent to extended lockdown despite Defendants’ knowledge and

 documentation of his diagnosis of schizophrenia.575

 583.    The risks for Adams and Covington are consistent with the risks posed to the rest of the

 class by inadequate screening.576

 584.    A person conducting intake needs to be able to ask questions, make observations, and know

 about psychiatric illness - how they manifest, understand symptoms, and understand how to

 document them.577

 585.    Hayden does not do the initial intake assessments with the same psychological testing as

 EHCC.578




 568
     Burns Tr., 1290:7-17
 569
     Burns Tr., 1290:18-24
 570
     Burns Tr., 1291:2-12
 571
     Burns Tr., 1291:21-1292:8
 572
     Burns Tr., 1292:24-1293:19
 573
     Burns Tr., 1295:6-21
 574
     Burns Tr., 1296:2-4,
 575
     Burns Tr., 128913-20
 576
     Burns Tr., 1297:18-1298:3
 577
     Burns Tr., 1275:1-11
 578
     Burns Tr., 1278:2-6
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 586.     Hayden is not able to perform the same type of intake assessment as EHCC.579

 587.     Not everyone who arrives at DWCC has received an intake assessment from EHCC.580 In

 that case, DWCC performs the intake assessment. 581

 588.     Hayden does not have the minimum requisite skills or training to recognize the signs and

 symptoms of mental illness, so he is not appropriate to perform intra-system intake.582

 589.     Dauzat's follow-on after intake is not helpful.583

 590.     Failure to conduct adequate screening at facility intake creates risks and further problems

 for later treatment.584

 591.     When there is a mismatch in intake information regarding a person’s diagnosis or needs,

 staff should follow-up and document their specific steps585 and differences in diagnosis must be

 reconciled.586

 592.     The training provided to security staff at DWCC does not include how to recognize the

 signs and symptoms of mental illness.587

 593.     There is no other training provided to security staff for how to work with people with

 mental illness or people exposed to prolonged segregation.588

 594.     The findings of Plaintiffs’ expert, Sec. Pacholke, note that the annual mental health training

 is not adequate.589



 579
     Burns Tr., 1285:24-1286:2
 580
     Huff Tr., 1933:24-1934:3
 581
     Huff Tr., 1934:11-16
 582
     Burns Tr., 1298:15-20
 583
     Burns Tr., 1298:24-1299:7
 584
     Burns Tr., 1299:11-1300:3
 585
     Burns Tr., 1300:7-1301:8
 586
     Burns Tr., 1301:9-1302:6
 587
     Baird Tr. 1055:13 - 1056:6 (use of force and MH training, but not how to identify signs and symptoms of mental
 illness; trained to refer people to mental health if they request it).
 588
     Baird Tr., 1073:13-22 (no other training for security how to work with people with mental illness or people exposed
 to prolonged segregation).
 589
     Exh. P-FFF-1, Pacholke Report at p.39.
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 595.    Inadequate communication between mental health staff and security staff creates a

 substantial risk of serious harm. Sec. Pacholke testified that as far back as the 1990’s there was a

 recognition that the number of people with mental health diagnosis in prison is really high.

 Training regarding recognizing signs and symptoms of mental health disorders, and training in

 when security staff needs to refer to mental health practitioners is important. Correctional officers

 are spending 24 hours a day with incarcerated people while the clinicians have a very limited time

 with the incarcerated population. Understanding the kinds of behaviors that need to be referred to

 mental health becomes very important because they spend so much time around this population. It

 is especially important in a setting like extended lockdown where in his experience, a majority of

 suicide attempts and self-harm occur in restricted housing environments. The correctional officers

 are the first line of defense for ensuring that someone who needs a referral to a mental health

 professional gets one.590

 596.    When asked if the security staff not being able to specifically identify the signs and

 symptoms of mental illness such that they would be prompted to call mental health staff was a

 reflection of adequate training he responded that it was a reflection of inadequate training.591

 597.    Sec. Pacholke testified that Identifying signs and symptoms of mental illness so that

 security staff – at a minimum- can inform mental health staff that they're needed on the tier, would

 have been an expectation of his staff. He noted that this was an especially important aspect of

 training for the staff that worked in segregation units because it is the area in the prison where the

 most frequent acts of self-harm and/or suicide attempts happen. ACA standards contemplate that

 there is a need for specialized training in these units.592



 590
     Pacholke Tr., 2754:19-2755:18.
 591
     Pacholke Tr., 2758:19-2759:1.
 592
     Pacholke Tr., 2759:2-2759:20.
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 598.     Prisoners report the guards attempt to have prisoners give up their yard time.593

 599.     Dr. Haney testified that one of the consistent complaints from prisoners was that the

 meetings with Dr. Seal were not only infrequent and did not involve mental health treatment aside

 from medication management, but they were also non confidential.594

 600.     Prisoners told Dr. Haney that it would typically be Dr. Seal, Steve Hayden, and a

 correctional officer in the room when they were conducting a medication review.595

 601.     This meeting would be the time for a prisoner to express concerns they were having

 regarding their medication or other things and they did not feel comfortable doing that in front of

 a correctional officer.596

                   ix. Inadequate supervision of staff creates a substantial risk of serious harm.

 602.     There is simply no effort at meaningful staff or supervisor oversight at David Wade– at

 either the facility or the Department levels– which contributed substantially to the need for this

 litigation and Court intervention.

 603.     Warden Huff never gave Warden Dauzat a negative performance review.597 This is despite

 despite the fact that all treatment plans at David Wade were absolutely identical for years and

 contained no plans for treatment; despite there being no medication oversight or accounting for

 thousands of pills; despite the employment of a completely unqualified person to provide services

 (Mr. Adkins); and despite regular prisoner complaints about levels of care, inter alia.




 593
     McDowell Tr., 1013:17-1014:3 (A lot of the time the guards tried to get you to sell your yard).
 594
     Haney Tr. 2967:25-2968:11.
 595
     Haney Tr. 2969:15-18.
 596
     Haney Tr. 2969:18-2970:1
 597
     Huff Tr., 1956:4-6
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  604.    Warden Dauzat's performance managing the mental health services at DWCC was only

  reviewed by DPS&C as part of the C-05 audit.598 These audits took place annually.599

  605.    The C-05 audits of DWCC’s mental health program never turned up any results that were

  out of the ordinary.600

  606.    These audits were conducted by social workers and counselors from other DPS&C

  institutions.601 There were no evaluators from outside of the DPS&C.602

  607.    Warden Huff used the cursory DPSC audits to determine Dauzat's performance.603

  608.    Huff didn't prepare documents for the internal review of mental health, only Dauzat did.604

  609.    The only performance metric Warden Huff used to supervise Dr. Seal’s performance under

  his contract was that he came to the facility twice per month.605

  610.    Despite being Warden Dauzat’s supervisor, Warden Huff had no idea that everyone on the

  south compound received an identical mental health treatment plan.606

  611.    Even following the filing of this lawsuit, Huff took no steps to evaluate whether each

  patient received an individualized treatment plan.607

  612.    Warden Huff does not believe that giving every person an identical treatment plan would

  violate policy.608 Yet she agrees that DPSC and DWCC policy require that plans be




  598
      Huff Tr., 1957:21-1958:10
  599
      Huff Tr., 1958:11-15
  600
      Huff Tr., 1958:6-10
  601
      Huff Tr., 1958:16-24
  602
      Huff Tr., 1958:25-1959:8
  603
      Huff Tr., 1959:16-21
  604
      Huff Tr., 1959:22-1960:4
  605
      Huff Tr., 1966:10-14
  606
      Huff Tr., 1967:2-5
  607
      Huff Tr., 1969:10-23
  608
      Huff Tr., 1968:3-14
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  individualized609 and she was the individual responsible at the facility level for supervising the

  mental health program.

  613.     Secretary LeBlanc testified that David Wade cannot house people categorized as Level of

  Care 2, defined as people who are not considered clinically stable. He is incorrect, as DPSC policy

  provides that a LOC 2 may be housed at a DPSC facility.610 In fact, the Department’s own review

  form showed a LOC 2F at DWCC.611 This distinction matters, because LOC 2 individuals need

  intensive care. The Secretary needs to know how many specialized beds he needs to provide

  appropriate services and care throughout the Department, and to properly allocate resources.

  614.     Similarly, Secretary LeBlanc testified that it is Seth Smith’s responsibility to review the

  annual mental health reviews conducted of DPSC facilities.612

  615.     Supervisors of both the mental health staff and the security staff see no issue with the

  paperwork produced by their supervisees, despite glaring deficiencies, discrepancies, inaccurate

  and inadequate information.

  616.     Despite the glaring lack of detail or individualization in her progress notes, Warden

  Dauzat testified her opinion is that these notes are all in compliance with policy and she

  does not see an issue with them.613

  617.     In fact, many of Steve Hayden’s progress notes had a recurring typographical error.

  Mr. Hayden testified that his “notes” section did not auto-fill, but the typo showed up

  repeatedly in batches of certain months.614


  609
      Huff Tr., 1966:15-23
  610
      Exh. J-7, LOC 2 “All DOC facilities.”
  611
      See Exh. P-J-4.
  612
      LeBlanc Tr. 2588:23-2589:8.
  613
      Dauzat Tr., 3321:23 - 3322:9 (said she was present for this testimony and these exhibits, her opinion that this is all
  done in compliance with the policy; see Exh. D12).
  614
      Exh. D73, pg. 21-22; Hayden Tr., 3759:23 - 3761:3 (same typo in assessment line eliminating space between “in”
  and “minimal”); Exh. D74, pg. 39; Hayden Tr., 3761:16-24 (same typo); Exh. D74, pg. 46; Hayden Tr., 3762:-15
  (same typo, Hayden tries to call it a trend in writing); Exh. P-WW-26; Hayden Tr., 3762:24 - 3763:10 (same typo).
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  618.    This indicates that Mr. Hayden was copy-pasting his notes between patients rather

  than providing individualized evaluation.615

  619.    There is no indication that this rote recitation was even noticed by the supervisors

  that are supposed to be monitoring the care provided by Hayden, who is an unlicensed case

  worker.

  620.    These forms are the only documents in an individual’s case file that track a

  prisoner’s mental health, the lack of detail about the actual mental health status of and

  individual prevents the handoff of information on which Dr. Seal, any supervisor, the

  Department of Corrections or any other healthcare provider can ascertain a proper course

  of care.616

  621.    Correctional supervision is not appropriate for pill pass officers, they should be

  under nursing and accountable if patients are not receiving their medications.617

  622.    DWCC’s supervisory systems for tracking medication inventory are inadequate, it

  should detect a mismatch and that the person is not getting their meds.618

  623.    DWCC does not adequately supervise its security staff to prevent disproportionate

  or avoidable uses of force against people with mental illness. For instance, Col. Coleman

  did not have access to any list of people with serious mental illness and mistakenly believed

  that the heat duty status roster was the list of all people with serious mental illness.619

  624.    Col. Coleman was also unable to define the term “serious mental illness” in the

  context of his job duties.620


  615
      Hayden Tr., 3763:11-24 (Hayden then admits that he does copy and paste notes for the assessment line for
  different prisoners).
  616
      Burns Tr., 1318:15-24
  617
      Burns Tr., 1403:5-1404:2
  618
      Burns Tr., 1405:1-23
  619
      Coleman Tr., 1649:15-1650:13
  620
      Coleman Tr., 1632:19-25
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  625.     Col. Coleman never once investigated a use of strip cell status.621

  626.     Col. Coleman did not know what the phrase “in crisis” meant in relation to mental

  health.622

  627.     Col. Coleman was unable to recall a single use of force against a person with mental

  illness.623 This is despite the fact that all unusual occurrence reports for the south compound

  are supposed to run up the chain of command to him.624 And despite the fact that 40% of

  the people on the south compound have a mental illness.625

  628.     Col. Coleman was unable to answer whether the lieutenants, captains, and majors

  he supervises were all supposed to review the log books as part of their duties.626

  629.     It is unclear how supervisors ascertain whether staff are making rounds on the tiers.

  630.     While there is a swipe card system on the tiers designed to keep track of the staff

  that come on and off of the tiers, staff do not consistently utilize this system.627

  631.     Staff entry onto and off of tiers is required by policy to be entered in the log

  books.628

  632.     Defendants’ expert Dr. Thompson concurred that in order to evaluate whether

  rounds are occurring in a facility, one consults the logbooks. He noted presence on the tier

  as important to relationship building.629




  621
      Coleman Tr., 1630:14-16
  622
      Coleman Tr., 1619:13-1620:20.
  623
      Coleman Tr., 1613:19-22.
  624
      Coleman Tr., 1566:24 - 1567:22; Nail Tr., 1782:8-25.
  625
      Burns Tr., 1427:23-1428:1; Thompson Tr., 4070:13-17
  626
      Coleman Tr., 1560:19-24
  627
      Nail Tr., 1768:17-19 (security officers do not often use the swipe card system); Hayden Tr. 530:1-7 (has badge,
  does not swipe card on tiers); Id 532:21-24 (prior to March 2020, didn't really use much at all); Dauzat Tr. 760:13-20
  (could check card swipe for rounds, but does not).
  628
      Coleman Tr., 1562:11-13; Nail Tr., 1742:12-1744:21; Exh. P-JJJ-23 Post Orders - Lockdown Cellblock Key
  Control Officer.
  629
      Thompson Tr., 4046:7-15.
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  633.     Col. Nail testified that the way that one ascertains whether rounds are made is by

  consulting the logs. At trial, once it was made obvious that the tier logs did not illustrate

  the presence of the pill pass officers on the tier, the testimony from DWCC staff persons

  was that the presence of officers on the tiers is documented in the key logbook.630

                    x. Lack of supervision of the men held in Extended Lockdown creates a risk of
                    harm

  634.     Prisoners housed on extended lockdown are only regularly evaluated for mental health

  needs every 90 days. Those evaluations are called “interviews with a segregated inmate.” 631

  635.     Mental Health staff do not otherwise conduct regular or effective “rounds” on the tiers to

  check on people held in extended lockdown, creating a substantial risk of serious harm. 632

  636.     In a correctional setting, regular rounds are a means of monitoring people for mental illness

  and should take place weekly.633

  637.     The purpose of rounds is to evaluate mental health needs. As Dr. Burns testified, rounds

  are a means of surveillance– not treatment.634

  638.     Rounds should involve a staff person walking through each tier, once per week, stopping

  at each cell, making verbal contact, looking at the condition of the person and the cell, and making

  note of the contact.635



  630
      Nail Tr., 1765:13-1767:14
  631
      Exh. J7 - 2019-2-13 - EPM 03-02-003 - Mental Health Program at p.8-9; Hayden Tr. 324:16-20 (segregation
  interviews every 90 days); Id, 487:5-10 (segregation interview done every 90 days for everyone in segregation); Id,
  487:14 - 488:13 (says 90 days from when they're put in, not the March, June, Sept, Dec schedule; computer says when
  people ready); Robinson Tr. 671:24 - 672:4 (does segregation interviews and completes form); Id, 689:9-16
  (completes every 90 days, Mar, Jun, Sept, Dec schedule); Id, 689:17-24 (segregation interview completed for
  everyone in N1-N4 regardless of custody status).
  632
      Exh. P-BBBB-1 - Deposition of Doucet, 43:11-24 (mental health staff don’t come check on people enough, they’re
  barely there, it means there is no mental health treatment); Id, 44:2-7 (the only time mental health is on the tier is to
  check on people who are on suicide watch); Exh. P-YYY-1 - Deposition Thomas, 18:11-17 (did not see mental health
  staff on extended lockdown).
  633
      Burns Tr., 1304:10-18
  634
      Burns Tr, 1310:8-9; Dauzat Tr., 3355:11 - 3356:3 (purpose of rounds is not for treatment it's for access).
  635
      Burns Tr. 1310:9-17
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  639.    The purpose of rounds is to look for signs of difficulty due to stresses of restrictive housing

  to intervene sooner than later.636

  640.    If a person requests services from mental health staff on rounds, it must be documented

  and followed up on.637

  641.    Rounds must be documented to be complete, there are many reasonable ways to create this

  documentation.638 DWCC does not use any of these methods of documenting rounds.639

  642.    Defense expert Dr. Thompson opined that rounds should be checked by supervisors by

  consulting a tier log.640

  643.    Dr. Burns’ review of progress notes did not indicate regular rounds are occurring at

  DWCC.641

  644.    No other documentation unique to rounds exists in records from DWCC.642

  645.    No other evidence of rounds existed in the records of individual patients at DWCC.643

  646.    People housed in N1-N4 did not report regular rounds.644

  647.    MH staff doing rounds need to be able to recognize signs and symptoms of mental

  illness.645

  648.    Failure to properly conduct rounds poses a serious risk that problems will be identified late

  and that mental health staff will only discover a problem exists after an act of self-harm.646




  636
      Burns Tr., 1310:24-1311:5
  637
      Burns Tr., 1310:18-22
  638
      Burns Tr., 1311:7-1312:8
  639
      Burns Tr., 1312:9-12
  640
      Thompson Tr., 4047:10-16.
  641
      Burns Tr., 1312:17-19
  642
      Burns Tr., 1313:6-10
  643
      Burns Tr., 1313:22-1314:1
  644
      Burns Tr., 1314:1-7
  645
      Burns Tr., 1313:14-21
  646
      Burns Tr., 1314:14-1315:4
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  649.    Rounds need to be supplemented by periodic assessments, which go beyond brief contact

  and go into detail in a structured way, in a confidential setting.647

  650.    DWCC staff conduct the “interviews with segregated inmates” at cell-front and people

  don't even know that the interaction is any form of assessment.648

  651.    Interviews must be documented in writing;649 DWCC does not properly document the

  interviews.650

  652.    These periodic assessment interviews should take 10-15 minutes.651

  653.    These notes near-universally indicate that everything is within normal limits and that the

  person engaged in minimal conversation, even for people with serious illnesses.652

  654.    Lack of periodic screening means that people who need care don't get it, and they worsen,

  receive write-ups, or experience suicidal behavior while left untreated.653

  655.    The interview note for Mr. Huber doesn't provide any information about his condition or

  treatment.654

  656.    Huber's note includes many things that can only be assessed through conversation but

  indicates that he refused conversation.655

  657.    Huber's progress note with Dr. Seal from the same day indicates active hallucinations.656

  658.    Hayden was not aware of basic conventions regarding assessment of orientation.657




  647
      Burns Tr., 1315:14-1317:6
  648
      Burns Tr., 1317:10-20
  649
      Burns Tr., 1318:4-11
  650
      Burns Tr., 1318:15-1319:25
  651
      Burns Tr., 1320:1-6
  652
      Burns Tr., 1326:20-1327:7; 1327:25-1328:6
  653
      Burns Tr., 1329:3-1330:6
  654
      Burns Tr., 1322:11-15
  655
      Burns Tr., 1322:19-1323:8
  656
      Burns Tr., 1325:18-24
  657
      Burns Tr., 1323:13-1324:6
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  659.     Mr. Hayden only sees patients four days a week, Monday through Thursday between 7:00

  am and 5:30 pm.658

  660.     Mr. Hayden does not document rounds.659

  661.     There are no documents created by mental health staff documenting that they have made

  rounds unless there is substantial contact with an individual that causes a progress note to be

  completed.660

  662.     Mr. Hayden is primarily responsible for receiving and responding to all referrals

  originating from the South Compound, and those referrals are not tracked or reviewed to ensure

  the individuals needing mental health intervention are seen and their issues addressed.661

  663.     Plaintiffs report that they do not regularly see mental health staff on the tiers other than for

  the purpose of evaluating individuals who are on “suicide watch,” or that staff presence on tiers is

  cursory.662

  664.     Interactions during rounds lack privacy because they occur at cell front, and prisoners have

  no way to communicate confidentially with mental health staff.663

  665.     Defendant Hayden is ineffective and alienating; people either feel unheard, or, if

  they do speak to him, find him not responsive to their needs.664


  658
      Hayden Tr. 321:8-11 (work schedule is Mon-Thurs 7-5:30).
  659
      Hayden Tr. 323:25 - 324-1 (not documenting these weekly rounds anywhere).
  660
      Hayden Tr. 324:5-10 (says may create mental health progress note, but does not document that rounds were
  completed).
  661
      Hayden Tr., 527:12-18 (receives all mental health referrals; approx 2 a week); Id, 528:16-19 (refreshing
  recollection); Dauzat Tr., 763:6-13 (does not keep track of MH referrals or how many times clinician is contacted).
  662
      Exh. P-BBBB-1 - Deposition of Cody Doucet 44:3-4 (“The only time they come to see people is when people are
  on suicide watch.”); Exh. P-YYY-4 - Deposition of Brooks, 36:15-24 (only saw mental health on tier every day talking
  to people on suicide watch; he was never on suicide watch so they didn’t talk to him).
  663
      Hayden Tr. 528:20-23 (typically meet with people at cellfront); Turner Tr., 68:9-15 (made requests for confidential
  visit with mental health, never had one); Id, 91:8 - 92:1 (Hayden & Robinson on tier, never confidential visit, sees
  cellfront); Moran Tr., 207:2-14 (flagged Robinson down to ask her for mental health help, conversation took place
  cellfront).
  664
      Dillon Tr. 263:12 - 265:24 (when arrived in 2017, tried to talk to Hayden; Hayden was disrespectful to him, made
  him not want to speak to Hayden. Hayden treated the interaction like a joke, didn't take Dillon seriously); Moran Tr.
  206:1-22 (challenging to reach out to ask for mental health help, made it harder; a lot of sadness, feeling like nobody
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  666.     If people request confidential visits with mental health, they are denied.665

  667.     Mental health staff use the information shared with them during rounds or other

  cell front visits to mock prisoners, rendering rounds an ineffective and unavailable means

  of accessing mental health services, at great risk of harm to the men housed at DWCC.666

  668.     The forms used to document mental health contact with prisoners, “Interview with

  a Segregated Inmate” and “Mental Health Progress notes,” are completed with virtually no

  level of detail.667

  669.     The segregation interviews occur at cell font by mental health staff.668

  670.     The purpose of the segregation interviews is for assessment and access, not

  treatment.669

  671.     The purpose of the segregation interviews is to evaluate each individual’s level of

  functioning who remains housed in segregation.670

  672.     However, staff are not reviewing prior segregation interview notes before

  completing the next round of 90 day notes.671




  understands what he's going through, fear of talking to someone because who wants to hear it); Adams Tr. 970:7 -
  971:2 (didn't get help; he'd be ridiculed for trying to get help by Hayden; he'd be told to kill himself and get it over
  with); Id, 971:3-8 (Hayden's ridicule made him feel discouraged, hopeless, helpless; wanted to kill himself to get it
  over with).
  665
      Turner Tr. 108:4-8 (all the times he asked for confidential setting, never happened); Solomon Tr. 610:3-24 (if
  mental health do respond to sick call, they only talk to you cell front which isn't confidential; uncomfortable talking
  in front of security and other prisoners).
  666
      Solomon Tr. 610:3-24 (does not feel comfortable talking to mental health because they only come cellfront, whole
  tier and guard listening, majority of problems are with those people. "how am I supposed to talk whenever everybody
  is listening"); Id 612:6-18 (Hayden telling people he was a crack baby made him not want to talk to Hayden, no
  confidentiality); Id 611:17 - 612:5 (Hayden told the tier he was a crack baby).
  667
      Robinson Tr., 682:25 - 683:6 (completes prog note or seg interview form every MH interaction with a person); Id,
  684:3-6 (makes notes on notepad with person, transfers to prog note later).
  668
      Robinson Tr., 692:3-5 (segregation interviews are at cellfront).
  669
      Dauzat Tr. 3357:5-8 (seg interviews are for assessment and access); Id, 3357:18-19 (it is not treatment).
  670
      Hayden Tr., 488:15-24 (purpose is to evaluate individual level of functioning; problematic when someone loses it).
  671
      Hayden Tr., 488:25 - 489:9 (says it depends on individual, sometimes reviews records before seg interview); Id,
  490:6-23 (Impeached prior statement; does not review); Robinson Tr., 691:3-10 (does not review prior seg interviews
  before completing new ones. MH database does not include seg interview info).
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  673.     The segregation interview notes are not completed contemporaneously with the

  visit, but are instead completed all at once after the fact.672

  674.     Despite this, virtually all segregation interview notes are universally marked

  “WNL”, or within normal limits, for all people in all areas and all assessment notes at the

  end are the same.673

  675.     Even in instances where a mental health progress note was completed by Mr.

  Hayden due to an individual’s segregation exceeding 30 days, the note offers no detail and

  no insight as to what the individual’s issue was or what the individual was experiencing to

  warrant a mental health contact note.674

  676.     In fact, Mr. Hayden’s understanding of when the initial segregation interview

  should take place differs from both policy and other mental health staff understanding that

  it should be after an individual has been in segregation for 30 days, not when an individual

  is sentenced to be in segregation for 30 days.675

                    xi. Security practices at DWCC violate the generally accepted practices
                    in the correctional field, creating a substantial risk of serious harm.

  677.     Sec. Dan Pacholke, testified that DWCC’s policy of removing the mattresses of people

  who are on Strip Cell status from 9:00pm to 5:00am does not comport with generally accepted


  672
      Robinson Tr., 691:15 - 692:2 (makes notes at time, completes form later; sometimes completes them next day b/c
  alot of forms); Hayden Tr., 490:24 - 491:3 (does not complete form contemporaneously); Id, 491:4-6 (makes notes on
  a notepad).
  673
      Exh. P-OOO-20 - 43 - Review of 23 notes, all WNL, all same note; Hayden Tr., 491:7 - 512:17 (walked through
  all 23 notes); Exh. P-OOO-47 - 66 - Segregation Interview Notes; Robinson Tr., 696:17 - 711:24 (walked through all
  seg interviews; all WNL, all exact same note).
  674
      Exh. P-RR-7 - mental health progress note; Hayden Tr., 514:14-22 (review of P-RR-7); Id, 516:6-22 (review of P-
  RR-7; cannot tell what issue was); Exh. P-PP-51-52 - mental health progress note; Hayden Tr., 517:10 - 519:6 (review
  of note, cannot determine issue); Exh. P-AAA-70 - mental health progress note; Hayden Tr., 520:1-12 (review of note,
  cannot determine issue); Exh. P-W-18 - mental health progress note; Hayden Tr., 521:4-16 (review of note, cannot
  determine issue); Exh. P-DD-11 - mental health progress note; Hayden Tr., 522:2-14 (review of note, cannot determine
  issue).
  675
      Hayden Tr., 514:23 - 516:5 (says the note is not b/c someone been in segregation for 30 days, but seen b/c sentenced
  to a time that will be 30 days or more); Robinson Tr., 690:5-8 (states that Hayden completes after the first 30 days a
  person has been in segregation).
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  correctional practices. In fact, Sec. Pacholke said that there is nothing he could think of in his

  experience that would make this a legitimate correctional practice.676

  678.    Sec. Pacholke testified that based on the ACA standards, and his extensive experience

  touring prisons with a focus on maximum custody housing the generally accepted practice around

  mattresses and bedding for prisoners in restrictive housing is that that they have, bedding and

  blankets consistent with the general population and there are no time caveats or restrictions placed

  on that other than perhaps if you're on suicide watch and you may have to deviate from standard

  issue mattresses and blankets to ones that are designed to be destruction resistant but still provide

  you a mat to lay on and a blanket to use.677

  679.    Rules like those at DWCC, in Sec. Pacholke’s opinion, serve no penological purpose

  except to punish the prisoner.678

  680.    The only exception to the generally accepted practice that the removal of bedding for most

  of the day is when a prisoner is on suicide watch. If that were the case in the prisons he oversaw,

  Sec. Pacholke would give them more of a specially designed mattress and blanket and clothing

  that was designed to be tear resistant and designed not to be able to be used as a device to hang

  yourself.679

  681.    The accepted practice around conditions of confinement in disciplinary detention should

  mirror those in general population as much as possible.680

  682.    The ACA’s guidance around the conditions of confinement for people who are held in

  disciplinary detention would include things like meals of same quality as the general population.




  676
      Pacholke Tr. 2639:1-5.
  677
      Pacholke Tr. 2708:9-2709:21.
  678
      Pacholke Tr. 2709:19-21.
  679
      Pacholke Tr. 2709:14-19.
  680
      Pacholke Tr. 2706:13-18.
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  They're going to have access to a climate-controlled cell that provides appropriate heat or cooling

  depending on the outside temperature. There's a certain square foot allotment that they're going to

  have. They have, you know, a right to a mattress and linens and clothing in order to provide

  protection from the elements and, also, garments that are not humiliating in their nature. They're

  going to provide access to outdoor recreation, access to medications, access to showering on a

  routine basis, and certainly access to all forms of health care and mental health services.681

  683.       Sec. Pacholke testified that based on his experience touring prisons in 13 states that it’s a

  widely accepted practice to keep prisoners connected to their family. One of the ways the prison

  can keep a prisoner connected with their family is to provide access to the phone.

  684.       Sec. Pacholke testified that the generally accepted correctional practice regarding access

  to the phone is that people have daily access because of the importance of having a support system,

  someone that wants to see them successful. It's proven to be very effective in re-entry in the sense

  of having family contact and certainly in an extended lockdown unit. I mean, here is a family

  member or loved one that is going to want you to be successful so they're going, to a certain degree,

  advocate. So, telephone access is usually daily, five days a week.682

                     xii. Severe Isolation Creates a Substantial Risk of Serious Harm

  685.       Dr. Haney testified that there are several negative effects of solitary confinement. The

  complaints and the harmful effects cluster in certain areas of a person’s functioning. There are

  effects on the emotional well-being of a person, the behavioral health of a person, cognitive and

  intellectual functioning of a person, it can be destabilizing to the identity of a person, and can




  681
        Pacholke Tr. 2706:13-2707:11.
  682
        Pacholke Tr. 2710:4-21.
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  create long term distance between the person and others – even after they are released from solitary

  confinement.683

  686.    Possibly the most common is the effects on a person’s emotional well-being. Solitary

  confinement often leads to depression, to feelings of hopelessness, and meaninglessness.

  Sometimes it can lead to mood swings where people lose control of their emotional register; but

  most of the time, even in those cycles, people tend to set along the sadness part of the cycle such

  that people report feeling sad a lot. Depression is a widespread phenomenon and it’s a widely

  reported symptom of people who are in solitary confinement.684

  687.    Dr. Haney testified that the other area that is sometimes affected by solitary confinement

  is behavioral. He said, “People report being irritable, finding it difficult to control themselves, to

  control their anger. Sometimes they strike out over some little thing or get angry at someone over

  some little thing, could be at an officer, could be at another prisoner, and then in retrospect realize

  it was something insignificant and something that they ordinarily wouldn't react to. But the stress

  and the pressure and the deprivation of being in solitary confinement affects them, affects them

  behaviorally.”685

  688.    There can also be cognitive and intellectual changes that can take place as a result of

  solitary confinement. Many people report having a hard time remembering things, or even more

  frequently they report having a difficult time concentrating. He also described a related cognitive

  process, “sometimes called ruminations, somebody not being able to stop thinking about

  something. So, on the one hand sometimes they find it difficult to concentrate on things they want

  to concentrate on, but at the same time they may find it impossible not to think about something



  683
      Haney Tr. 2874:18-2878:10.
  684
      Haney Tr. 2874:18-2875:9.
  685
      Haney Tr. 2875:12-20.
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  that they don't want to think about; and this kind of rumination can also become kind of an

  obsession and they find themselves not able to think about or function except inside of this thought

  or inside of these thoughts that they're having.”686

  689.        Solitary confinement can be destabilizing to a person’s sense of identity and who they are

  in the world. Because there are very few opportunities for meaningful social interaction to take

  place, the conditions become destabilizing to people; especially for people who have pre-existing

  mental health conditions. Dr. Haney explained, “[p]eople who have a relatively tenuous grasp of

  reality may find that they have an even less solid grasp of that reality because they've lost their

  anchoring, they've lost their connection to other people which they knew how to rely on to keep

  them stabilized.” He also testified that in the case of people who are already mentally ill,

  decompensation can lead to a more serious deterioration of their mental state, and may result in

  the reactivation of people’s symptoms that were previously in remission.687

  690.       One of the negative effects of long-term solitary confinement is the creation of more

  distance between people. He explained by saying, “People who live in solitary confinement are

  forced to become accustomed to living in an environment where they don't have normal,

  meaningful social interactions with others. And sometimes over time what happens is the contact

  with other people becomes anxiety arousing because they have so little of it, and they're made

  anxious in the presence of other people. I experience this sometimes myself when I'm interviewing

  people in solitary confinement. They're anxious about talking to someone. They're anxious about

  coming out of their cells and sitting down across from someone at a table because it's something

  they've not done for a long period of time. And if they're in solitary confinement for a long period

  of time, then when they're ultimately released from solitary confinement that social anxiety can,


  686
        Haney Tr. 2875:21-2876:14.
  687
        Haney Tr. 2876:15-2877:14.
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  in extreme cases, become a form of social phobia. So they find themselves self-isolating because

  they're no longer comfortable around people, they've been denied the opportunity to be around

  people for so long.”688

  691.    There is a substantial risk of harm in housing people in solitary confinement.689

  692.    People with mental illnesses are more vulnerable to the negative consequences of solitary

  confinement.690

  693.    Dr. Haney explained that “Solitary confinement is a potentially very dangerous place to

  put people because of the psychological consequences that it can have on them.”691

  694.    Acknowledging the risk to prisoners with a mental health condition Sec. Pacholke testified

  that the inclusion of mental health input is a necessary component of classification reviews,

  certainly in long term lock down units.692

  695.    Suicide and self-harm are much more likely to occur in solitary confinement units than

  anywhere else in the prison.693

  696.    Dr. Haney testified that all of the ways in which people can and many do deteriorate in

  solitary confinement are harmful to them and to their well-being. This deterioration may carry over

  to their attempts to function in a world outside of solitary confinement, whether a general prison

  population or outside of prison even. In extreme cases it can lead people to engage in self-harm or,

  in fact, to take their own lives.694

  697.    He explained that the increased suicidality and acts of self-harm are in part because people

  in solitary confinement have the opportunity to do things that they would not have an opportunity


  688
      Haney Tr. 2877:15-2878:10.
  689
      Haney Tr. 2879:21-23.
  690
      Haney Tr. 2879:18-20.
  691
      Haney Tr. 2880:1-3.
  692
      Pacholke Tr. 2702:2-5.
  693
      Haney Tr. 2880:11-13.
  694
      Haney Tr. 2880:4-10.
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  to do to themselves if they were around other people. There is also a consensus among researchers

  that study this phenomenon that people who are in solitary confinement are under much greater

  stress than those who are not. Sometimes stress and hopelessness become overwhelming and out

  of desperation people take their own lives; and they do so more often in solitary confinement than

  they do elsewhere.695

  698.     Dr. Haney explained that researchers have found that social isolation is even more

  dangerous than previously understood to someone’s mental well-being and physical health than

  they previously thought because many of the people who are isolated do not talk about it and do

  not recognize the medical changes that are taking place in them as a result of their social isolation.

  This reaction to isolation is amplified in a prison setting because prisoners are reluctant to express

  vulnerability and acknowledge weakness. Prisoners oftentimes are not eager to share with you

  what it is they are going through or what they are experiencing.696

  699.    Defense expert Mr. Upchurch believes that prisoners who are placed in solitary

  confinement should be assessed in terms of the potential harm that is believed to exist for prisoners

  housed there, especially for mentally ill prisoners.697

  700.    Solitary confinement can have negative effects on a person’s mental health from a clinical

  perspective.698

  701.    Dr. Burns’ opinion to this effect is supported by the American Correctional Association,699

  as well as the APA, HCCHC, CLA, and ASCA.700




  695
      Haney Tr. 2880:13-24.
  696
      Haney Tr. 2878:11-2879:17.
  697
      Upchurch Tr. 3212:13-20.
  698
      Burns Tr., 1265:20-1266:19
  699
      Burns Tr., 1266:20-1267:19.
  700
      Burns Tr., 1267:23-1268:18.
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  702.    There is consensus that people with mental illness should not be held in restrictive

  housing.701

  703.    Mr. Upchurch, the Defendants’ security expert believes that there is a consensus that

  solitary confinement can be harmful for those with a pre-existing significant mental illness.702

  704.    This conclusion is consistent with Dr. Burns’ professional experience from Ohio.703

  705.    Isolation, enforced idleness, lack of control over intense stimuli, strict security measures,

  and duration affect the impact of restrictive housing on mental health.704

                   xiii. Research shows that long term isolation creates a substantial risk of serious
                   harm and does not comport with the evolving standards of decency.

  706.    Dr. Haney testified that the National Academy of Sciences in a 2014 report talked about

  how the overwhelming majority of studies document the painful, potentially damaging nature of

  long-term prison isolation. They also made a number of statements about the inappropriateness of

  putting vulnerable populations, including those with a mental illness in solitary confinement. Their

  report concluded that lengthy periods of isolation or administrative segregation can place prisoners

  at risk of significant psychological harm.705

  707.    The American Psychiatric Association issued a position statement in 2012 in which they

  advise against ever keeping a person who is suffering from serious mental illness in solitary

  confinement for a period of longer than four weeks.706

  708.    Dr. Haney testified that the National Commission on Correctional Health Care, an

  organization of professional health care administrators who work in correctional settings, issued a




  701
      Burns Tr., 1268:19-1270:12.
  702
      Upchurch Tr. 3272:24-3274:8.
  703
      Burns Tr., 1270:13-1271:5.
  704
      Burns Tr., 1271:9-19.
  705
      Haney Tr. 2888:1-13.
  706
      Haney Tr. 2889:7-17.
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  position paper in 2016 outlining all of the problems that the researcher identified, the negative

  consequences or harmful effects of solitary confinement. This paper recommended that no one be

  kept in solitary confinement, as they defined it, for longer than 15 days and that a person who was

  seriously mentally ill should never be placed in solitary confinement because of the heightened

  risk of harm that vulnerable populations like the mentally ill experience in solitary confinement.707

  709.    Dr. Haney articulated that there is what he called, “a remarkable unanimity about the

  harmfulness of solitary confinement.” He testified that in their entirety, the organizations that he

  cited in his report as well as additional ones that he did not cite, have in the last 10 or 15 years

  reached almost identical conclusions about solitary confinement being a harmful practice; a

  practice whose use should be minimized, used only when absolutely necessary and restricted in

  time.708

  710.    Dr. Haney explained that some of the organizations that condemn the use of solitary

  confinement would put a time limit on its use. The United Nations says it should only be used for

  15 days. The National Commission on Correctional Health Care (NCCHC) also said that solitary

  confinement should not be used for more than 15 days. He said, “Some organizations have not put

  any particular time limit on it but have suggested that it should be done for the absolute minimum

  amount of time, again, because of the widespread recognized, scientifically documented harms of

  solitary confinement.”709

  711.    Dr. Haney testified that he would expect these statements from researchers to have a

  significant effect on the way prisons operate. He explained that in many instances they have, giving

  the example of the ACA, which has begun to modify its position on restrictive housing. Many



  707
      Haney Tr. 2889:18-2890:10.
  708
      Haney Tr. 2890:11-2891:2.
  709
      Haney Tr. 2891:3-10.
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  prison systems across the country, including the federal government, have initiated the process of

  evaluating their use of restrictive housing or solitary confinement to reduce the extent to which

  they use it.710

  712.    There are even a few states that have ceased using solitary confinement.711

  713.    Dr. Haney testified that there is a consensus that solitary confinement or isolation is

  harmful.712

  714.    He said that there has been research on the issue of solitary confinement that goes back a

  century and a half, that documents the negative or harmful effects of putting people in solitary

  confinement. For a period of time this research was one of the reasons the United States stopped

  using long-term solitary confinement, which used to be commonplace in American prisons. In the

  1970’s and 1980’s it began to be used with more frequency, this resulted in people once again

  researching the effects of solitary confinement again.713

  715.    Dr. Haney also testified that there is another body of research that relates directly to and

  works in conjunction with the body of research about the effects of solitary confinement. The study

  of the negative psychological effects of social isolation has grown in significance over the last

  three decades. These researchers, because they do not have to do their work within the confines of

  the prison system, have extensively documented the effects of social isolation to be not just painful

  but can also have very serious negative effects, damage, sometimes even damage which is

  permanent despite the fact that the social isolation is nowhere near as complete or severe or

  depriving as it exists in solitary confinement.714


  710
      Haney Tr. 2891:18-2892:5.
  711
      Haney Tr. 2893:4-6.
  712
      Haney Tr. 2872:17-21. Defendants challenge this position of Dr. Haney using the “Colorado Study.” It should be
  noted that even Defendants’ expert agreed that David Wade does not have as much programming as Colorado provided
  in their system during the study. Thompson Tr., 4059:21-4060:1, 4062:16-25.
  713
      Haney Tr. 2872:21-2873:15.
  714
      Haney Tr. 2873:16-2874:17.
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  716.    People are kept on extended lockdown long beyond the time when they are a threat to

  anyone else or to the security of the facility; men languish months and years on extended

  lockdown, despite known and obvious disabilities.

  717.    The continuous confinement reports detail the people who have been in restrictive housing

  for longer than 30 days.715

  718.    Warden Goodwin reviews the continuous confinement reports every month to approve

  them for correctness.716

  719.    For the purposes of the report “confinement” means a prisoner has been in restrictive

  housing for 30 days or longer.717

  720.    Damion Williams and Jackie Sampson were housed on extended lockdown continuously

  for almost 5 years.718

  721.    Fredrick Shepard was confined on extended lockdown for 10 months without a write up.719

  722.    Matthew Carrol was on extended lockdown from August of 2015 to October 2018. He did

  not have a write up between January 2018 and October 2018.720

  723.    Terran Johnson moved onto extended lockdown starting on November 13, 2017. He has

  not had a writeup since he has been on extended lockdown.721

  724.    Bryant Wilson went to extended lockdown on October 3, 2017 and had his last write up on

  May 9, 2017. He was still on extended lockdown in October 2018.722




  715
      Goodwin Tr. 2268:13-16.
  716
      Goodwin Tr. 2270:13-2271:5.
  717
      Goodwin Tr. 2272:8-10.
  718
      Goodwin Tr. 2274:8-16; Id. 2283:23-2284:7; 2287:7-16; Exh. P-I-01 Continuous Confinement Report for
  October 2018; Exh. P-I-04 Continuous Confinement Report for January 2017.
  719
      Goodwin Tr. 2275:7-19; Exh. P-I-01 Continuous Confinement Report for October 2018.
  720
      Goodwin Tr. 2275:20-2276:4; Exh. P-I-01 Continuous Confinement Report for October 2018.
  721
      Goodwin Tr. 2277:24-2278:9; Exh. P-I-01 Continuous Confinement Report for October 2018.
  722
      Goodwin Tr. 2279:3-12.
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  725.    Jerry Jones was on extended lockdown from December 2017 to October 2018 because

  Warden Goodwin reassigned him there. There was no rule violation listed on the continuous

  confinement report.723

  726.    Tyler Blanchard was on extended lockdown for just short of 3 years.724

                  xiv. The conditions of confinement on N1-N4 keep prisoners in a state of severe
                  isolation creating a substantial risk of harm

  727.    Dr. Haney testified that all four housing units at issue in this case meet his definition of

  solitary confinement.725

  728.    Dr. Haney testified that he defines solitary confinement as “generally understood to be an

  environment in which prisoners are kept in their cell upwards of 22 or more hours a day kept away

  from or not allowed to participate in the normal day-to-day routines that prisoners in general

  population participate in. That would be work programs, educational, vocational training. Instead

  of participating in those things, they spend virtually all of their time in their cells. Particularly,

  there are also other kinds of deprivations to which they are subjected. So usually in solitary

  confinement there are material deprivations. They have a limited amount of property, more limited

  than prisoners in general population. They may be limited in terms of the kinds of electronic

  devices that they have access to. So, in some prisons they're allowed to have a radio or a tablet but

  not a television. In other solitary confinement units, they're allowed to have all three of those

  things. In places like David Wade, they're not allowed to have any of those things.”726

  729.    Defendants’ expert Dr. John Thompson agreed with Dr. Haney in defining restrictive

  housing as 22+ hours per day in cell.727 Curiously, and despite having rendered an opinion in this


  723
      Goodwin Tr. 2280:4-20
  724
      Goodwin Tr. 2288:15-2289:5.
  725
      Haney Tr. 2871:9-11.
  726
      Haney Tr. 2867:15-2868:16; Exh. P-I-01 Continuous Confinement Report for October 2018.
  727
      Thompson Tr., 3973:18-23.
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  matter, Dr. Thompson could not answer questions about how many hours per day individuals

  spend in cell.728 Dr. Thompson encouraged the Court to add it up, and opined simply that if people

  were out of cell more than 14 hours per week it does not meet the definition of restrictive

  housing.729

  730.    The one 10-minute phone call per month for individuals on extended lockdown is not at a

  regularly scheduled time and thus there is no way to plan for a family member to be available for

  the phone call.730

  731.    Interactions between individuals are forbidden by the written policy of DWCC, and they

  may receive a disciplinary write-up for attempting to communicate with one another.731

  732.    People on extended lockdown, especially those in solitary confinement, are allowed very

  little human contact.732

  733.    Dr. Haney testified that the real issue lies in how much of the human contact is meaningful.

  He said that the real source of psychological distress and long-term damage is the lack of

  meaningful human contact, because “notwithstanding the sometimes-frequent number of

  incidental contact[s], visual contact with another human being, very rarely are those contacts

  meaningful, substantive. They don't, therefore, make up for the deprivation of human -- meaningful

  human social contact that we've learned over the last many years is psychologically harmful.”733




  728
      Thompson Tr., 4040:5-10
  729
      Thompson Tr., 4041:11-19.
  730
      Turner Tr. 50:13-20 (you submit a request for a call, they get to you whenever they have time. You don't have a
  particular time).
  731
      See Exh. P-JJJ-13 Offender Posted Policy #34, Sec. L.
  732
      Exh. P-W-24, 2019-4-3-Request For Medical Treatment - Brooks, Ronald; Exh. P-II-69, ARP DWCC-2017-0618
  - Francis, Shawn; Moran Tr., 198:7-9 (very little human contact); Solomon Tr., 598:9-25 (no contact with outside
  world, other than 1 10 min call a month, this led to No outside connection and a feeling of being cut off).
  733
      Haney Tr. 2870:24-2871:8.
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  734.     Most of the individuals serving disciplinary time on the lockdown units have been

  diagnosed with one or more mental illnesses.734

  735.     Quinten Moran testified that reaching out for mental health help was difficult for him which

  made staying in extended lockdown harder. He experienced significant amounts of sadness and

  the feeling that no one understood what he was going through. He feared speaking to someone

  about his experience because he felt as though no one at the prison wanted to hear about it.735

  736.     Christopher Solomon’s mental health was affected by the time he spent in extended

  lockdown. He said that being in a cell for that long caused him to go from being a strong person,

  with ambitions to someone who gave up on everything. He lost hope, lost faith and did not care

  about anything, including his family.736

  737.     Christopher Solomon described his time in extended lockdown as the worst part of his life;

  that it broke him mentally.737

  738.     Mr. Solomon described his time in extended lockdown as changing him; he used to be

  outgoing then he deteriorated to a point that he wanted to die and did not have purpose to exist.738

  739.     Mr. Willie Dillon testified that he attempted to speak with Mr. Steve Hayden about his

  mental health but Mr. Hayden was disrespectful to him. This encounter made Mr. Dillon not want

  to speak to Mr. Hayden. Mr. Hayden joked about the incident.739



  734
      Turner Tr., 83:11-20 (Diagnosed with the following mental illness, anxiety, depression, bipolar, schizoaffective);
  Brumfield Tr. 154:6-10 (Mr. Brumfield has never been diagnosed with a mental illness but describes his mental health
  as being rocky while he was at DWCC); Solomon Tr., 593:5-13 (Mr. Solomon was diagnosed with ADHD and PTSD;
  he had counseling and medicine before prison; Depakote, Concerta, Ritalin, and others); Adams Tr. 958:1-13 (in and
  out of MH hospitals; was diagnosed with mental illness before jail, unsure what); Id 958:22 - 959:18 (treated for
  antisocial personality disorder, PTST, psychosis, bipolar, schizophrenia, paranoia, MDD); McDowell Tr., 1030:12-17
  (diagnosed with depression and EHCC and given medications); Exh. P-YYY-4 - Deposition of Brooks, 19:1-2
  (diagnosed with post traumatic stress disorder).
  735
      Moran Tr., 206:1-22.
  736
      Solomon Tr., 597:20 - 598:8.
  737
      Solomon Tr. 599:1-14
  738
      Solomon Tr. 599:15 - 600:8
  739
      Dillon Tr., 263:12 - 265:24.
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  740.    Mr. Dillon’s mental health suffered while he was housed in extended lockdown causing

  instability.740

  741.    Mr. Corey Adams suffers from a Traumatic Brain Injury (TBI) that was the result of an

  attack. He finds it difficult to remember things, focus, and concentrate. His TBI interrupts his

  speech and affects his communication.741

  742.    Mr. Adams has been treated for antisocial personality disorder and Post Traumatic Stress

  Disorder (PTSD), psychosis, bipolar disorder, schizophrenia, paranoia, and major depressive

  disorder (MDD). He spent time in and out of mental health hospitals before he arrived at DWCC.742

  743.    Cody Doucet testified that he was housed in extended lockdown for “misbehaving”

  because he doesn’t “have it all there” and would “rub doo-doo” on himself among other mental

  health related behaviors.743

  744.    Da’Marcus Thomas testified that the conditions on lockdown felt cold and dark, he felt like

  he was all by himself and alone, and he felt like giving up and killing himself because he felt

  hopeless like he had nothing to look forward to.744

  745.    Mr. Thomas says the conditions on extended lockdown to the changes in his mental health

  because being in the cell for 23 hours a day, with nothing to occupy his mind and the loss of contact

  with his family, caused him to be depressed and anxious. 745

  746.    Dr. Haney testified about the effect of the conditions of confinement on incarcerated

  people’s mental health saying:


  740
      Id, 278:7-16 (mental state was a rollercoaster, up and down, unstable, uncertain, b/c you never know what's going
  to happen).
  741
      Adams Tr., 955:5-11 (has TBI because he was attacked); Id, 956:7-13 (hard to remember, focus, concentrate,
  interrupts speech and communication).
  742
      Adams Tr., 958:22 - 959:18 (Adams: treated for antisocial personality diagnosed with, PTSD, psychosis, bipolar,
  schizophrenia, paranoia, MDD)
  743
      Exh. P-BBBB-1 - Deposition of Doucet, 24:15-25.
  744
      Exh. P-YYY-1 - Deposition of Thomas, 18:24 - 19:7.
  745
      Exh. P-YYY-1 - Deposition of Thomas, 21:6 - 22:1.
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          [T]he conditions in the N1 through 4 units in the south compound are very
          severe and harsh. They constitute what is commonly understood to be
          solitary confinement or restrictive housing. The prisoners in those units are
          manifesting the signs and the symptoms that are consistent with exactly
          what the literature shows about the harmful effects of solitary confinement.
          They report suffering.
          They appear to be suffering. They report not just suffering in general but
          they identify a number of the dimensions of suffering and the dimensions
          of the harm that they're experiencing, again, consistent with what the
          literature tells us, my own research, and the research of other people
          happens to people when they're in severe conditions of solitary
          confinement.746

  747.    Men incarcerated at DWCC testified about the general conditions of the south compound.

  748.    Men testified at trial that the general conditions on the South Compound are unsanitary and

  filthy, with the reek of urine and feces, and so loud that it feels like a zoo.747

  749.    Da’Marcus Thomas testified that “extended lockdown is a place where it's darkness

  because you don't see no other inmate inside your cell” and you can only see the brick wall out the

  window.748

  750.     Damion Brumfield testified that he can see out the window and can see people in the cells

  two to three cells down the tier on the right side of his cell if they are standing right in front of

  their cell at the bars.749

  751.    Corey Adams testified that from his cell he could not see the sky, only a brick wall.750

  752.    Prisoners can see the wall across from their cells and depending on the cell they are

  assigned they might only be able to see the exterior wall of the neighboring housing building

  outside.751



  746
      Haney Tr. 2866:1-18.
  747
      Brumfield Tr. 155:1-4 (Extended lockdown at DWCC unsanitary, filthy; Smells and reeks of urine and feces, very
  loud, kind of like a zoo).
  748
      Exh. P-YYY-1 - Deposition of Thomas, 15:1-3.
  749
      Brumfield Tr. 155:8-17.
  750
      Adams Tr. 961:4-13.
  751
      Dillon Tr, 262:2-7.
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  753.     Several prisoners testified that the cells are stark, containing only a concrete bunk, possibly

  a metal bunk attached to the wall on top of that, a steel sink and toilet, a mirror, and a metal foot

  locker for storing items.752

  754.     Prisoners can hear other prisoners talking to themselves, screaming, and making noises.753

  755.     Mr. Thomas described “the only thing you have to listen to is the other inmates that's going

  crazy inside their cell,”754 people crying because nobody is there to help them, and people banging

  their heads on the wall.755

  756.     The tiers smell of urine and feces.756

  757.     In the winter the tiers are extremely cold.757



  752
      Turner Tr. 47:8-11 (The front of the bars was chicken wire. Inside the cell there was about two bunks, a toilet with
  a sink attached to it, and that was it.); Brumfield Tr., 157:10-12 (concrete rack, steel stool, steel toilet, mirror); Dillon
  Tr., 261:21-25 (6x9, toilet with connected sink, top bunk, bottom bunk, mattress when you can have one); Solomon
  Tr., 595:18-25 (cell is a box; sink attached to toilet, small green box for possessions, concrete bunk); Id. at 596:2-9
  (Solomon: cells in N4C do not have the green box, he had been housed there); Adams Tr. 960:7 - 961:13; Exh. P-
  YYY-1 - Deposition of Thomas, 15:18-24 (have a connected toilet and sink, a locker box, a top rack and a concrete
  slab, a mirror and a light).
  753
      Turner, Tr. 47:12-17 (Silence. The only thing you would hear is silence out of the pipe shims at the most. Silence
  coming from down the tier, the doors opening and guys in their cell talking or making noises or just talking to
  themselves, rapping, singing, stuff like that.); Brumfield Tr., 155:18 - 156:14 (you can hear everything on the tier,
  like in a can, echoes. a lot of screaming, everyone's conversation if they're loud enough; can hear tier behind through
  the vent on the wall); Id. at 170:3 - 171:3 (He could hear people hollering and screaming, all the people deemed MH
  people); Dillon Tr., 261:14-20 (Loud, people talking, a lot of guys talk to themselves); Testimony of Christopher
  Solomon, 596:10-16 (It’s Like the Amazon; a lot of screaming and hollering, no peace at all. Very loud; no peace of
  mind, no getting thoughts together, it's a rambling concert); Testimony of Corey Adams, 961:21 - 962:9 (Mostly quiet
  b/c if made noise then excessive force or punished; hear complaining about what other guys going through. It's sad,
  misery, pain); Exh. P-YYY-4 - Deposition of Brooks 12:8-18 (loud noises, people screaming).
  754
      Exh. P-YYY-1 - Deposition of Thomas, 15:4-5.
  755
      Exh. P-YYY-1 - Deposition of Thomas, 16:23 - 17:6.
  756
      Turner Tr. 47:18 - 48:2 (“If you get moved around there is different smells, but if get more up close to a sewage
  trap you always smell feces, sewers. If you were in one of the parts of the tier where you have these smells coming
  out of the pipes, depending on if you are closer to the sink that is backed up or the drain is cold or whatever, you know,
  you could get these smells of urine, feces, different smells coming out of the pipes that is like a rank order and stuff
  like that.”); Brumfield Tr., 156:23 - 157:7 (The usual, feces, body odor, urine; smelled like that b/c MH patients
  playing in it, MH people cells full of urine and feces); Dillon Tr., 261:9-13 (Smells like urine, feces, mace); \Solomon
  Tr., 596:17-24 (Smells like feces and urine, mace. Horrible); Adams Tr., 960:25 - 961:1 (Offensive cells, stink like
  lint, dirt, and trash); Id. at 962:10-11 (Stale, old, musty, like feces and urine).
  757
      Moran Tr., 199:9-19 (extremely cold; most of the time, windows open because they are broken so cannot keep cold
  air from coming in); Id. at 236:21-24 (if there were heaters, it was unknown to me); Id. at 236:25 - 237:5 (staff sit in
  the cold too, but they get to wear jackets, gloves and hats. They're bundled); McDowell Tr., 1010:22 - 1011:7
  (describing winter as inhumane because it’s cold enough to see your breath and not allowed blankets until after
  4:00pm).
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  758.     In the summer the tiers are incredibly hot.758

  759.     Prisoners will receive a write up if they remove the top half of their jumpsuits in the

  summer, no matter the temperature.759

  760.     Additional write ups lead to additional time on extended lockdown.760

  761.     Prisoners are not allowed contact visits with their family members while they are on

  extended lockdown, further minimizing the physical touch experienced by prisoners while they

  are on extended lockdown.761

  762.     Men testified at trial that the conditions on the South Compound were extremely stressful

  due to the lack of contact with people, the lack of contact with family, and the lack of recreation

  and the boredom combines to make some men feel like giving up and breeding thoughts of self-

  harm or suicide.762

  763.     Dr. Haney testified that when he conducted individual interviews with incarcerated people

  the conditions they spoke about at cell front interviews were even more evident. During the

  individual interviews Dr. Haney asked the interviewees about various kinds of symptoms or

  reactions to solitary confinement that people sometimes have and sometimes don't. A very high


  758
      Turner Tr., 48:8-12 (It’s excruciatingly hot, no air conditioning, no ice nothing given to help with the heat); Moran
  Tr., 199:20 - 200:12 (The prisoners have to get staff to pry the windows open that they fixed closed in the winter,
  extremely hot, no airflow); Id. at 239:8-24 (describes fans on tiers; round ones on walls, large box fans at ends of
  tier.); Id. at 240:1-11 (only given ice at lunch and dinner in summertime; not allowed to keep containers outside meal
  time, so nobody gets ice between meals; you use the water in the sink if it works); Adams Tr., 966:16 - 967:4 (heat,
  constantly sweating; fans on walls rotate back and forth, some cells get no air, they only blow hot air around);
  McDowell Tr. 1012:18 - 1013:11 (McDowell: so hot, sometimes got in boxers and put water on the floor to lay on it
  to try and cool; can't feel the fans, blowing hot air around making it hotter. Constant sweat, tried to get ice and couldn't);
  Exh. P-YYY-1 - Deposition of Thomas, 37:1-12 (tiers are very hot in the summer, hard to breathe hve to lay on the
  floor to try and get cool. People have died in the cells from heat stroke); Exh. P-YYY-4 - Deposition of Brooks, 14:1-
  25 (it was hot, only had ice with meals; would stick his feet in the toilet to cool down).
  759
      Moran Tr., 200:6-12 (have to keep jumpsuits on all day, completely) ; Solomon Tr., 661:22 - 662:11; 662:17-20
  (Would not wear jumpsuit in October 2019 b/c it was too hot)
  760
      Turner Tr., 48:19 - 49:6 (thick material, have to wear it pulled all the way up, will get write up if not)
  761
      Turner Tr., 109:110:10 [exhibit for OPP #35 which has the rule for
  762
      Moran Tr. 200:13 - 201:10 (extremely stressful; lack of contact, lack of recreation, lack of contact with family);
  Solomon Tr. 594:18 - 595:1 (complete change from North side, worst thing ever experienced; you go from wanting
  to do everything to better self to giving up); Adams Tr. 962:15-23 (miserable, boring, nothing to do; pace the floor
  wanting to hurt/kill self; rather be dead); Id 966:6 - 967:4 (describing what it felt like to be in cells; miserable).
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  number of them, some of them who reported to Dr. Haney that they were on the mental health

  caseload and some of whom weren't, reported suffering very high numbers of symptoms. They

  reported that in many instances they were experiencing frequently, or intensely. Dr. Haney testified

  that the interviewees acknowledged the symptoms and added comments about what it was like for

  them and what the despair that they were feeling and the desperation that they felt.763

  764.    Mr. Thomas testified “it's very lonely without no programs, no one trying to help you

  rehabilitate yourself. They strip everything from you in extended lockdown. It's basically just 23

  hours inside of your cell every day, each day, Monday through Sunday, without no one coming to

  talk to you. And that plays a big part in everything.”764

  765.    Defendants' lack of monitoring the tiers and cells creates a substantial risk of serious harm.

  766.    They key room officers who are the staff people responsible for monitoring who comes

  and goes from the tier, have several other duties in addition to monitoring the cameras.765 The key

  room officer is responsible for monitoring all of the audio from all four tiers in the building.766

  767.    The key officers do not watch the tier video, but claim to watch the footage from the cells

  that have cameras in them.767 Those cameras are only activated when someone is in the cell on

  suicide watch.768

  768.    It is not humanly possible for the key room officers to conduct all of the duties to which

  they are assigned and to monitor patients on suicide watch. As Dr. Burns testified the standard of

  care for someone who is at high risk of suicide is constant observation. Constant observation can

  be supplemented with – but cannot consist of– video cameras. Noel Dean’s suicide attempt



  763
      Haney Tr. 2894:19-2895:6.
  764
      Exh. P-YYY-1 - Deposition of Thomas, 15:6-12.
  765
      Nail Tr. 1696:8-1698:15
  766
      Goodwin Tr. 2229:2-11 and Exh. P-JJJ-23
  767
      Goodwin Tr. 2226:23 - 2227:11.
  768
      Id.
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  illustrates this point– the key room officer cannot monitor suicidal prisoners, and the

  administration of suicide watch at David Wade poses a substantial risk of harm.

  769.    Dr. Haney testified that some individuals were so distressed that they could not

  communicate with him as he toured the prison.769

                  xv. Dr. John Thompson's Opinions Have Inadequate Basis in Fact and Do Not
                  Address the Most Critical Harms for Class Members

  770.    Dr. Thompson’s report and testimony misused the basic terminology of restrictive housing

  at DWCC, calling all restrictive housing on N1-N4 “administrative segregation.”770

  771.    Dr. Thompson only interviewed people who were housed on the north compound, which

  added to the confusion and difficulty caused by his lack of first-hand familiarity with the terms in

  use at DWCC.771

  772.    Dr. Thompson claimed to have reviewed policies, but was unable to discuss any of the

  specific policies he reviewed in any detail.772

  773.    Dr. Thompson also did not review any master prison records, relying instead on

  characterizations of those records made by Warden Dauzat.773

  774.    Dr. Thompson conflated the needs for intake at jails and prisons,774 which have very

  different requirements.775

  775.    Dr. Thompson opined that the alarming conditions at DWCC were not problematic because

  “people can accommodate to a lot of situations. People in prison camps live forever in a prison

  camp environment where they actually are being tortured, because they accommodate to that



  769
      Haney Tr. 2895:9-14.
  770
      Thompson Tr., 3966:20-3969:21, 4017:13-4027:25, 4029:21-4034:13
  771
      Thompson Tr., 3969:22-1970:2.
  772
      Thompson Tr., 3977:3-24
  773
      Thompson Tr,. 4117:21-4118:3.
  774
      Thompson Tr., 4010:20-22.
  775
      Burns Tr., 4451:13-4452:24.
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  environment and they can survive in it.”776 This statement is utterly inconsistent with both natural

  human morality and the standards of decency in an evolving society.

  776.    Importantly, Dr. Thompson agreed with the central point that people with mental illness in

  restrictive housing need access to different programs and resources than others.777

  777.    Of prisoners interviewed by Dr. Thompson and his agents, 25% of the population at DWCC

  reported that the windows were being opened in the winter to punish people through extremes of

  cold.778 Of that same population, nearly one out of three reported that there is no form of mental

  health programming available there.779 Those same interviewees also widely reported a fear of

  punishment if they spoke to mental health requesting treatment.780 Dr. Thompson called his own

  credibility and candor into question by omitting all of this highly relevant information, collected

  himself, from his report.781

  778.    Dr. Thompson testified that patients at DWCC sometimes have a higher level of functional

  need than is reflected in their categorization as level of care 3.782

  779.    Dr. Thompson concurred that individual mental health needs must be balanced against

  security concerns in restrictive housing.783

  780.    Dr. Thompson concurred with Burns’ assessment of the prevalence of mental illness at

  DWCC and opined that “there was a high level of mental illness throughout the facility.”784




  776
      Thompson Tr., 4159:10-4160:9.
  777
      Thompson Tr., 4126:25-4128:1.
  778
      Thompson Tr., 4131:22-4132:5.
  779
      Thompson Tr., 4132:12-16.
  780
      Thompson Tr., 4133:21-4134:11.
  781
      Thompson Tr., 4134:12-4136:19
  782
      Thompson Tr., 4002:21-24.
  783
      Thompson Tr., 4119:24-4120:5.
  784
      Thompson Tr., 4028:1-22.
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  781.    Dr. Thompson agreed that mental health staff should be involved in any decision to place

  a person on strip cell status.785

  782.    Dr. Thompson relied heavily on the Colorado study, despite distinguishing factors such as

  the increased availability of programming in that penal system.786

  783.    Dr. Thompson opined that DWCC under-utilizes tools like mental health observation that

  are less restrictive and more pro-active than suicide watch.787

  784.    Dr. Thompson concurred that the facility does not have adequate psychiatrist-level

  staffing.788

  785.    Dr. Thompson opined that medication administration was adequately supervised based on

  an incorrect assumption that the process is supervised by the nursing staff rather than security.789

  Even so, he agreed that documentation of pill pass needs improvement.790

  786.    Dr. Thompson did not observe any individual counseling taking place at DWCC.791

  787.    Dr. Thompson alleges that rounds were taking place but admits that he didn’t actually

  review any tier log books to verify this fact.792

  788.    Dr. Thompson also opined that restraints should only be used for behavioral control in a

  medical setting.793

  789.    Dr. Thompson opined that treatment plans should be improved and individualized.794




  785
      Thompson Tr., 4057:19-4058:1.
  786
      Thompson Tr., 4059:21-4060:1, 4062:16-25.
  787
      Thompson Tr., 4049:21-4050:1, 4055:7-10.
  788
      Thompson Tr., 4078:17-4079:12.
  789
      Thompson Tr., 4087:9-17.
  790
      Thompson Tr., 4087:18-20.
  791
      Thompson Tr., 4114:21-24.
  792
      Thompson Tr., 4047:6-16.
  793
      Thompson Tr., 4089:5-14.
  794
      Thompson Tr., 4089:15-16.
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  790.     Dr. Thompson criticized the legibility of Dr. Seal’s notes,795 and opined that documentation

  was an area in which DWCC had fared “really poorly.”796


           VIII. DEFENDANTS DELIBERATE INDIFFERENCE TO THE RISK OF
                 SERIOUS HARM AT DWCC VIOLATES THE EIGHTH AMENDMENT
                 TO THE CONSTITUTION

        A. Defendants’ Policies and practices demonstrate Defendants’ knowledge of the risk of
           harm to class and subclass members.

  791.     Secretary James LeBlanc is responsible for establishing policy and practices related to

  mental health care services provided to prisoners in the custody of the Louisiana Department of

  Public Safety and Corrections.797

  792.     Warden Goodwin is responsible for establishing policy and practices at David Wade

  Correctional Center that are consistent with Department policies.798

  793.     The policies that implement department regulations are reflected in employee policy

  memorandums, employee post orders, offender posted policies, and all other policies at the

  institution.799

  794.     Post orders are job duty requirements for specific jobs; Warden Goodwin is responsible for

  implementing those policies.800

  795.     Warden Goodwin provides his six direct supervisees with annual evaluations. He has never

  provided them with negative feedback801




  795
      Thompson Tr., 3994:24-25.
  796
      Thompson Tr., 4133:12-20
  797
      R. Doc. 524 at 13, Joint Record Stipulation.
  798
      R. Doc. 524 at 14, Joint Record Stipulation; Goodwin Tr. 2208:17-20.
  799
      Goodwin Tr. 2208:21-2209:2.
  800
      Goodwin Tr. 2209:19-25.
  801
      Goodwin Tr. 2208:1-11.
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  796.     Warden Goodwin knows that the policies in effect at DWCC must comply with Louisiana

  State Statute, federal law and the constitution.802

  797.     Employee and inmate rules are part of the tools that are used to make sure that the

  conditions of confinement at state prison facilities are constitutional.803

  798.     The Department regulations are controlling over the prison’s policies.804

  799.     Mr. Goodwin, as the Warden of the institution, expects the staff to have a “working

  knowledge of the post orders that govern the jobs that they do.”805

  800.     The secretary also uses the information on the C-05 reports to make sure that the conditions

  of confinement at state prison facilities are constitutional.806

  801.     Sec. LeBlanc is responsible for the review and approval of department level policies.807

  802.     Warden Goodwin is responsible for ensuring that institutional policies for DWCC are

  compliant with department level policies.808

  803.     Part of making sure that the institution is compliant with federal law is through the

  supervision of staff. Warden Goodwin is responsible for supervising the staff that report directly

  to him to make sure that they are properly enforcing policy so that it is compliant with state and

  federal law and the constitution.809

  804.     Use of Force incidents at DWCC are reviewed by the Unit Manager.810

  805.     The unit manager is the colonel who oversees the South Compound.811



  802
      Goodwin Tr. 2211:1-12
  803
      LeBlanc Tr. 2562:3-8.
  804
      Goodwin Tr. 2212:18-25.
  805
      Goodwin Tr. 2214:4-7.
  806
      LeBlanc Tr. 2562:3-11.
  807
      LeBlanc Tr. 2562:12-14
  808
      Goodwin Tr. 2208:17-20.
  809
      Goodwin Tr. 2211:19-24.
  810
      R. Doc. 524 at 11, Joint Record Stipulation.
  811
      R. Doc. 524 at 11, Joint Record Stipulation.
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  806.     Either Col. Lonnie Nail or Col. Tyrone Mays were the unit managers for the South

  Compound at all times relevant to this trial.812

  807.     Use of Force incidents are required to be reported by DWCC to DPS&C in the monthly C-

  05 report.813

  808.     Warden Dauzat, the individual responsible for overseeing David Wade’s mental health

  program, did not think the plans were in any way deficient, but also agreed that a mental health

  treatment plan “should be individualized to be effective.”814

  809.     Warden Dauzat signs off on all treatment plans without meeting with the individual.815

  810.     None of the identical treatment plans created for the people on the South Compound

  include group therapy or individual counseling.816

  811.     Warden Goodwin reports all category A and B incidents, to Chief of Operations Seth

  Smith.817

  812.     Despite these and numerous other incidents and violations of policy identified at trial, not

  a single David Wade staff member was disciplined in the calendar year 2018.818

        B. Defendants Received Explicit Complaints from Class Members

  813.     David Wade has an Administrative Remedy Procedure (ARP), the purpose of which is to

  allow incarcerated individuals to file a grievance about their treatment at the prison.819




  812
      R. Doc. 524 at 11, Joint Record Stipulation.
  813
      R. Doc. 524 at 11, Joint Record Stipulation.
  814
      Dauzat Tr. 768:6-25 (policy requires tx plans be individualized; must be individualized to be effective; signed off
  on all tx plans even though they have the same long and short term goals).
  815
      Dauzat Tr. 767:19-21 (signs off on all treatment plans); Id 767:25 - 768:5 (signs off on treatment plans without
  having met with the individual).
  816
      Dauzat Tr., 773:11-14 (not aware that any tx plan states group therapy); Id, 773:21-23 (not aware that any tx plan
  says individual counseling).
  817
      Goodwin Tr. 2194:11-22.
  818
      Goodwin Tr. 2202:3-2204:5.
  819
      Leblanc Tr., 12-15 (ARP system is an opportunity for prisoners to file a complaint if they feel they haven’t been
  treated appropriately).
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  814.     Prisoners are familiar with the ARP purpose as well stating the process may be used to

  complain about an officer not following policy, or his actions, lost property, lack of medical or

  mental health treatment, or anything else that needs to be brought to the attention of the prison to

  be fixed or addressed and request a remedy for it.820

  815.     The ARP process has two steps, the first step is handled at the institutional level by the

  Warden, and the second step is handled at DPSC headquarters by the Chief of Operations, Seth

  Smith’s designees.821

  816.     Angie Huff received around 100 ARPs per month, around 30-40 were answered with a

  First Step Response each month.822

  817.     Around 90% of the first step ARPs are accepted for review by David Wade, however, only

  4-5 ARPs are reportedly granted a year.823

  818.     Incarcerated witnesses say that even though they have the ability to file an ARP and make

  a complaint they have never had any relief from the process.824

  819.     Despite having not seen any relief from filing an ARP, incarcerated witnesses filed ARPs

  advising David Wade and DPSC officials of conditions at the prison which sometimes included

  many issues such as conditions of confinement, lack of mental health care, prevented from having

  hard time, and other actions that individuals feel are unconstitutional.825




  820
      Turner Tr., 52:4-15 (can file an ARP to complain about officer not following policy or his actions; lost property;
  lack of medical tx; complain about anything going wrong that needs to be fixed); Id, 52:18-21 (topics - conditions of
  confinement, acts of retaliation, mistreatment from officers); Adams Tr., 971:17-22 (ARP is grievance request to
  notify officials of a problem or cond'n and request remedy).
  821
      Smith Tr., 2520:24 - 2521:5 (First step of ARP handled at institutional level; section step sent to headquarters).
  822
      Huff Tr., 1983:1-5.
  823
      Huff Tr., 1984:12-18 (Around 90% of ARPs are accepted); Id, 1986:1-3 (Only 4-5 ARPs per year are granted).
  824
      Turner Tr., 68:19-69:7; Adams Tr., 986:3-7 (ARPs always get rejected).
  825
      Exh. P-E-6; Turner Tr., 66:5-15 (filed ARP to address conditions of confinement, cruel and unusual confinement,
  lack of MH tx, not able to go to yard, everything he felt was unconstitutional).
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  820.    Many ARPs that are filed are rejected because they contain multiple issues and the response

  received is that they can only include one issue in an ARP at a time, which causes prisoners to then

  refile multiple ARPs to address the individual issues.826

  821.    Mr. Turner filed ARPs pertaining to mental health issues, such as feeling that mental health

  visits were not confidential, and his ARPs were denied.827

  822.    Corey Adams also filed ARPs to address issues with mental health, including complaints

  about how Steve Hayden treats him and how Mr. Adams feels ridiculed, also highlighting that

  prior to filing the ARP he filed sick calls to address the same concerns but did not receive an

  adequate remedy to either.828

  823.    Mr. Adams also filed an ARP regarding the conditions of his confinement and how they

  make him feel more claustrophobic, asking for help to change his situation and provide him

  relief.829

  824.    The ARP system at David Wade is profoundly broken.

  825.    At the institutional level, ARPs are answered by Warden Angie Huff or her staff.830

  826.    Warden Dauzat testified that she investigates ARPs alleging that mental health care is

  adequate and she has never admitted in response to an ARP that all the treatment plans are

  identical.831




  826
      Exh. P-E-123; Adams Tr., 980:9-15 (short ARP he wrote b/c they get rejected for multiple complaints; shortened
  version of other ARPs).
  827
      Exh. P-E-13; Turner Tr., 55:10-16 (ARP for failure to provide him anger mgmt and Dauzat interfering w/tx);
  Exh. P-E-6; Turner Tr., 66:16 - 68:8 (explained what the ARP was addressing concerning MH issues, primarily that
  the MH visits are not confidential).
  828
      Adams Tr., 971:9-16 (complained about Hayden's ridicule and mistreatment in ARPs, complained about it in sick
  calls).
  829
      Exh. P-E-113; Adams Tr., 976:21 - 977:19 (describes what claustrophobia means to him, he wrote about it in the
  ARP).
  830
      Huff Tr., 1976:18-21.
  831
      Dauzat Tr., 769:22-25 (investigates ARPs alleging MH care inadequate); Id, 770:9-19 (never admitted in
  response to ARP that all tx plans are identical).
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  827.     Warden Huff admitted that she did not investigate ARPs filed by Mr. Turner complaining

  that solitary confinement causes mental illness because the ARP was rejected for containing

  multiple complaints.832

  828.     She similarly did not investigate Mr. Turner’s complaint that people are kept in their cells

  23 hours a day with no programming.833

  829.     Nor did she investigate Mr. Turner’s complaint that the temperature on the tiers can reach

  triple digits in the summer.834

  830.     Mr. Adams filed ARPs because his medication that he was taking prior to his arrival at

  DWCC was discontinued when he arrived and another ARP for continuing issues with receiving

  his medications at DWCC.835

  831.     Mr. Turner also testified that he filed ARPs following instances of excessive force,

  particularly following an incident when Col. Mays pushed him against a wall in his office and had

  spoken to Mr. Turner’s mother to try and convince Mr. Turner to do something Col. Mays wanted

  him to do.836

  832.     Mr. Turner explained that this incident with Col. Mays made him feel distressed, angry and

  frustrated and made him feel like the staff were capable of anything which really cemented his

  lack of trust with the security staff.837

  833.     Mr. Adams had also filed an ARP about excessive force with the use of chemical agents.838


  832
      Huff Tr., 1997:2-21.
  833
      Huff Tr., 1998:1-9.
  834
      Huff Tr., 1998:17-1999:8.
  835
      Exh. P-E-132; Adams Tr., 982:4-11 (wrote ARP on return from EHCC because stopped Wellbutrin); Exh. P-E-
  143; Adams Tr., 985:5-19 (ARP about medication issues).
  836
      Exh. P-E-52; Turner Tr., 56:19-21 (attacked by Col Mays in his office); Id, 57:11-14 (speaking out against
  unnecessary use of force); Id, 57:25 - 58:24 (description of incident that led to ARP); Id, 59:9-18 (explained Col
  Mays contacting mom).
  837
      Turner Tr., 59:21 - 60:9 (interaction made him feel distressed, angry, frustrated. Made him think staff capable of
  anything, lack of trust).
  838
      Adams Tr., 977:20 - 979:6 (wrote about chemical agents in ARP, discussing what he wrote about).
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  834.     Mr. Turner also filed an ARP after he went many months without a write up and was still

  denied the classification board, despite the fact that he was told he could get the board if he went

  more than 90 days without a writeup and he felt he was being treated unfairly because other people

  received the board who were in similar situations.839

  835.     Mr. Turner’s ARP was denied on the grounds that the document denying him the board

  identified one of the enumerated reasons for denial as well as stating that an ARP is not the proper

  process to challenge a classification board decision.840

  836.     There is no other appeal process available for a classification board decision even though

  the denial of Mr. Turner’s ARP was denied because an ARP is not the proper process.841

  837.     In her 25 years as a warden at DWCC, Warden Huff could not recall ever granting a request

  for a reasonable accommodation filed as an ARP by a prisoner.842

  838.     Warden Huff testified that Noel Dean’s ARP regarding self- harm was “not necessarily”

  an emergency despite his statement that he was “only been constantly crying and thinking of ways

  to harm myself".843

  839.     That portion of Dean’s ARP had been highlighted to indicate that staff saw it as the primary

  point of his ARP.844

  840.     Huff took no steps to determine whether the mental health care Mr. Dean was receiving

  was adequate.845




  839
      Exh. P-E-4; Turner Tr., 62:17-24 (no writeups for long time, denied board, filed ARP to complain b/c unfair); Id,
  63:9-23 (been 90 days without a write up, other people got board, he didn't, was not fair).
  840
      Turner Tr., 63:24 - 64:5 (no appeal process for board decision; ARP was denied stated not proper process, see P-
  E-4).
  841
      Id.
  842
      Huff Tr., 1990:11-14.
  843
      Huff Tr., 2008:8-11
  844
      Huff Tr., 2008:15-18
  845
      Huff Tr., 2009:2-18
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  841.     In responding to ARPs relating to mental health, Huff deferred to the judgment of Col Nail,

  who lacks any mental health background.846 Col. Nail does not document any consultation with

  mental health staff regarding the ARP.847

  842.     To Huff’s knowledge, no staff from DPS&C headquarters ever independently investigated

  any of the ARPs from DWCC.848


        C. Defendants Authorized the Specific Policies that Create a Substantial Risk of Serious
           Harm

  843.     Despite being responsible for ensuring that the way that DWCC operates is compliant with

  federal law and constitutionally adequate, no staff has been disciplined for excessive use of force

  during Warden Goodwin’s entire tenure as warden.849

  844.     Warden Goodwin ultimately supervises all of the staff at DWCC.850

  845.     Warden Goodwin provides his direct supervisees with feedback about their performance

  in the form of performance evaluations.851

  846.     The policies that govern the job duties of employees are named Employee Policy

  Memorandums. These documents are all approved by Warden Goodwin.852

  847.     Offender posted policies are the policies that the population of incarcerated people are

  governed by and these policies must be approved by DPSC Chief of Operations Seth Smith.853




  846
      Huff Tr., 2026:18-2027:16
  847
      Huff Tr., 2028:16-2029:11
  848
      Huff Tr., 1990:22-24.
  849
      Goodwin Tr. 2204:10-2205:12.
  850
      Goodwin Tr. 2211:19-24.
  851
      Goodwin Tr. 2208:1-11.
  852
      Goodwin Tr. 2208:17-2201:3.
  853
      Goodwin Tr. 2210:4-17.
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  848.    Prison specific policies must comply with Department level policies. When the department

  issues a policy there has never been a time in which the policy had a timeline associated with its

  implementation.854

  849.    When a new policy is implemented at DWCC there is training on the new policy provided

  for every staff member.855

  850.    All staff at David wade are responsible for having a working knowledge of all applicable

  employee policy memoranda.856

  851.    Offender Posted Policy 34, strip cell status, is a policy that has been approved by Warden

  Goodwin, Chief of operations Seth Smith,857 and Secretary LeBlanc.858

  852.    Secretary Dan Pacholke, Plaintiffs’ expert, testified that the conditions of confinement

  under Offender Posted Policy #34, strip cell status, are akin to torture. He said that when a person

  is stripped of all of their belongings, including their clothing, and left with nothing but a paper

  gown it sets up the conditions for sleep deprivation.859

  853.    The DPSC has reviewed the policies and practices at David Wade and has never offered

  any recommendations for changes.860

  854.    The authorization of Policy 34, review of its use at David Wade through annual reviews

  and failure to even recommend change to the institution makes them deliberately indifferent to

  conditions that create a substantial risk of serious harm.




  854
      Goodwin Tr. 2212:13-2213:14.
  855
      Goodwin Tr. 2213:15-22.
  856
      Goodwin Tr. 2213:19-22.
  857
      Goodwin Tr. 2210:4-17.
  858
      LeBlanc Tr. 2596:9-16
  859
      Pacholke Tr. 2640:21-2641:20
  860
      Goodwin Tr. 2244:20-2247:15.
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  855.    Nail signed off on all instances of strip cell status during his tenure as colonel over the

  south compound.861

  856.    Warden Dauzat is responsible for the overall administration and supervision of the

  provision of mental health at David Wade, she is the person to whom all other mental health staff

  ultimately report.862

  857.    She not only approved of identical treatment plans for every individual regardless of

  diagnosis, she thought that was individualized treatment.


          IX.      DEFENDANTS VIOLATE THE AMERICANS WITH DISABILITIES ACT
                   AND REHABILITATION ACT BY DISCRIMINATING AGAINST CLASS
                   AND SUB CLASS MEMBERS

  858.    The purpose of the ADA is “to provide a clear and comprehensive national mandate for

  the elimination of discrimination against individuals with disabilities,” 42 U.S.C. § 12101(b)(1)

  (2012), and “to provide clear, strong, consistent, enforceable standards addressing discrimination

  against individuals with disabilities.” 42 U.S.C. § 12101(b)(2).

  859.    The prima facie case under Title II and the Rehabilitation Act require that the plaintiff

  show: (1) That he is a qualified individual withing the meaning of the ADA; (2) that he is being

  excluded from participation in, or being denied benefits of, services, programs, or activities for

  which the public entity is responsible, or is otherwise being discriminated against by the public

  entity; and (3) that such exclusion, denial of benefits, or discrimination is by reason of his

  disability. Cadena v. El Paso Cnty., 946 F.3d at 723 (5th Cir. 2020).




  861
    Nail Tr., 1812:19-24.
  862
     Dauzat Tr., 759:13-21 (oversees Mental Health Department; directly supervises Hayden, Hayden supervises
  Robinson and Burgos); Hayden Tr., 318:17-18 (Dauzat is supervisor); Id, 318:22 - 319:4 (supervises Robinson and
  Burgos).
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  860.    The ADA makes it unlawful for a public entity to “directly or through contractual or other

  arrangements, utilize criteria or methods of administration: (i) That have the effect of subjecting

  qualified individuals with disabilities to discrimination on the basis of disability; [or] (ii) That have

  the purpose or effect of defeating or substantially impairing accomplishment of the objectives of

  the public entity's program with respect to individuals with disabilities.” 28 C.F.R. § 35.130(b)(3).

  861.    “[E]mploying no system or an inadequate system for identifying and tracking prisoners

  with disabilities” is a viable class-wide claim for an unlawful method of administration. Dunn v.

  Dunn, 318 F.R.D. 652, 664 (M.D. Ala. 2016), modified sub nom. Braggs v. Dunn, No.

  2:14CV601-MHT, 2020 WL 2395987 (M.D. Ala. May 12, 2020).

  862.    Public entities must make “reasonable accommodations” to enable people with disabilities

  to participate in activities and receive services, such that they have “meaningful access.” Alexander

  v. Choate, 469 U.S. 287, 301 (1985).

  863.    The ADA requires an entity to “make reasonable modifications in policies, practices, or

  procedures when the modifications are necessary to avoid discrimination on the basis of disability,

  unless the public entity can demonstrate that making the modifications would fundamentally alter

  the nature of the service, program, or activity.” 28 C.F.R. § 35.130(b)(7).

  864.    Title II of the Americans with Disabilities Act, 42 U.S.C. §12182, and Section 504 of the

  Rehabilitation Act, 29 U.S.C. §794, both outlaw discrimination against people with disabilities by

  public entities.

  865.    Defendants have violated Title II of the ADA and Section 504 of the Rehabilitation Act by

  failing in its affirmative duty to identify people with disabilities and failing to make any reasonable

  modifications or accommodations for people with mental illness.




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  866.       Defendants have violated Title II of the ADA and Section 504 of the Rehabilitation Act by

  failing to track and act upon requests for reasonable accommodation made by people held on

  extended lockdown.

  867.       Defendants have violated Title II of the ADA and Section 504 of the Rehabilitation Act by

  failing to make any reasonable accommodations to the disciplinary use of force practices as they

  are applied to people with disabilities.

  868.       Defendants have violated Title II of the ADA and Section 504 of the Rehabilitation Act by

  disregarding recommendations from its own mental health staff that individuals with mental illness

  be placed in general population.

  869.       The RA states that “[n]o otherwise qualified individual with a disability . . . shall solely by

  reason of his disability . . . be subjected to discrimination under any program or activity receiving

  Federal financial assistance.” 29 U.S.C. § 794(a).

  870.       “[T]he ADA applies only to public entities, including private employers, whereas the RA

  prohibits discrimination in federally funded programs and activities. The RA and the ADA are

  judged under the same legal standards, and the same remedies are available under both Acts.”

  Kemp v. Holder, 610 F.3d 231, 234 (5th Cir. 2010).

  871.       The RA has the same elements as a claim under the ADA, except that the second element

  queries whether the program in question receives Federal financial assistance. See Kemp, 610 F.3d

  at 234.

  872.       There is a high incidence of mental illness amongst the class members.863

         A. The subclass consists of qualified individuals with disabilities




  863
        See supra fn 47-51.
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  873.       Individuals housed on extended lockdown at DWCC have disabilities due to mental illness,

  which interfere with their major life activities as defined by the Americans with Disabilities Act.864

  874.       People with a record of serious mental illness in remission remain people with disabilities

  within the definition of the ADA. 42 U.S.C. § 12102(1)(B).

  875.       “The determination of whether an impairment substantially limits a major life activity shall

  be made without regard to the ameliorative effects of mitigating measures” 42 U.S.C.A. §

  12102(4)(E)(i). Mitigating measures include “medication” and “learned behavioral or adaptive

  neurological modifications.” 42 U.S.C.A. § 12102(4)(E)(i).

         B. Defendants Have Violated the Affirmative Duties Imposed Under the Americans with
            Disabilities Act and Rehabilitation Act

  876.       Prisons are public entities and as such may not exclude individuals with disabilities from

  participation in or deny them the benefits of their services, programs, or activities. Pennsylvania

  Dep't of Corr. v. Yeskey, 524 U.S. 206, 210 (1998).

  877.       “The remedies, procedures, and rights available under the Rehabilitation Act parallel those

  available under the ADA. Thus, jurisprudence interpreting either section is applicable to both.”

  Cadena., 946 F.3d at 723 (internal citations and quotations omitted).

  878.       “In addition to their respective prohibitions of disability-based discrimination, both the

  ADA and the Rehabilitation Act impose upon public entities an affirmative obligation to make

  reasonable accommodations for disabled individuals.” Id., citing Ball v. LeBlanc, 792 F.3d 584,

  596 n.9 (5th Cir. 2015).




  864
        42 U.S.C. §12102 - Americans with Disabilities Act defines disability.
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  879.   “[I]t is axiomatic that the ADA and RA do not require a plaintiff to specifically request a

  certain accommodation in order to prevail on a claim of disability discrimination.” Levy v.

  Louisiana Dep't of Pub. Safety & Corr., 371 F. Supp. 3d 274, 285 (M.D. La. 2019).

  880.   “For this type of claim, a plaintiff must show that the entity knew of the disability and its

  consequential limitations, either because the plaintiff requested an accommodation or because the

  nature of the limitation was open and obvious.” Id.

  881.   “The ADA seeks to prevent not only intentional discrimination against people with

  disabilities but also – indeed primarily – discrimination that results from ‘thoughtlessness and

  indifference,’ that is, from ‘benign neglect.’” Brooklyn Cntr for Independence of the Disabled v.

  Bloomberg, 980F. Supp.2d 588, 640 (S.D.N.Y. 2013) (quoting, H.R.Rep. No. 101–485(II), at 29

  (1990)).

  882.   “[P]rison officials have an affirmative duty to assess the potential accommodation needs

  of inmates with known disabilities who are taken into custody and to provide the accommodations

  that are necessary for those inmates to access the prison’s programs and services, without regard

  to whether or not the disabled individual has made a specific request for accommodation and

  without relying solely on the assumptions of prison officials regarding that individual’s needs.”

  Pierce v. District of Columbia, 128 F.Supp.3d 250, 272 (D.D.C. 2015).

  883.   The ADA does not permit an institution to ignore the open and obvious needs of a person

  with a disability simply because they have not requested a reasonable accommodation. Pierce, 128

  F.Supp.3d at 272.

  884.   DWCC undertakes no such assessments of the needs of people with mental illness to be

  able to participate in the programs and services available in the DPS&C.




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  885.     People at DWCC in extreme, obvious, and well-documented need for mental health

  services and therapeutic settings are unable to access those services, even as they are available to

  others in DPS&C custody.

                  i.Defendants violate the ADA and RA’s affirmative duty to evaluate and
                    accommodate people with disabilities

  886.     Defendants make no individualized determination as to whether the individual is safe in

  those conditions. Despite the strong evidence and consensus that those conditions are not merely

  intrinsically dangerous865 but especially so for people with disabilities.866

  887.     Defendants make no alterations to their usual conditions of confinement that prohibit

  individual participation in group therapy and all other out of cell programming, that deprive

  prisoners of their access to yard and recreation, and that maintain quiet through the use of chemical

  spray.

  888.     Under the ADA, “[p]ublic entities shall ensure that inmates or detainees with disabilities

  are housed in the most integrated setting appropriate to the needs of the individuals.” 28 C.F.R. §

  35.152(b)(2).

  889.     Treating people the same regardless of disability is a violation of the ADA. Badalamenti

  v. Louisiana Dep't of Wildlife & Fisheries, 439 F. Supp. 3d 801, 808 (E.D. La. 2020) citing

  McGary v. City of Portland, 386 F.3d 1259, 1267 (9th Cir. 2004).

  890.     “[A] person with a disability may be the victim of discrimination precisely because she did

  not receive disparate treatment when she needed accommodation.” Presta v. Peninsula Corridor

  Joint Powers Bd., 16 F. Supp. 2d 1134, 1136 (N.D. Cal. 1998).



  865
      Exh P-K-3, Final Declaration of Dr. Haney, pp. 10 - 32, Section IV. The Adverse Psychological Effects of Social
  Isolation and Solitary Confinement
  866
      Exh, P-K-3, Final Declaration Dr. Haney, pp. 32 - 38, Section V. The Exacerbating Effects of Isolation on Mental
  Illness
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  891.       The determination of whether a specific prison facility is an appropriate setting for an

  individual should be based on the treatment needs of that individual; this includes, but is not limited

  to proper medication and medical treatment. Department of Justice Commentary to 28 C.F.R. §

  35.152.

  892.       The Supreme Court recognizes a broad interpretation of the ADA’s coverage, “Modern

  prisons provide inmates with many recreational “activities,” medical “services,” and educational

  and vocational “programs,” all of which at least theoretically “benefit” the prisoners (and any of

  which disabled prisoners could be “excluded from participation in”).” Yeskey, 524 U.S. at 210.

  893.       David Wade deploys the setting of extended lockdown without any regard to whether it is

  “the most integrated setting appropriate to needs of the individual” as evidence by everyone’s

  automatic placement in extended lockdown / segregation on arrival867 and the below standard

  screenings on intake.868

                    ii. The defendants fail to individually identify people with disabilities

  894.       The ADA makes it unlawful for a public entity to “directly or through contractual or other

  arrangements, utilize criteria or methods of administration: (i) That have the effect of subjecting

  qualified individuals with disabilities to discrimination on the basis of disability; [or] (ii) That have

  the purpose or effect of defeating or substantially impairing accomplishment of the objectives of

  the public entity's program with respect to individuals with disabilities.” 28 C.F.R. § 35.130(b)(3).

  895.       “[E]mploying no system or an inadequate system for identifying and tracking prisoners

  with disabilities” is a viable class-wide claim for an unlawful method of administration. Dunn v.

  Dunn, 318 F.R.D. 652, 664 (M.D. Ala. 2016), modified sub nom. Braggs v. Dunn, No. 2:14CV601-

  MHT, 2020 WL 2395987 (M.D. Ala. May 12, 2020).


  867
        Supra note 9.
  868
        Supra see section viii. Specific Practices Contributing to a Substantial Risk of Serious Harm
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               iii.Defendants’ definition of serious mental illness is under inclusive

  896.    The ADA requires an individualized inquiry into the person’s functional limitations.

  Pierce, 128 F.Supp.3d at 272.

  897.    The DPSC tracks people with mental illness based only on its internal level of care system

  and an internal definition of “serious mental illness” or “SMI,” which is based only on diagnosis

  rather than functional impairment.869

  898.    The six enumerated conditions defined as SMI at DWCC are: major depressive disorder,

  schizophrenia, schizoaffective disorder, bipolar disorder, unspecified schizophrenia spectrum, and

  severe anxiety disorder.870

  899.    By limiting the definition of SMI to only a list of six specific diagnoses and failing to

  independently track disability, Defendants under-identify people with disabilities by excluding

  people with mental illness whose symptoms cause a functional impairment but whose diagnosis is

  not included on the limited list of six SMI diagnoses.871

  900.    Dr. Burns testified that diagnoses other than the six enumerated diagnoses can reach the

  level of a disability based on functional impairment.872 The ACA recognizes and requires

  institutions to track both disabilities from the enumerated diagnoses and those arising from a

  functional impairment.

  901.    Dr. Thompson concurred, testifying that people could have a disability from a mental

  health diagnosis other than the six enumerated by the DPS&C’s definition of SMI.873 The




  869
      Exh. P-JJJ-25 - HC-38 - Department Mental Health Program (defines SMI as 6 diagnoses); Hayden Tr., 335:19 -
  336:2 (6 SMI diagnosis); Id, 337:18-23 (tries to qualify what SMI means, concedes that the policy does not
  contemplate functional limitations).
  870
      Exh. P-JJJ-25 - HC-38 - Department Mental Health Program at p.2.
  871
      Burns Tr., 1271:22-1273:13
  872
      Burns Tr., 1272:11-1273:5.
  873
      Thompson Tr., 4113:2-12.
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  functional impairment arising from the person’s mental health condition is the determining factor

  in whether the person has a disability.874

  902.    People with mental health disabilities will need access to a psychiatrist and counselors

  when they arrive at a new facility.875

  903.    Dr. Seal, the person best equipped to gauge the impact of a mental health condition on a

  person’s level of function, is not involved with assigning people the “serious mental illness”

  designation used by the DPS&C to track people with mental health disabilities.876

  904.    Dr. Seal undertakes no inquiry into whether his patients can be safely housed in extended

  lockdown upon arrival.877

  905.    Even people with severe disorders such as psychosis and schizophrenia, who arrive at

  DWCC already flagged as seriously mentally ill by the DPS&C, receive the exact same plan of

  “follow-up per policy” as any other new arrival.878

  906.    By adopting an unlawfully narrow definition of disability, Defendants have failed to

  administer DWCC in compliance with the federal law.

                iv.Defendants exclude people with chronic mental illness from the definition of
                   serious mental illness

  907.    People with a record of serious mental illness in remission remain people with disabilities

  within the definition of the ADA. 42 U.S.C. § 12102(1)(B).

  908.    “The determination of whether an impairment substantially limits a major life activity shall

  be made without regard to the ameliorative effects of mitigating measures” 42 U.S.C.A. §

  12102(4)(E)(i).


  874
      Thompson Tr., 4113:13-25.
  875
      Burns Tr., 1291:25-1292:8.
  876
      Seal Tr., 1229:13-18
  877
      Seal Tr., 1223:18-22
  878
      Burns Tr., 1291:23-1292:8; 1295:3-21.
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  909.    Mitigating measures include “medication” and “learned behavioral or adaptive

  neurological modifications.” 42 U.S.C.A. § 12102(4)(E)(i); Kemp, 610 F.3d at 236.

  910.    Pursuant to Defendants’ policy, people whose symptoms are stable and managed with

  medication are categorized under the level of care system as 5H and lose the SMI designation.879

  911.    When a person has a mental illness that rises to the level of disability, even managed by

  medication or a level of behavioral adaptation, that mental illness remains a disability.880

  912.    The risk to people with a record of mental health disabilities remain at risk, even if the

  condition is temporarily controlled by medication.

                 v.Defendants provide no affirmative modifications even for people identified as
                   having serious mental illness

  913.    “[I]t is axiomatic that the ADA and RA do not require a plaintiff to specifically request a

  certain accommodation in order to prevail on a claim of disability discrimination.” Levy, 371 F.

  Supp. 3d at 285.

  914.    Both Dr. Burns and Defendants’ own expert estimates that 40% of the population on

  extended lockdown meets the Defendants’ under-inclusive definition of SMI limited only to

  enumerated diagnoses. 881 Though many prisoners require special care and accommodation, no

  modifications are made for people with serious mental illness on extended lockdown.882

  915.    Prisoners who Defendants document as having SMI are subject to the same harmful

  conditions of confinement as every other prisoner on extended lockdown at DWCC, even though

  they might be particularly vulnerable to harm.883



  879
      Exh. P-AA-201, 2018-11-2 - Mental Health Service Codes and Level of Care Review - Charles, Bruce (Plaintiff
  Bruce Charles was categorized as “Bipolar in Remission” and lost his designation as SMI even though he remained
  at a level of care 3); See also Exh. P-JJJ-25 - HC-38 - Department Mental Health Program.
  880
      Burns Tr., 1271:22-1272:10; Thompson Tr., 4158:2-17 (SMI symptoms are chronic, waxing and waning)
  881
      Burns Tr., 1427:23-1428:1; Thompson Tr., 4070:13-17
  882
      Nail Tr., 1837:3-19; 1837:21-23; 1837:24-1838:2
  883
      Exh. P-K-03, Report of Dr. Haney, pp. 32-38, Section V. The Exacerbating Effects of Isolation on Mental Illness.
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  916.    Psychotherapy, programming, and a higher level of care necessary for individuals with a

  mental health disability who are maximum security are unavailable at DWCC.884

  917.    The DPSC and practices at DWCC render inmates with mental health disabilities on

  extended lockdown unable to access needed mental health care for which they are qualified

  recipients.

                   vi. Defendants violate the ADA by setting an overly restrictive criteria for
                   reasonable accommodation

  918. Dr. Seal recommends people for transfer out of DWCC, albeit rarely, but only if they meet a

  three-part test: the individual must “have a mental illness, usually a psychotic mental illness, and

  they are showing dangerous behavior to themselves or others, which might be alleviated by

  treatment by they are refusing said treatment.”885

  918.    On the rare occasion Dr. Seal recommends someone for transfer to another facility, that

  recommendation is made verbally to mental health staff at DWCC and is not documented in

  writing.886

  919.    These recommendations made by Dr. Seal are only based on the 3-5 minutes he may spend

  speaking with an individual once every 6 months and whatever reports come from mental health

  staff.887

  920.    Although, it was confirmed by Warden Dauzat that while they would like to have Dr. Seal’s

  input when seeking transfer for an individual, his recommendation is not required and he does not

  need to approve a transfer.888




  884
      Exh. P-F-07, Report of Dr. Burns at p. 3.
  885
      Seal Tr., 1189:25-1191:7; Id, 1192:17-1193:8.
  886
      Seal Tr., 1194:7-14.
  887
      Seal Tr., 1193:9-16.
  888
      Dauzat Tr., 3310:24 - 3315:17 (Dauzat: reviewing portions of the policy; purpose is to make sure that continuous
  care; intra-institutional intake; don't necessarily need Seal's approval to transfer for mental health).
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  921.       EHCC is capable of providing mental health care to patients classified as maximum

  security.889

  922.       The patient’s inability to access care is due to their symptom cluster not meeting the

  requirements for reassignment from DWCC imposed by Dr. Seal, as opposed to an evaluation of

  any specific mental health needs, or individualized evaluation of security concerns.

  923.       Defendants also fail to limit the duration of confinement on extended lockdown for

  individuals who have been documented as having SMI, or people with functional impairment.890

  924.       Defendants do not modify any existing mental health programming or counseling services

  to allow people with mental health disabilities on extended lockdown to participate despite these

  modifications being available in a correctional setting.

  925.       DWCC regularly documents the mental health conditions of people, classifies them as

  seriously mentally ill, and then fails to take any steps whatsoever to accommodate those

  individuals’ need for services or accommodation.

                      vii.     Defendants violate the ADA by ignoring open and obvious disabilities

  926.       The ADA does not permit an institution to ignore the open and obvious needs of a person

  with a disability simply because they have not requested a reasonable accommodation. Pierce, 128

  F.Supp.3d at 272.

  927.       Just as the ADA requires prisons to affirmatively provide modifications to people who have

  visual, hearing, or mobility disabilities, it also requires that the prison affirmatively intervene to

  provide reasonable modifications to its program for people with known functional limitations

  arising from known mental health disabilities such as autism, dementia, and hallucinations.




  889
        Dauzat Tr., 3338:22-25 (people in crisis at DWCC are transferred to EHCC for care).
  890


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                   viii. DWCC Fails to Provide a Process for Requesting Reasonable
                   Accommodations

  928.    “[E]mploying no system or an inadequate system for prisoners to request accommodations

  and submit grievances regarding non-accommodation” is an unlawful method of administration

  under the ADA. Dunn, 318 F.R.D. at 665.

  929.    Public entities are required to maintain a process for requesting reasonable

  accommodations. 28 C.F.R. § 35.163; see also 28 C.F.R. § 35.106.

  930.    DWCC has failed to satisfy its affirmative obligation under the ADA to implement a

  process for allowing individuals to affirmatively request reasonable accommodations.

  931.    Due to the failure of DWCC’s record-keeping and ADA compliance, DWCC has not

  knowingly received a documented request for a reasonable accommodation based on a mental

  health disability.

  932.    The lack of a documented request for a mental health accommodation over a five-year

  period evidence that prisoners at DWCC are not able to use the reasonable accommodation

  process, that such requests are not tracked, or that no such process exists.

  933.    As ADA coordinator, Huff was responsible for handling requests for reasonable

  accommodations.891 These requests would come to Huff as ARPs.892

  934.    When Assistant Warden Huff testified that any time a person requests a reasonable

  accommodation, she is required to interview that person. 893 ADA interviews have a specific form

  and are to be documented in the ARP file itself.894




  891
      Huff Tr, 1976:18-21
  892
      Huff Tr., 1976:25-1977:2
  893
      Huff Tr., 1986:9-12
  894
      Huff Tr., 1986:25-1987:2
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  935.    DWCC’s ADA coordinator, Assistant Warden Angie Huff, could not remember granting a

  single request for reasonable accommodations based on a mental health disability in her 32 years

  of employment at David Wade, 15 of which have been in her current position as Deputy Warden.895

  936.    Huff could not recall a single request for accommodations based on mental illness in the

  past five years.896

  937.    Col. Nail did not know the process for a person to request a reasonable accommodation.897

  938.    Nail also never received a request for reasonable accommodation related to a permanent

  disability.898

  939.    Nail is unaware of anybody requesting an accommodation based on mental illness.899

  940.    Additionally, at David Wade, a request for accommodation must be accompanied by magic

  language; directly contrary to federal law.900

  941.    Corey Adams filed a request for reasonable accommodations under the ADA, explicitly

  marked as such.901 Nothing in the response to Corey Adams' request for accommodation indicates

  it was handled as a request for reasonable accommodations.902

  942.    While the ADA coordinator at DWCC identified necessary records that are supposed to be

  kept when a person requests a reasonable accommodation, those records are non-existent at the

  facility.

  943.    Cody Doucet testified that he filed an ARP with respect to the lack of mental health

  treatment and “Nikki McCoy rejected [it] for no reason.”903


  895
      Huff Tr., 1990:11-14
  896
      Huff Tr., 1990:15-18; 2115:24-2117:8
  897
      Nail Tr., 1837:24-1838:2
  898
      Nail Tr., 1837:3-19
  899
      Nail Tr., 1837:21-23
  900
      Huff Tr., 1989:22-10
  901
      Huff Tr., 2067:21-25
  902
      Huff Tr., 2070:15-21
  903
      Exh. P-BBBB-1 - Deposition of Doucet, 44:10-25.
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  944.     Bruce Charles filed an ARP requesting accommodations for his ADHD bipolar disorder in

  the form of being allowed to participate in mental health programs and classes or transfer to a

  facility capable of meeting his needs for treatment.904

  945.     Corey Adams requested the following: “ADA request(s) for accommodations: 1) adequate

  medical care for chronic arthritis and severe pain in my neck, back, and hip, 2) adequate mental

  health care therapy and one on one counseling for my serious mental illnesses and chronic

  claustrophobia with extreme panic attacks (frequent).”905

  946.     Noel Dean also filed an emergency request for reasonable accommodations for his mental

  illness while on suicide watch.906

  947.     Colonel Lonnie Nail, the longtime unit manager for the extended lockdown unit at DWCC,

  did not know if there was a process for requesting a reasonable accommodation.907

  ix.   DWCC Uses Brutal Methods of Discipline Against People with Mental Illness for
  Behaviors Related to Their Disability

  948.     The obligation to provide accommodations applies to the discipline of disabled inmates,

  as well: “A failure to provide a reasonable accommodation can occur where a correctional officer

  could have used less force or no force during the performance of his or her penological duties with

  respect to a disabled person. A failure to provide a reasonable accommodation, or discrimination

  by reason of disability, constitutes a violation of the ADA[.]’” Lewis v. Cain, No. 3:15-CV-318,

  2021 WL 1219988, at *55 (M.D. La. Mar. 31, 2021).

  949.     “When applied in the prison context, it follows that the second element of a § 12132 claim

  can be satisfied where a correctional officer could have used less force or no force during the



  904
      Huff Tr., 2063:5-14
  905
      Huff Tr., 2067:21-25
  906
      Huff Tr., 2008:8-11
  907
      Nail Tr., 1837:21-23.
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  performance of his or her penological duties with respect to a disabled person.” Id. citing

  Armstrong v. Newsom, No. 94-cv-02307 CW, 2021 WL 933106, at *3 (N.D. Cal. Mar. 11, 2021).

  950.     David Wade has a use of force policy that all security staff are to be trained on and familiar

  with that outlines the circumstances when force may be used and the process and procedure for

  using force.908

  951.     Security staff uses chemical agents on prisoners at David Wade and they purportedly

  receive training on the use of chemical agents.909

  952.     David Wade also has capture shields that deliver a muscular disruption “shock” to the

  individual, which is commonly used when an individual needs to be removed from the cell and is

  refusing to leave.910

  953.     Security staff claims to always give prisoners at least 4 orders before chemical agent is

  used, although testimony by prisoners and body camera footage do not corroborate that claim.911

  954.     The chemical agents for the South Compound are kept in the armory and in a footlocker in

  the courtroom in N4.912

  955.     There is an armory log kept for the cans of chemical agent, or mace, and the weight of each

  can is documented at the beginning and end of each shift as well as after each use of the can.913




  908
      Exh. J1 - 2019-6-12 - EPM 02-01-005 - Use of Force; Baird Tr., 1079:3-6 (responsible for understanding this
  policy); Id, 1079:13-17 (responsible for supervisees to follow policy).
  909
      Baird Tr., 1079:21 - 1080:2 (security team uses chemical agents on prisoners); Id, 1080:6-14 (received training on
  use of force and chemical agents).
  910
      Baird Tr., 1081:1-2 (DWCC uses capture shields); Id, 1081:12-23 (electronic one is at DWCC, delivers a muscular
  disruption).
  911
      Baird Tr., 1082:23 - 1083:20 (planned use of force is non-emergency; walks through process); Id, 1084:2-11 (given
  several opportunities to follow orders; promises more than 4 orders given); Id, 1084:23-25 (minimum of 4 orders,
  more than that is officer discretion); Id, 1085:7-9 (body cameras on).
  912
      Baird Tr., 1082:3-21 (chemical agent kept in armory; kept in foot locker in N4; log completed by staff for weight
  of cans at beginning of shift, end of shift and after each use).
  913
      Baird Tr., 1082:3-21 (chemical agent kept in armory; kept in foot locker in N4; log completed by staff for weight
  of cans at beginning of shift, end of shift and after each use).
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  956.     Not all security staff are trained and authorized to use chemical agents, the only security

  staff who are trained to use the chemical agents are lieutenants, majors, captains, lieutenant

  colonels and colonels.914

  957.     Warden Baird testified that people are not sprayed with chemical agent for self harm unless

  they have a weapon, such as a razor, and only the minimal amount of force is used.915

  958.     Warden Baird specifically testified that an individual with a sheet tied around his neck is

  not a weapon and therefore spray is not used.916

  959.     However, Da’Marcus Thomas testified that he was sprayed with mace when he was

  attempting to hang himself with a sheet, and he sought help from Steve Hayden because his throat

  hurt but he did not receive any care.917

  960.     However, staff routinely use chemical agents on individuals as they display clear signs of

  mental illness, such as eating their own feces.918

  961.     Despite this high prevalence of acute mental health conditions, the security staff at DWCC

  have repeatedly stated that the use of chemical agents is justified against people simply for making

  too much noise.919




  914
      Baird Tr., 1086:5-8 (only lieutenants, captains, majors, Lt Cols, and Cols trained for chemical agents).
  915
      Baird Tr., 1085:10-15 (force if harm w/weapon); Id, 1089:17 - 1090:6 (if someone has razor, that's a weapon; min
  force needed used)..
  916
      Baird Tr., 1085:16-20; 23-25 (sheet around neck is not a weapon, no spray for that).
  917
      Exh. P-YYY-1 - Deposition of Thomas, 26:3-16 (tried to tell Hayden his throat was swollen and hurt after he hung
  himself and was sprayed with mace); Id, 32:18 - 33:9 (tied sheet to bars and hung himself, Capt Malcolm sprayed him
  in the face and mouth with mace).
  918
      Solomon Tr., 625:25 - 628:19 (recounts instance he saw Cody Doucet get sprayed. Cody eating his own feces and
  throwing his feces and urinating; sprayed him, before they provided medical, they made him mop the urine off the
  floor. They didn't take him to shower until after, he whole face was swollen); Brumfield Tr., 176:13 - 177:2 (saw
  RaRa get sprayed 2-3 times a week; people get sprayed constantly, staff hold the trigger longer than is needed, it's like
  they enjoy it).
  919
      Nail Tr., 1784:8-16; Dillon Tr., 277:1-24 (he has smelled mace 30 times in a 7 day period. Staff come down the
  tier and mess with people then spray them for saying something. "he might be yelling and there's something going on
  in his head and you are just going to sneak up on the bars and (makes a noise)").
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  962.    Col. Nail stated that making too much noise would justify an immediate use of mace to

  quiet the tier without first contacting mental health.920

  963.    The armory logs reflect that more than one pound and one ounce of spray were used on

  Mr. Travis McKee over the course fo a week while we was on suicide watch.921

  964.    At the time of these uses of force, Mr. McKee was on extreme suicide watch, attempting

  to hang himself and beating his head against the walls.922

  965.    Nobody was reprimanded or disciplined for the excessive use of force against Mr.

  McKee.923

  966.    Nail specifically approved these uses of force as proportional and consistent with policy.924

  967.    Joshua Musser was sprayed for refusing to comply with orders to stop banging his head

  against the walls and door of his cell.925

  968.    Mr. Musser was in full restraints on extreme suicide watch at the time.926

  969.    Mental health was not contacted prior to this use of force.927

  970.    Mr. Clark cut himself and wrote on his walls in blood, was placed on extreme suicide watch

  in full restraints, continued to self-harm, and was taken to the lobby where security staff sprayed

  him.928 Mr. Clark was written up for the incident.929 Mr. Clark was sprayed before mental health

  staff were called.930




  920
      Nail Tr., 1785:2-14
  921
      Nail Tr., 1857:11-1866:3
  922
      Nail Tr., 1869:1-1870:6; 1873:4-10; 1872:7-16
  923
      Nail Tr., 1866:7-10
  924
      Nail Tr., 1866:17-1867:13
  925
      Nail Tr., 1923:10-24
  926
      Nail Tr., 1924:4-6
  927
      Nail Tr., 1923:25-:1924:3
  928
      Nail Tr., 1915:24-1916:23
  929
      Nail Tr., 1916:24-1917:1
  930
      Nail Tr., 1917:7-9
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  971.    Mr. Ball was sprayed by security staff shortly after attempting to hang himself because he

  was making too much noise.931 Mr. Ball was written up for this incident.932

  972.    When people engage in behaviors linked to mental illness such as flooding their own cell

  or throwing their own feces, the staff are able to take away that person’s clothing, mattress, and

  property for a month without a hearing or appeal.933

  973.    Based upon his review of body camera footage, Sec. Dan Pacholke concluded “there are

  no attempts to de-escalate, just supervisors ordering prisoners to comply, additional supervisors

  giving an order to comply, and then the deployment of force.”934

  974.    Defendants use force against individuals requesting mental health help.935

  975.    The use of extreme force against people with mental illness during crisis is commonplace

  at DWCC: “[They] put me in a cell with a camera, in a gown. I was upset. They sprayed me, left,

  went to get another can of spray, and emptied it on me. I said, ‘I’m on suicide watch.’ The officer

  who was spraying me said, ‘oh, you wanted to die?’ and then he sprayed the other whole cannister

  on me [while] I’m in a suicide gown.”936

  976.    The use of force and chemical agents on the South Compound is a frequent occurrence and

  impacts not only the individual targeted with spray, but actually impacts the entire tier.937

  977.    The men who are sprayed directly describe horrifying experiences, such as Mr. Turner

  describing it as “it is like your body is on fire…it is excruciating pain…your skin is constantly

  burning.”938


  931
      Nail Tr., 1919:15-1920:11
  932
      Nail Tr., 1920:15-16
  933
      Exh. P-FFF-1, Report of Sec. Pacholke at pp. 31-35.
  934
      Exh. P-FFF-1, Report of Sec. Pacholke at p. 43.
  935
      Exh. P-FFF-1, Report of Sec. Pacholke at p. 44.
  936
      Exh P-K-03, Report of Haney at pp. 55-56.
  937
      Moran Tr., 198:10-22 (people get sprayed daily, When someone gets sprayed, it affects the whole building).
  938
      Turner Tr., 82:6 - 83:7 (observed other people getting sprayed, been sprayed himself, "It is like your body is on
  fire...it is excruciating pain...your skin is constantly burning").
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  978.     Mr. Solomon, who was sprayed after ramming his head into the bars while on suicide

  watch, compared it to jumping into a volcano and described the use of mace by staff made him

  feel more suicidal.939

  979.     Mental health staff at David Wade have never been consulted by classification about the

  decisions whether to keep a person on extended lockdown based on mental illness, resulting in an

  unconstitutional hands-off approach to discipline.940

  980.     Col. Nail, unit manager for the South Compound during most of this litigation, and who

  now is head of investigations, testified that he did not know whether or not there were any people

  with serious mental illness on extended lockdown at DWCC.941

  981.     Col. Nail does not have access to a list of people with mental illness, only a list for heat

  pathology.942

  982.     Col Nail testified that he does not know who is on the mental health caseload943 but also

  testified that he is on and off the tiers constantly talking to people (an assertion belied by the key

  log admitted into evidence.) As unit manager, Nail also sat on the disciplinary board and

  classification board for years,944 making his testimony that he is unaware of whether any person

  on the South Compound has a mental illness extremely dangerous, and means that de facto a

  person’s mental illness is not taken into account in classification decisions or in meting out

  punishment for rule violations.


  939
      Solomon Tr., 620:9 - 621:19 (sprayed while on SSW after ramming head into bars; it's very bad, it burns
  everywhere, like jumping into volcano. You're on suicide watch, thinking about killing self, in paper gown and instead
  of security trying to talk and help, they tell you run head into bars and spray you. Mace makes you hate the person,
  turns you into a monster. "it really puts hate in your heart").
  940
      Dauzat Tr., 750:20 - 751:3 (no role in housing or classification); Id, 757:21-24 (MH has no role in classification
  decisions); Lewis v. Cain, No. 3:15-CV-318, 2021 WL 1219988, at *55 (M.D. La. Mar. 31, 2021). (“A failure to
  provide a reasonable accommodation, or discrimination by reason of disability, constitutes a violation of the ADA[.]”).
  941
      Nail Tr., 1823:7-13
  942
      Nail Tr. 1820:8-14
  943
      Nail Tr., 1822:8-17
  944
      Nail Tr., 1847:19-22
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  983.     Col. Coleman could not define the term serious mental illness as it is used at DWCC.945 At

  trial, Col. Coleman mistakenly stated that the heat pathology list was actually a list of every person

  with mental illness.946 He cannot therefore administer the use of force policy in a way that protects

  people with mental illness from unnecessary uses of force.

  984.     Staff receive between ten to thirty minutes of de-escalation training every February.947 The

  academy training on deescalation is only delivered once and lasts 30 minutes.948

  985.     Col. Nail testified that he never once involved mental health staff in the disciplinary board’s

  decision to impose a sanction based on a write-up.949

  986.     Sanctions such as the loss of yard and phone restriction can be counter-productive:


                    Prisoners are punished, sometimes by retaliatory staff, for relatively
                    minor infractions, and at no time is the root cause of negative
                    behaviors addressed. Under current practice, sanctioning includes
                    long terms of privilege removal, taking away things like telephone,
                    recreation, and visits that help prisoners cope. Prisoners in extended
                    lockdown have few privileges to begin with, so by taking away what
                    they do have for extended periods of time, prisoners are left with
                    nothing to occupy their time and their minds, which in my
                    experience leads to more unwanted behavior.950

                    x.     Defendants Discriminate Against People with Known Disabilities by
                    Disregarding Appropriate Housing Assignments

  987.     People who Defendants subjectively know to have mental health-related disabilities are

  placed in restrictive housing upon arrival at DWCC for prolonged periods of time, even where

  counter-indicated by the person’s mental health intake assessment in violation of the ADA. See,

  Pierce, 128 F.Supp.3d at 272.


  945
        Coleman Tr., 1649:15-1650:13
  946
        Coleman Tr., 1649:15-1650:13
  947
        Nail Tr., 3131:4-3132:15.
  948
        Nail Tr., 3175:4-7.
  949
      .
  950
        Exh. P-FFF-1, Report of Sec. Pacholke at p. 25
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  988.    In December 2019, David Wade began to implement the new classification policy, B-02-

  019, which changed the terms used for segregated housing away from “extended lockdown” but

  did not otherwise alter the practices in place.951

  989.    According to Seth Smith, the facilities were expected to be fully implementing the Policy–

  no parts of it were “excepted.”952 The purpose of a pilot is to fully implement something, to see

  what works and what modifications are needed.953

  990.    Under the new B-02-019, when individuals are brought to lockdown they go through

  investigative segregation, followed by disciplinary segregation, followed by preventative

  segregation and then transitional segregation.954

  991.    With the new classification policy, a new disciplinary matrix was adopted. Disciplinary

  sanctions were determined based on the new matrix as of December 2019.955

  992.    The new disciplinary matrix purports to remove disciplinary board discretion in imposing

  disciplinary sanctions: they are required to follow what the matrix says.956

  993.    The staff at David Wade received training on the new matrix and the new classification

  policy with Sec. LeBlanc and Seth Smith.957

  994.    Secretary LeBlanc and Chief of Operations Seth Smith testified with certainty that the

  disciplinary matrix went out to the DPS&C facilities with the new classification policy, B-02-




  951
      Exh. P-JJJ-42 - B-02-019 Classification, Sentencing, and Service Policy; Baird Tr., 1057:17-24 (version of the
  policy piloted at DWCC, later DOC adopted broader); Id, 1059:10-11 (changed terms of housing, no longer use
  extended lockdown).
  952
      Smith Tr. 2505:11-15; 2505:6-10..
  953
      Smith Tr. 2503:4-10.
  954
      Baird Tr., 1065:19 - 1066:11 (impeached w/depo that order is investigative, then disciplinary, then preventative,
  then transitional).
  955
      Baird Tr., 1061:15 - 1062:8 (disciplinary board determines sanctions based on new matrix); Exh. D2 - Disciplinary
  Matrix; Baird Tr., 1063:21-25 (yes, this is matrix).
  956
      Baird Tr., 1064:6-9 (disciplinary board no discretion).
  957
      Baird Tr., 1070:3-8 (trained on new matrix with Smith and Leblanc).
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  019.958 However, Col. Mays, unit manager over the South Compound, testified that he did not

  receive the disciplinary matrix with the new classification policy. In fact, Col. Mays testified that

  the disciplinary matrix was not in effect until 2021.959 Mays himself also contradicted that

  testimony, stating that this disciplinary matrix was put into effect in January of 2020.960 This level

  of confusion at two of the highest levels of prison administration can leave no doubt that regardless

  of what written policy says, what is actually being administered at DWCC may be something

  entirely different.

  995.     Pursuant to B-02-019, investigative segregation is typically a short period of time, it may

  be up to 72 hours while someone waits to go before the disciplinary board or it may be an individual

  who is on suicide watch.961

  996.     When an individual’s classification status changes from disciplinary to preventative, there

  is no change in housing assignment and the same cells house both classification designations.962

  997.     There is no maximum period of time that an individual may be held in preventative

  segregation, which means it could be indefinite.963

  998.     There also are no limitations or processes for how long an individual can be held on

  Offender Posted Policy 34/ strip cell status, and therefore those individuals can be held in

  segregated housing for an indefinite period of time.964

  999.     Individuals housed as transitional segregation are either awaiting transfer or waiting on a

  bed becoming available in a medium custody unit.965



  958
      Smith Tr. 2503:11-16; LeBlanc Tr. 2592:19-2593:2; 2594:20-22.
  959
      Mays Tr., 2141:9-2142:2
  960
      Mays Tr., 1245:11-12.
  961
      Baird Tr., 1059:13-19 (investigative segregation, no longer than 72 hours).
  962
      Baird Tr., 1066:18-21 (disciplinary to preventative is same cells).
  963
      Baird Tr., 1069:10-13 (no maximum for preventative segregation).
  965
      J-17 – OPP #34.
  965
      Baird Tr., 1069:14-25 (transitional segregation waiting for bed or transfer, med custody).
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  1000. People held on extended lockdown have documented mental illness that rises to the

  Department’s own definition of SMI.966

  1001. People with disabilities are denied this benefit due to Defendants’ failure to provide the

  reasonable accommodation of housing the person in either the recommended general population

  or treatment setting.

  1002. These people with disabilities are denied the benefit of the housing assignment

  recommended by staff in general population where counseling and group therapy are available.

  1003. Extended lockdown is uniquely harmful for people with pre-existing mental illness.967

  1004. This practice is commonplace at DWCC.


           X.       DEFENDANTS’ CONDUCT VIOLATES THE FIRST AMENDMENT TO
                    THE CONSTITUTION.

  1005. Prisoners in the United States have a long-recognized and well-established right to

  unobstructed and confidential communication with courts and attorneys. Ex parte Hull, 312 U.S.

  546, 549 (1941).

  1006. Unfettered communication between lawyers and their clients is indispensable to the fair

  operation of our system of justice. Upjohn Company v. United States, 449 U.S. 383, 389 (1981).

        A. Protecting the sanctity of legal mail is of particular significance in this case.




  966
      Turner Tr., 83:11-20 (diagnosed with mental illness, anxiety, depression, bipolar, schizoaffective); Solomon Tr.,
  593:5-13 (diagnosed with ADHD and PTSD; counseling and meds before prison; Depakote, Concerta, Ritalin, and
  others); Adams Tr., 955:5-11 (has TBI because attacked); Id, 956:7-13 (hard to remember, focus, concentrate,
  interrupts speech and communication); Id, 958:1-13 (in and out of MH hospitals; was diagnosed with mental illness
  before jail, unsure what); Id, 958:22 - 959:18 (treated for antisocial personality disorder, PTST, psychosis, bipolar,
  schizophrenia, paranoia, MDD); McDowell Tr., 1030:12-17 (diagnosed with depression at EHCC and given meds).
  967
      Exh. P-K-03, Report of Dr. Haney at p. 33. (Mentally ill prisoners are generally more sensitive and reactive to
  psychological stressors and emotional pain. In many ways, the harshness and severe levels of deprivation that are
  imposed on them in isolation are the antithesis of the benign and socially supportive atmosphere that mental health
  clinicians seek to create within therapeutic environments. Not surprisingly, mentally ill prisoners generally deteriorate
  and decompensate when they are placed in isolation units.)
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  1007. Undersigned counsel were retained to challenge the conditions of confinement at David

  Wade Correctional Center (DWCC), a maximum-security prison situated in a national forest in

  rural Louisiana.968

  1008. There are unique challenges to litigation such as this. Unlike any other type of litigation,

  all plaintiff class members, and every facet of their daily lives, are within the full physical control

  of the Defendants. Defendants control if and when plaintiffs are kept in solitary confinement, how

  often they are allowed out of cell, how often they are allowed phone calls,969 property,970

  recreation,971 etc. Likewise, all physical evidence in this proceeding is within the exclusive control

  of the Defendants; Defendants have exclusive physical access to every piece of documentary

  evidence that exists in the case.

  1009. Due to the prison’s remote location, prisoners wishing to communicate with attorneys

  largely rely on written correspondence, i.e. “legal mail.”

  1010. Although the unauthorized intrusion into any prisoner’s mail is a serious constitutional

  problem, the unique facts of this case raise a particularly odious specter of interference with the

  conduct of the litigation. Prison administrators, Defendants in this very case, surveilled plaintiff

  correspondence with counsel engaged to sue over for conditions at the prison.972

  1011. Prison litigation is unique in that the plaintiffs are in a singularly vulnerable position vis a

  vis the defendants. The degree of influence Defendant prison administrators have over even the



  968
      Rec. Doc. 1.
  969
      Brumfield Tr., 159:22-25; Dillon Tr., 259:18-21; Solomon Tr., 597:2-13; Adams Tr., 962:24 - 963:5.
  970
      Exh. P-JJJ-13 - 2013-11-8 - Offender Posted Policy #34.
  971
      Turner Tr., 110:12-23; Brumfield Tr., 160:3-12; Solomon Tr., 597:4-8.
  972
      Moran Tr., 216:4-12 (Quinten Moran testified that he lost confidence in the confidentiality of the legal mail process
  at David Wade after being alerted by an officer in the mailroom that his legal mail was being censored because of his
  involvement in the lawsuit), Id, 214:8-15 (He writes “sealed, not taped” on the back of his legal mail because of the
  known history of David Wade censoring legal mail if someone gets an outside entity involved in the business of the
  facility); Exh. P-A-23, Christopher Walker ARP, at p.3 (Christopher Walker filed a complaint that since the Plaintiffs
  filed their lawsuit against David Wade, the censorship of legal mail only became worse).
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  most quotidian aspects of Plaintiffs’ lives cannot be overstated. What they eat, where they eat,

  when they bathe, when and for how long they are allowed outside, even the temperature of a

  prisoner’s cell—all of these are, to varying degrees, subject to the whim of DWCC staff.973

  1012. If prisoners know their correspondence with counsel about prison conditions is being

  monitored or read, it deters many prisoners from writing to counsel at all, for fear that they will

  incur the ire of prison staff, resulting in fewer privileges or more punishment. Mitchell v. Peoples,

  10 F.4th 1226, 1241 (11th Cir. 2021). It forces writers to self-censor or limit disclosures, also for

  fear of retaliation.

  1013. It also allows the named Defendants in the proceeding to know which class members are

  communicating with counsel, when, and about what, obviating the privilege.

  1014. Because of the nature of incarceration, Defendants have the ability to exert all manner of

  influence—directly and indirectly—over the members of the class. Individual class members were

  retaliated against because of communication with counsel in this matter.974

  1015. Plaintiffs expected their correspondence with counsel to remain confidential.975 Phone calls

  between prisoners and attorneys were not confidential—they were recorded.976 So, having no other




  973
      Nail Tr., 1838:25 - 1844:21 (DWCC staff monitoring and responding to temperature conditions on the tier); Id,
  1818:12 - 1819:2 (DWCC “Policy 23” regarding “food loaf”); Id, 1717:2-7 (Prisoners eat and drink in their cells); Id,
  1717:8-11 (Prisoners are allowed to have one hour of recreation time Monday-Friday); Id, 1718:15 - 1719:15 (Defines
  prisoner shower policy at DWCC); Exh. J-17, 2017-7-24-OPP 035-Maximum Custody Housing_Privileges and
  Restrictions (Chart includes various rules that govern why, when and for how long prisoners are allowed out of their
  cells).
  974
      Exh. J-17, 2017-7-24 - OPP 035 - Maximum Custody Housing_Privileges and Restrictions; Turner Tr., 80:11 -
  81:22 (Carlton Turner testified that Colonel Nail denied him for the board (re-classification) in retaliation for his
  participation in the lawsuit); Brumfield Tr., 169:3-23 (Prison staff harassed him with questions regarding the lawsuit
  - questions they were not privy to know); Dillon Tr., 274:16-275:2 (“I was threatened. I was made fun of. I was
  intimidated. I was retaliated against because I was reaching out trying to seek help for the things that were being done
  to me.”); Id, 275:3-16 (Prison staff threatened to take more than just Mr. Dillon’s property if he continued working
  with the Advocacy Center).
  975
      Turner Tr., 77:16-18; Brumfield Tr., 164:12-14; Moran Tr., 216:13-25 (Quinten Moran testified that he even asked
  an officer to personally take the mail outside the gate and mail it from the post office, to maintain the letter’s
  confidential contents).
  976
      Nail Tr., 1723:1-3 (Phone calls between prisoners and attorneys take place on a recorded line).
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  way to communicate in confidence with counsel, they continued to write despite the broken legal

  mail system, desperate as they were to seek relief in the courts.977

  1016. The routine and widespread interference with legal mail at DWCC made conducting this

  litigation extraordinarily onerous, resulting in multiple class members being intimidated into

  withdrawing from the case, and exponentially compounding the burden on class members, counsel,

  and the Court.978

  1017. For the reasons previously stated, the identities of the parties and subject matter of this case

  militate toward a most rigorous scrutiny of interference with legal mail.

        B. The First Amendment legal framework.

  1018. Prisoners have a right of privacy in their legal communications. This right applies to prison

  visits, telephone calls, and mail correspondence with legal counsel.

  1019. “Privileged” mail is entitled to greater confidentiality and freedom from censorship than

  general correspondence. Evans v. Vare, 402 F.Supp.2d 1188, 1194-96 (D.Nev. 2005), affirmed in

  part, reversed in part, and remanded on other grounds, 203 Fed.Appx. 95 (9th Cir. 2006).

  1020. Privileged mail may not be read in the ordinary course of a prison’s routine or practice,

  except in the case of an emergency. Reneer v. Sewell, 975 F.2d 258, 260 (6th Cir. 1992); Lemon

  v. Dugger, 931 F.2d 1465, 1467–68 (11th Cir. 1991); Proudfoot v. Williams, 803 F.Supp. 1048,

  1052 (E.D.Pa. 1992); U.S. v. DeFonte, 441 F.3d 92, 95–96 (2d Cir. 2006). Instead, prison officials


  977
      Turner Tr., 78:7-10 (Carlton Turner testified the only alternative to communicating with Disability Rights via the
  mail system was through phone calls; however, calls were not confidential); Brumfield Tr., 168:6-8 (Dameion
  Brumfield denied any other alternative to get confidential information to lawyers other than the mail).
  978
      Nail Tr., 1900:5 - 1904:14 (Regarding correspondence from prisoner Damonte Henry concerning an agreement
  between Nail and Henry, and Henry’s subsequent decision to drop from the case); Exh. P-KK-123, 2019-5-1 - Letter
  to Nail from Henry (Referencing a previous agreement between Henry and Col. Nail); Exh. P-KK-124, 2019-5-2 -
  Letter to Nail from Henry (Informing Col. Nail that he, Henry, had cut off communications with the Advocacy Center);
  Nail Tr., 1887:16 - 1888:1 (Anthony Tellis removed himself from the case and was subsequently moved by Col. Nail
  to housing in CCR); Nail Tr., 1703:5-7 (“[Prisoners in CCR] have more privileges and more property than offenders
  in extended lockdown. Pretty much get the same property and privileges as people on general population.”).


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  must obtain a warrant to inspect privileged mail. Burton v. Foltz, 599 F.Supp. 114, 117 (E.D.Mich.

  1984).

  1021. Most courts have held that privileged legal correspondence may not be opened by prison

  officials outside the prisoner’s presence. Wolff v. McDonnell, 418 U.S. 539, 577 (1974);

  Merriweather v. Zamora, 569 F.3d 307, 316–17 (6th Cir. 2009); Mitchell v. Peoples, 10 F.4th

  1226, 1230–31 (11th Cir. 2021); Sallier v. Brooks, 343 F.3d 868, 874 (6th Cir. 2003); Davis v.

  Goord, 320 F.3d 346, 351 (2d Cir. 2003); Royse v. Superior Court of State of Washington, 779

  F.2d 573, 574–75 (9th Cir. 1985); Hinderliter v. Hungerford, 814 F. Supp. 66, 68 (D.Kan. 1993);

  Young v. Keohane, 809 F.Supp. 1185, 1197 (M.D.Pa. 1992); Burt v. Carlson, 752 F. Supp. 346,

  348 (C.D.Cal. 1990); Faulkner v. McLocklin, 727 F. Supp. 486, 489–92 (N.D.Ind. 1989);

  McChriston v. Duckworth, 610 F. Supp. 791, 795–96 (N.D.Ind. 1985); Guyer v. Beard, 907 F.2d

  1424, 1428–29 (3d Cir. 1990); Stone-El v. Fairman, 785 F. Supp. 711, 715 (N.D.Ill. 1991).

  1022. The interference with or invasion of privacy of legal mail potentially violates two rights –

  a prisoner’s First Amendment right to free speech and the right of access to the courts. Brewer v.

  Wilkinson, 3 F.3d 816, 825 (5th Cir. 1993).

  1023. Plaintiffs herein did not bring an access-to-courts claim, because, though Defendants’

  actions created significant burden and delay, Plaintiffs were ultimately able to pursue this

  litigation.

  1024. Rather, Plaintiffs brought a First Amendment claim based upon the right to communicate

  with lawyers. Denius v. Dunlap, 209 F.3d 944, 954 (7th Cir. 2000); Williams v. Price, 25 F. Supp.

  2d 623, 629 – 30 (W.D.Pa. 1998).




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  1025. “Protection of an inmate’s freedom to engage in protected communications is a

  constitutional end in itself.” Mitchell, 10 F.4th at 1230; quoting Wilson v. Blankenship, 163 F.3d

  1284, 1290–91 (11th Cir. 1998).

  1026. A free speech claim protects the right to be free from unjustified governmental interference

  with communication. Brewer, 3 F.3d at 820.

  1027. Both the Supreme Court and the Fifth Circuit have recognized this right. “Prisoners retain

  free speech rights consistent ‘with the legitimate penological objectives of the corrections system,’

  and restrictions on those rights cannot be greater than necessary to protect the correctional interests

  involved.” Brewer, 3 F.3d at 821–22.

        C. Defendants systematically interfered with mail sent by prisoners to their counsel in
           violation of the First Amendment to the Constitution (Outgoing Mail).

  1028. The First Amendment protects outgoing legal mail from surveillance. Davidson v. Scully,

  694 F.2d 50, 53 (2d Cir. 1982); Smith v. Shimp, 562 F.2d 423, 424 (7th Cir. 1977); Mawby v.

  Ambroyer, 568 F.Supp. 245, 249–50 (E.D.Mich. 1983); Witherow v. Paff, 52 F.3d 264, 265–66

  (7th Cir. 1995); Royse, 779 F.2d at 574–75.

  1029. Department of Public Safety’s policies and staff acknowledge that outgoing privileged mail

  should be sent unopened and protected from prison staff surveillance.979

  1030. Defendants’ staff testified that mail marked “confidential,” “legal mail” or otherwise

  addressed to a known attorney would not be opened by staff absent a specific concern of a threat




  979
     Exh. P-BBBB-4 - Exhibits for Mathews, at p.8 (The Department of Public Safety and Corrections Offender Mail
  and Publications policy states, “outgoing privileged correspondence may be posted sealed, and will not be opened and
  inspected without express authorization from the Warden or Deputy Warden.”); Exh. P-BBBB-4, at p.21 (The Mail
  Room Post Order states, “all offender mail, including packages, except that mail defined in Department of Corrections
  Regulation #C-02-009 as “Privileged Mail,” will be opened.” (emphasis added)); Exh. P-BBBB-3, Deposition of
  Angela Mathews 74:24 - 75:12 (If a piece of mail needed to be read, the officers in the mailroom were the only
  authorized persons to do so; the officers who delivered the mail were never permitted to read legal mail).
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  authorized by the warden. Staff could not remember ever opening and reading a piece of legal
                                  980




  mail for this reason.   981




  1031. At David Wade Correctional Center, prisoners typically label outgoing legal mail as such

  by writing “legal mail” or “confidential” on the envelope, and often include the date of sending.982

  1032. When sending legal mail, each prisoner seals his own letter, before handing it to a staff

  member to be mailed.983

  1033. Because of the nature of extended lockdown, plaintiffs cannot themselves put their mail

  into a mailbox for sending. They necessarily hand it to a staff member, and do not have any further

  control over the envelope from the time it is handed to staff.984



  980
       Exh. P-BBBB-3, Deposition of Angela Mathews 45:16-22 (Major Angela Mathews testified that an individual
  sending out legal mail is required to either write “legal mail,” “privileged correspondence,” or something to let the
  mailroom know it’s legal mail), 51:4-11 (Even if a prisoner fails to write “legal mail” or“confidential” on the envelope,
  it is still treated as legal mail if the sender is known as a legal entity); Id, 50:20 51:3 (Legal addresses like 8325 Oak
  Street is a known legal entity); Exhs. P-B-05, P-B-06, P-B-14, P-B-17, P-B-18, P-B-20, P-B-23, P-B-26, P-B-28, P-
  B-32, P-C-01, P-C-05, P-C-07, P-C-11, P-C-21, P-C-23, P-C-27 + 28, P-C-30, P-C-35 + 36, P-C-37, P-C-39, P-C-43,
  P-C-44 + 45, P-C-46 + 47, P-C-52 + 53, P-C-56 + 57, P-C-64, P-C-68, P-C-70, P-C-75, P-C-80, P-C-82, P-C-88 +
  89, P-C-94, P-C-96 + 97, P-C-98 + 99, P-C-102, P-C-108 + 109, P-C-116, P-C-118, P-C-132 + 133, P-C-134 + 135,
  P-C-136+137, P-C-138, P-C-142 + 143, P-C-148, P-C-150, P-C-152, P-C-154, P-C-158 + 159, P-C-160, P-C-162 +
  163, P-C-164, P-C-170 + 171, P-C-172, P-C-174 + 175, P-C-176 + 177, P-C-180, P-C-186 + 187, P-C-192, P-C-194
  + 195, P-C-198, P-C-200, P-C-203, P-C-205, P-C-208, P-C-210, P-C-216 + 217, P-C-218, P-C-220, P-C-222, P-C-
  226 + 227, P-C-230, P-C-232 + 233, P-C-234, P-C-237, P-C-238, P-C-240 + 241, P-C-244 + 245, P-C-246 + 247, P-
  C-248, P-C-250 + 251, P-C-252, P-C-256 + 257, P-C-264, P-C-266 + 267, P-C-270, P-C-272, P-C-276, P-C-278, P-
  C-286, P-C-288, P-C-290, P-C-292, P-C-294, P-C-306, P-C-308 + 309, P-C-318 + 319, P-C-322 + 323, P-C-324 +
  325, P-C-328, P-C-330, P-C-334, P-C-336, P-C-338, P-C-341, P-C-342 + 343, P-C-356, P-C-357, P-C-362 + 363, P-
  C-364, P-C-372.
  981
      Exh. P-BBBB-3, Deposition of Angela Mathews 51:12 - 52:23 (Unless there was a concern of a threat, there is no
  other circumstance in which a sealed, outgoing legal letter would be opened); Id, 54:8-12 (Major Angela Mathews
  testified that she does not recall ever opening and reading a piece of legal mail for this reason before it was sent).
  982
      Turner Tr., 69:21 - 70:6 (“I would write legal mail either on the front of the envelope or on the back of the envelope
  and I would write the date that I was sending the letter out”); Brumfield Tr., 163:9-13 (Dameion Brumfield puts the
  letter in an envelope, writes “legal mail” on it, includes the date, and then labels the address to where it is going);
  Moran Tr., 212:19-25 (He would always write either “legal mail,” “confidential,” or privileged mail” on the front side
  of the envelope); Dillon Tr., 273:17-25 (Mr. Dillon wrote “legal mail” on his envelope because he didn’t want anyone
  to open it - the letter was confidential).
  983
      Turner Tr., 69:21 - 70:6 (Carlton Turner testified that he would seal his envelope shut, would give his legal mail to
  the “free man” to put in the mailbox, and then it would go to the mailroom.); Brumfield Tr., 164:9-11 (He personally
  gave his letters to the staff for mailing, after he sealed it); Moran Tr., 210:17 - 211:18 (Quinten Moran testified that
  he would seal his letter and then give it to the deputy or the officer); Exh. P-BBBB-3, Deposition of Angela Mathews
  46:18-19 (Major Angela Mathews testified that prisoners seal their own privileged mail).
  984
      Id.; Exh. P-BBBB-3, Deposition of Angela Mathews 48:10-13 (Major Angela Mathews testified that the staff on
  the tiers are supposed to directly handle the outgoing legal mail, but is unsure if they actually do).
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  1034. Defendants opened Plaintiffs’ outgoing legal mail to counsel.

  1035. Sometimes, Plaintiffs' legal mail was not received by Disability Rights Louisiana (DRLA).

  DRLA maintained a policy of responding to each letter received from David Wade, and clients

  were informed of this policy.985 Thus, when a prisoner received no response he would know to try

  to resend the correspondence, or to ask other people to write for him.986

  1036. Other times, Plaintiffs’ legal mail was received by Plaintiffs’ counsel having been torn

  open and taped closed, indicating that it had been read by DWCC staff.987

  1037. Disability Rights Louisiana staff Chelsea Ormon and Leah O’Brien, were, at different

  times during the litigation, the first to receive and open correspondence to DRLA attorneys from

  Louisiana prison facilities. One of those facilities was DWCC.988

  1038. Ormon and O’Brien both implemented a systematic process to preserve the condition of

  each envelope from DWCC.989 Orman and O’Brien never placed tape on or otherwise manipulated

  any envelope, other than to open the envelope and remove the letter.990




  985
      Chelsea Ormon Stipulated Testimony 2:7 (Entered in lieu of testimony) (“I developed and implemented the mail
  handling policies and procedures for Disability Rights Louisiana.”), 4:39 (“I was responsible for drafting reply
  correspondence, at the direction of the attorneys working on the matter.”); Leah O’Brien Stipulated Testimony
  (Entered in lieu of testimony) 2:7 (“I abide by the following mail policies and procedures for Disability Rights.”), 2:17
  (“I am also responsible for drafting reply correspondence, at the direction of the attorneys working on the matter.”).
  986
      Brumfield Tr., 166:20 - 167:3 (Describing every time he wrote to DRLA, they would respond back to him. One
  letter went weeks without a response, so Mr. Brumfield sent a second follow-up letter); Chelsea Ormon Stipulated
  Testimony 4:40 - 5:42 (“In January 2018, I was assigned to provide Bruce Charles with a list of all letters that
  Disability Rights Louisiana received from him from September 2017, through December 2017. I reviewed our files
  and identified responsive correspondence. I sent a letter to Mr. Charles identifying the correspondence, which was a
  list of the dates of all letters received by Disability Rights from him during the requested time period.”).
  987
      Exhs. P-B-01 - P-B-32 - Envelope(s); Exhs. P-C-01 - P-C-373 - Envelope(s); Chelsea Ormon Stipulated Testimony
  2:18 (“Despite being marked “legal mail,” some of the envelopes I received had clearly been ripped open”); Leah
  O’Brien Stipulated Testimony 3:21(“Despite being marked “legal mail,” many of the envelopes I receive have been
  clearly marked open. Many of the envelopes I received have been taped for closure.”).
  988
      Chelsea Ormon Stipulated Testimony 1:4 - 2:6; Stipulated Testimony of Leah O’Brien 1:4 - 2-6.
  989
      Chelsea Ormon Stipulated Testimony 2:13-14 (“Upon receipt of legal mail, I would carefully open the envelope. I
  often used a letter opener to open mail.”); Leah O’Brien Stipulated Testimony 2:13 (“Upon receipt of legal mail, I
  scan the envelope, and then carefully open it. I use a letter opener to make a clear cut along the side of the envelope,
  starting at the stamp, in order to maintain its condition.”)
  990
      Chelsea Ormon Stipulated Testimony 3:24; Leah O’Brien Stipulated Testimony 3:24.
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  1039. Major Angela Mathews, in her deposition, testified that the mail room had received some

  envelopes with tape on them. She was unaware of where the tape originated, but didn’t take the

  time to investigate it.991

  1040. Prisoners in extended lockdown at DWCC do not have access to tape.992 Tape is not among

  the items available for purchase in the prison commissary,993 nor is it among the tightly controlled

  list of items allowed in an extended lockdown cell.994 Prisoners are strictly prohibited at all times

  from being in possession of tape.995 And yet Disability Rights staff testified that as much as 10%

  of the hundreds of letters the organization received from prisoners at DWCC arrived resealed with

  tape.996

  1041. During their respective periods of employment at Disability Rights Louisiana, neither

  Orman nor O’Brien recalls ever receiving a taped or otherwise modified envelope from any

  Louisiana prison facility other than David Wade.997 The opening and reading of legal mail is a

  David Wade- specific practice, probably because it is known to be unlawful and also violates

  policy.

  1042. Unlike incoming mail, outgoing mail does not pose a potential threat to prison order and

  security. The Supreme Court has acknowledged that “the implications of outgoing correspondence


  991
      Exh. P-BBBB-3, Deposition of Angela Mathews 47:14-19; 76:21 - 77:3.
  992
      Turner Tr., 72:8-12 (Mr. Turner does not have access to tape on the South Compound); Brumfield Tr., 167:10-16
  (A prisoner does not have access to tape, it is not sold in the canteen either); Moran Tr., 215:1-4 (Prisoners don’t have
  access to tape in the cell block); Dillon Tr., 272:15-19 (Tape is considered contraband for the offenders housed in the
  cell); Adams Tr. 984:4-20 (Staff members don’t give prisoners tape, they do not have access to it).
  993
      Exh. P-H-2, Canteen Order Form.
  994
      Exh. J-17, 2017-7-24 - OPP 035 - Maximum Custody Housing_Privileges and Restrictions.
  995
      Nail Tr., 1710:12-14 (Prisoners are not supposed to be in possession of tape); Id, 1710:17-20 (Prisoners are
  prohibited from having tape in their cells, and were tape found in a cell, it would be removed by prison staff.); Exh.
  J-17 (OPP 35 cataloging list of items prisoners are allowed to have, does not include tape); Exh. P-H-2 (canteen order
  form, does not include tape).
  996
      Chelsea Ormon Stipulated Testimony 3:22 (“I would estimate that 5-10% of the envelopes I received from David
  Wade had tape applied to the envelope.”).
  997
      Chelsea Ormon Stipulated Testimony 3:21 (“I do not recall ever receiving a taped or otherwise modified envelope
  from any prison facility other than David Wade.”); Leah O’Brien Stipulated Testimony 3:25 (“I have never received
  envelopes from other Department of Corrections facilities that were taped.”).
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  for prison security are of a categorically lesser magnitude than the implications of incoming

  materials.” Thornburgh v. Abbott, 490 U.S. 401, 411–13 (1989).

  1043. To hold otherwise would threaten lawyers’ ability to competently represent people who are

  incarcerated.

  1044. There is no substantial or legitimate penological or government interest served by opening

  clearly marked legal mail addressed to the office of lawyers that prison officials know to be

  representing plaintiff prisoners in a lawsuit against them.

  1045. The lack of government interest is evidenced by the DPS&C and DWCC’s own policies,

  which provide that outgoing privileged correspondence will not be inspected, unless express

  authorization is given by the Warden or Deputy Warden.998

  1046. If any government interest does exist in opening outgoing legal mail, Defendants’ opening

  of Plaintiffs’ legal mail in this matter clearly addressed to counsel does not further any such

  interest. Major Mathews—the DWCC staff member in charge of the mailroom—testified that she

  does not recall any security threat in outgoing mail.999 This proves that the mail received taped at

  DWCC was not opened and inspected pursuant to any security concern.

  1047. The USPS Administrative Support Manual provides that the United States Postal Service

  does not open and inspect first class mail.1000


  998
      Exh. P-BBBB-4 - Exhibits for Mathews, at p.8 (The Department of Public Safety and Corrections Offender Mail
  and Publications policy states, “outgoing privileged correspondence may be posted sealed, and will not be opened and
  inspected without express authorization from the Warden or Deputy Warden.”); Exh. P-BBBB-4, at p.21 (The Mail
  Room Post Order states, “all offender mail, including packages, except that mail defined in Department of Corrections
  Regulation #C-02-009 as “Privileged Mail,” will be opened.”).
  999
      Exh. P-BBBB-3, Deposition of Angela Mathews 5 1:12-20 (Testifying that outgoing legal mail would need to be
  opened and inspected if it there was suspicion that it contained a threat); Id, 54:4-12 (Testifying that she does not
  recall ever having intentionally opened a piece of sealed legal mail)
  1000
       PPursuant to Federal Rule of Evidence 201(b)(2), permitting judicial notice of facts that “can be accurately and
  readily determined from sources whose accuracy cannot reasonably be questioned,” Plaintiffs ask the Court to take
  judicial notice of the United States Postal Service’s “Domestic Mail Manual” (DMM) and Administrative Support
  Manual (ASM), documents that are both easily accessible to the public. The Fifth Circuit affirms that “it is clearly
  proper to take judicial notice of matters of public record.” Norris v. Hearst Trust, 500 F.3d 454, 461 (5th Cir.
  2007). The DMM and ASM both establish that it is the firm official policy of the USPS not to open first-class mail
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  1048. Every prisoner witness who testified confirmed that mail is sealed and not taped before it

  is handed off to staff to be sent to counsel, consistent with DPSC policy. The prisoners could not

  tape mail even if they wanted to. The mailroom does not tape envelopes closed. The United States

  Postal Service does not open and tape mail closed. The uncontroverted testimony of two different

  DRLA staff members—who worked for DRLA months apart from one another-- was that they

  received hundreds of opened and taped envelopes from clients at DWCC. Importantly, neither

  remembered ever receiving taped mail from any other DPSC facility. The inescapable conclusion

  is that staff at DWCC is opening, reading, and taping mail closed.

           D. Defendants interfered with Plaintiffs’ First Amendment rights by systematically
           censoring mail sent by attorneys to prisoners at DWCC. (Incoming Mail).

  1049. Censorship’s effect on free speech “need not be great in order to be actionable.” Keenan v.

  Tejeda, 290 F.3d 252, 259 (5th Cir. 2002). But the effect of prison officials intruding upon the

  sacrosanct relationship between an inmate and his attorney is great indeed.

  1050. “When a prisoner receives confidential legal mail that has been opened and resealed, he

  may understandably be wary of engaging in future communication about privileged matters.”

  Hayes v. Idaho Correctional Center, 849 F.3d 1204, 1213 (9th Cir. 2017).

  1051. Such censorship “sufficiently chills, inhibits, or interferes with [the inmate’s] ability to

  speak, protest, and complain openly to his attorney so as to infringe his right to free speech.”

  Mitchell, 10 F.4th at 1241.



  absent a warrant; Domestic Mail Manual Vol. 1 p.400 (“First-Class Mail is sealed against postal inspection.”);
  Administrative Support Manual 13 Section 274.21 (“No person may open mail sealed against inspection; or search,
  inspect, read, or disclose information obtained from the mail or its contents….”). The DMM is available on the
  USPS website at https://pe.usps.com/text/dmm300/233.htm#ep1087944 and the ASM can be obtained from the
  USPS Law Department by calling 314-345-5820.
  The relevant portion of Administrative Support Manual 13 Section 274.21 states, “No person may open mail sealed
  against inspection; or search, inspect, read, or disclose information obtained from the mail or its contents….”. The
  purpose of the ASM is to establish that it is the firm official policy of the USPS not to open first-class mail absent a
  warrant.
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  1052. Thus, prison officials may not open clearly-marked legal mail. Wolff, 418 U.S. at 574–77.

  1053. Defendants in this matter have routinely and flagrantly interfered with prisoners’ incoming

  legal mail at DWCC.1001

  1054. At DWCC, all mail distributed to prisoners in restrictive housing is brought by a prison

  official to the tier and hand delivered to their cells.1002

  1055. In order to receive his mail, each prisoner has to sign a form acknowledging that they

  received their mail sealed and unopened.1003

  1056. If he does not sign for his mail—acknowledging that it has been delivered unopened,

  whether it was in fact unopened or not— he does not receive it. Men therefore sign forms saying

  they received mail sealed, even when they receive the mail opened, so that they can receive their

  mail.1004

  1057. If the prisoner is not in his cell—taking a shower, for instance, or visiting the doctor—the

  tier officer keeps the letter in his possession until the prisoner returns, a segment of time in the

  custodial life of the letter that goes entirely undocumented.1005

  1058. Defendants’ opening of incoming legal mail is subject to heightened legal scrutiny.

  1059. To hold otherwise would threaten lawyers’ ability to competently represent incarcerated

  people.


  1001
        Turner Tr., 78:11-19 (Mr. Turner testified that on at least one occasion he received his legal mail with nothing
  inside, it was merely an empty envelope); Brumfield Tr., 168:25 - 169:2 (Dameion Brumfield testified that sometimes
  contents of his legal mail are missing, which verified that someone has previously opened it).
  1002
        Exh. P-BBBB-3, Deposition of Angela Mathews 37:11-24 (The officer or the supervisor passes out the mail);
  Turner Tr., 70:7-11 (The officer would come on the tier and give the prisoner a form to sign. When they signed the
  form, the officer would open the mail and then hand it over).
  1003
        Brumfield Tr., 168:9-24 (A form must be signed that says the legal mail was sealed and closed when the prisoner
  received it, and it wasn’t tampered with); Exh. P-BBBB-3 Deposition of Angela Mathews 37:25 - 38:3 (individuals
  must sign a receipt saying they received their legal mail).
  1004
        Brumfield Tr., 168:9-24 (“But that was a way they tried to, you know, scheme on going into your legal mail and
  if it turns on them they can’t get in trouble because they will say, hey, you signed this saying it was sealed. But that is
  what we got to do before we are able to get that. We have to sign it. And they know that. So they will give it to us
  open and everything.”); Exh. P-BBBB-3, Deposition of Angela Mathews 61:19-22.
  1005
        Exh. P-BBBB-3, Deposition of Angela Mathews 60:11-22.
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  1060. There is no substantial or legitimate penological or government interest served by opening

  incoming legal mail outside of the presence of the recipient.

  1061. DWCC and Department of Public Safety & Corrections (DPS&C) mail-handling policies

  state that officers delivering legal mail are never permitted to open it, except in the presence of the

  inmate recipient under certain circumstances.1006

  1062. Regulations state that if legal mail is opened outside the presence of the recipient

  (accidentally, for example), “the officer will report all unusual occurrences to the supervisor

  immediately and file an Unusual Occurrence Report (UOR) prior to leaving the institution.”1007

  1063. Whereas witnesses inside DWCC testified to numerous instances of legal mail arriving

  already open, and witnesses on the outside testified to hundreds of envelopes showing signs of

  having been tampered with after leaving prisoner possession, both precisely the kind of events that

  regulations contemplate triggering a UOR, Defendants did not produce in discovery a single UOR

  related to improper opening of legal mail.

  1064. At trial, Defendants asserted that “[n]o evidence regarding the chain of custody has been

  adduced that would exclude any one other than the defendants for being responsible for the

  condition of those envelopes.”1008 That is false. Owing to the unique circumstances of this case,

  the list of possible custodians for the letters in question is easily determined and extremely short:

  the sender, the prison, the United States Postal Service (USPS), and the recipient. Letters arrived

  having been opened to recipients at both ends—prisoners and their lawyers—leaving only DWCC


  1006
       Exh. P-BBBB-3, Deposition of Angela Mathews 39:1-6 (Legal mail is not opened until it reaches the prisoner),
  75:7-12 (Officers are never permitted to be reading mail); Exh. P-BBBB-4 - Exhibits for Mathews, at p.23 (The Mail
  Room Post Order states, “the officer will not read or allow anyone to read offender mail prior to the mail being
  delivered to the offender to whom it was addressed.”).
  1007
       Exh. P-BBBB-4 - Exhibits for Mathews, at p.23; Exh. P-BBBB-4, at p.9 (“If privileged correspondence is opened
  accidentally, outside the presence of the offender, the envelope shall be immediately stapled or taped closed and the
  envelope marked “Accidentally Opened” along with the date and employee’s initials. An Unusual Occurrence Report
  shall be completed.”).
  1008
       Representation of attorney Keith Fernandez 3109:4-7.
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  and the USPS as possible culprits. It is the plainly stated policy of the USPS that, absent a warrant,

  first-class mail is not to be opened, full stop.1009 “The presumption of regularity supports the

  official acts of public officers, and, in the absence of clear evidence to the contrary, courts presume

  that they have properly discharged their official duties.” United States v. Chem. Found., 272 U.S.

  1, 14–15 (1926). There being no evidence, clear or otherwise, that the USPS is responsible for

  routinely unlawfully opening the legal mail to and from a single prison in northern Louisiana, the

  evidence excludes everyone other than the Defendants for being responsible for the condition of

  those envelopes.

  1065. Established legitimate penological interests include “security, good order, or discipline of

  the institution.” Thornburgh v. Abbott, 490 U.S. 401, 416 (1989).

  1066. There is no substantial or legitimate penological or governmental interest served by prison

  officials opening clearly-marked legal mail from the office of lawyers that prison officials know

  to be suing them, much less doing so outside of the presence of the intended recipients, as required

  by prison regulations and the law.

  1067. While inspecting incoming mail for safety reasons—such as checking for contraband—is

  a valid penological interest, that interest can be served, in cases where a piece of legal mail is

  suspect, by opening the item in the presence of the inmate, in accordance with prison regulations.

  DWCC’s practice of opening legal mail outside of the presence of the recipient violates prisoners’

  First Amendment rights and the facility’s own official policy.1010




  1009
       Pursuant to Federal Rule of Evidence 201(b)(2), Plaintiff’s again ask the court to take judicial notice of
  Administrative Support Manual 13 Section 274.21 (“No person may open mail sealed against inspection; or search,
  inspect, read, or disclose information obtained from the mail or its contents….”).
  1010
       Exh. P-BBBB-4 Exhibits for Mathews, at p.23 (The Mail Room Post Order states, “the officer will not read or
  allow anyone to read offender mail prior to the mail being delivered to the offender to whom it was addressed.”).
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  1068. Any regulation restricting prisoner’s First Amendment rights must be neutral in its

  enforcement, not discriminatory to the content of the expression. Turner v. Safley, 482 U.S. 78, 90

  (1987); citing Pell v. Procunier, 417 U.S. 817, 828 (1974).

  1069. Considering the identities of sender and recipient (prisoners and their lawyers) the nature

  of these proceedings (prisoners suing the prison over the conditions of their confinement), the

  testimony of Plaintiffs and other witnesses (that legal mail arrived to attorneys taped closed, and

  to prisoners already open, or never arrived at all), and the fact that improperly opening legal mail

  represents a non-trivial violation of Defendants’ own policy, it takes no special skills of deduction

  to conclude that Plaintiffs’ mail was targeted for surveillance by Defendants because of the content

  of their speech and their involvement in this litigation.

  1070. Such content-based regulation of First Amendment activity triggers strict scrutiny

  analysis—a standard under which Defendants’ actions do not pass muster. Johnson v. California,

  543 U.S. 499, 513–15 (2005).

  1071. When prisons restrict expression through a valid and justified speech restriction (which

  Plaintiffs’ dispute is present here), they must retain other avenues for prisoner expression. Jones

  v. North Carolina Prisoners’ Union, 433 U.S. 119, 131 (1977), Turner, 482 U.S. at 89. No such

  avenues at DWCC exist.1011

  1072. Multiple men filed ARPs putting the DWCC on notice of their claims of mail tampering.1012




  1011
       Turner Tr., 78:7-10 (Carlton Turner testified the only alternative to communicating with Disability Rights via the
  mail system was through phone calls; however, he never had the opportunity to make a confidential call during his
  time at David Wade); Brumfield Tr., 168:6-8 (Dameion Brumfield denied any other alternative to get information to
  lawyers other than the mail).
  1012
       Exh. P-A-24, Errol Cutno ARP, at p.11 (Errol Cutno filed a complaint that Captain Heard gave his legal mail to
  him already opened); Exh. P-A-25, Ryan Jaufre ARP, at p.9 (Ryan Jaufre filed a complaint that his legal mail was left
  on his trey hatch already opened, and he never signed for it); Adams Tr., 984:4-20; Exh. P-E-140, Corey Adams ARP,
  at p.2; Exh. P-A-23, Christopher Walker ARP.
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  1073. Despite the ARPs being filed, no legitimate investigation was done into their claims.1013

  Nor were the responses timely.1014 Instead, the ARPs were summarily rejected on shallow and at

  times outright nonsensical grounds.1015 The highest levels of staff at DWCC were on notice of the

  alleged mail violations and did not even bother to investigate the claims.

         D. Defendants otherwise attempted to interfere with communication with counsel.

  1074. Prisoners were punished for bringing documents to attorney-client visits.1016

  1075. Staff seized counsel’s contact information from Plaintiffs and otherwise interfered with

  and refused counsel the ability to provide written materials to prisoners in violation of the First

  Amendment of the Constitution.1017

                                                   CONCLUSION



  1013
       Huff Tr., 2081:14-18 (In response to Christopher Walker’s ARP complaining that he was not receiving withdrawal
  slips for his legal mail, Huff dismissed the claim because there was no record of withdrawal slips for his legal mail–
  which actually proved the exact point about which he was complaining); Exh. P-A-23, Christopher Walker ARP, at
  p. 1; Huff Tr., 2089:10-17 (Despite the fact that Errol Cutno provided a specific date, time, and location to review
  camera footage he said would have supported his claim, Huff did not review any camera footage in investigating his
  ARP); Id, 2093:12 - 2094:7 (In response to Ryan Jaufre’s ARP complaining that his mail was delivered already
  opened, Huff’s entire investigation consisted of a brief statement from the supervising officer—no statement was
  taken from the DWCC security officer Jaufre accused by name); Exh. P-A-25, Ryan Jaufre ARP, p. 4 (The supervising
  officer’s three-sentence note denying Jaufre’s allegation, comprising the entirety of Huff’s investigation into the
  matter).
  1014
       Exh. P-A-23, Christopher Walker ARP, at p.13 (Response to Christopher Walker’s August 10, 2017 ARP by Unit
  Head Angie Huff was dated January 29, 2019); Exh. P-A-25, Ryan Jaufre ARP, at p.2 (Response to Ryan Jaufre’s
  August 8, 2017 ARP by Unit Head Angie Huff was dated January 31, 2019); Turner Tr., 79:7 - 80:10 (Carlton Turner
  testified that when he received an empty envelope that should have contained legal mail, everybody he contacted said
  “they ha[d] no idea or no knowledge of anything that I was talking about.”).
  1015
       Id. at fn. 1014), see also Exh. P-A-24, Errol Cutno ARP, at p. 5 (In reply to Errol Cutno’s ARP complaining that
  his legal mail arrived already opened, Col. Nail wrote a response, signed off on by Deputy Warden Angie Huff, that
  emphatically rejected Cutno’s complaint, stating he had “not provided a shred of evidence to substantiate [his] claims”
  that his mail had been opened before it was delivered to him. In the same paragraph, Nail noted that no contraband
  had been found when Cutno’s mail was inspected, implying unequivocally that it had been, in fact, opened. Huff did
  no independent investigation of the ARPs and deferred entirely to the representation of Nail, which is problematic as
  Nail is both a named Defendant in this action and the supervisor over the buildings challenged in this litigation.)
  1016
       P-A-8 - Chase Courville Confiscation and Disposition of Contraband, at p.1 (Prisoner written up because, while
  properly outside of his cell, he was found holding an envelope containing ten pieces of paper, “legal material of another
  offender.” He was sanctioned not for possessing them without the owner’s permission, but for possessing them at
  all—an envelope on such a low spectrum of contraband that it wouldn’t even be contraband in the hands of its owner,
  and yet it warranted a full write up.)
  1017
       Nail Tr., 1924:18-24 (Col. Nail did not deny taking Melanie Bray’s card from Plaintiff Bruce Charles after a visit;
  he, instead, does not recall doing so).
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         In consideration of these findings of fact and conclusions of law, Plaintiffs respectfully

  request that this Court find Defendants have violated the Eighth Amendment of the Constitution

  in their failure to provide an adequate mental health treatment program at David Wade

  Correctional Center and for the conditions of confinement that they house men in segregation.

  Additionally, we request that this Court find Defendants have violated the Americans with

  Disabilities Act and the Rehabilitation Act for their failure to identify people with disabilities and

  their failure to provide reasonable accommodations. Lastly, we request this Court find

  Defendants in violation of the First Amendment of the Constitution for their interference with

  legal mail coming into and out of David Wade Correctional Center.



                                         Respectfully submitted this 14th day of March, 2022,


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